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      AMERICAN LECITHIN COMPANY LIPOID GmbH VS.
             CARSTEN MATTHIAS REBMANN




                       DR. HERBERT REBMANN
                            April 29, 2015




                               Original File 109752.TXT
                        Min-U-Script® with Word Index
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 1   IN THE UNITED STATES DISTRICT COURT
 2   SOUTHERN DISTRICT OF NEW YORK
     ---------------------------------------------------x
 3   AMERICAN LECITHIN COMPANY LIPOID GmbH,
     LIPOID, LLC, PHOSPHOLIPID GmbH,
 4
                           Plaintiffs,
 5
     -v-
 6
     CARSTEN MATTHIAS REBMANN,
 7
                           Defendant and Counterclaim and
 8                         Third-Party Claim Plaintiff.

 9   HERBERT REBMANN, LIPOID, GRUNDSTUCKS GmbH,
     LIPOID VERWALTUNGS GmbH, LIPOID AG, and
10   COMPLECTOR AG,
11                         Third-Party Defendants.

12   1 Case No. 1:07-cv-02103 (LLS)
     Related Case No. 1:07-cv-03582 (LLS)
13   ---------------------------------------------------x
14

15                         Westhafenplatz 1
                           Frankfurt, Germany
16
                           April 29, 2015
17                         8:14 a.m.

18

19                 DEPOSITION OF DR. HERBERT REBMANN, before

20   Fiona Farson, Court Reporter.

21

22

23               ELLEN GRAUER COURT REPORTING CO. LLC
                   126 East 56th Street, Fifth Floor
24                     New York, New York 10022
                             212-750-6434
25                           Ref: 109752
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21   ALSO PRESENT:

22              Norbert Zaenker, Checking interpreter

23              Ramona Spieler, Checking interpreter

24

25
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 4
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 1                                           Wednesday, April 29, 2015
 2                  Deposition of DR. HERBERT REBMANN

 3                       DR. HERBERT REBMANN, sworn

 4                       Examination by MR. GOLDMAN
 5   (8:14 a.m.)

 6   BY MR. GOLDMAN:

 7   Q.   Good morning, Dr. Rebmann.     I am the attorney for the
 8        defendant here, Carsten Matthias Rebmann.       My name is

 9        Sam Goldman.

10            Are you familiar with the deposition procedures in
11        the United States?

12   A.   In general, yeah.    In general.

13   Q.   What?
14   A.   In general.

15   MR. ZAENKER:    "In general, I am."

16   BY MR. GOLDMAN:
17   Q.   In general.    Have you ever had your deposition taken in

18        a legal proceeding in the United States?

19   A.   I don't know.

20   Q.   You don't know?     Have you ever been involved in

21        litigation in the United States?

22   A.   Yeah.

23   Q.   When was that?

24   A.   I don't know.

25   Q.   Can you give me an approximate time?
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                                                                          6


 1                                 REBMANN
 2   A.   2003, 2004.

 3   Q.   Do you remember the name of the case?

 4   A.   This is with Vernon Walton.     Vernon Walton.
 5   Q.   And was that one case, or have there been --

 6   A.   There were two.

 7   Q.   -- more than one case?
 8              Two cases?

 9   A.   Yeah.

10   Q.   And were both of them with Vernon Walton, or --
11   A.   No.

12   Q.   Huh?

13   A.   No.
14   Q.   What was the second one?

15   A.   It was with -- it's an employee from us.

16   Q.   An employee?
17   A.   Yeah.

18   Q.   What was the name of the employee?

19   A.   Rodhe.

20   Q.   Rodhe.   And who was he employed by?

21              Who was -- you say he was an employee; whose

22        employee?

23   A.   Lipoid LLC.

24   Q.   Huh?

25   A.   Lipoid LLC was the employer.
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 1                                   REBMANN
 2   Q.   Lipoid LLC?

 3   A.   Yeah.

 4   Q.   Okay.    And where did he work, Mr. Rodhe?
 5   A.   California.

 6   Q.   California.     And what was the litigation about?

 7   A.   It was not a litigation, it was a --
 8   MR. HAUSER:    (German spoken.)

 9   WITNESS:     Yeah.

10   MR. HAUSER:    "Arbitration"?
11   A.   Arbitration, yeah.     Mm-hmm.

12   BY MR. GOLDMAN:

13   Q.   Arbitration; and what was the substance of it?
14   A.   He wanted -- he wanted some payment from us.

15   Q.   What was -- did he want the payment for?

16   A.   We had an agreement, and he finished his agreement, and
17        he thought that he has still some rights.

18   Q.   Thought he has ...?

19   A.   Still some rights.

20   Q.   Still some rights?

21   A.   Yeah.

22   Q.   Okay.    So you don't recall if you had your deposition

23        taken in those two cases?

24   A.   We had an -- we had --

25   MR. ZAENKER:    (German spoken.)      There was a case, a hearing.
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                                                                          8


 1                                  REBMANN
 2   A.   A deposition -- I don't recall.

 3   BY MR. GOLDMAN:

 4   Q.   Okay.   So my question, just to be clear, let me make
 5        sure, is -- I want to make sure you understand what

 6        we're doing this morning and what the procedure is.

 7            I'm going to ask you questions.      You'll wait until
 8        I finish the question; you'll answer.       If you don't

 9        understand the question, you can ask me.       If you don't

10        understand the words, you can ask one of the translators
11        to translate.   I'll do the same, if we have an issue in

12        terms of understanding.

13            And it's important that we get everything down
14        correctly and precisely, so if there's any issue about

15        my question, or -- or anything along those lines, you

16        should certainly feel free to ask me, and I'll try to
17        explain as best I can.

18            Now, one of the important things is you have to

19        answer verbally, because it's very hard for the court

20        reporter to take down a -- a gesture.       So you have to

21        answer "Yes," "No," "I don't know," or whatever else you

22        want to say.    Okay?

23   A.   Yeah.

24   Q.   Thank you.

25   MR. GOLDMAN:   Now, let's mark this document as defendant's
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                                                                          9


 1                                 REBMANN
 2        exhibit number 1.

 3                (Exhibit 1 marked for identification.)

 4   BY MR. GOLDMAN:
 5   Q.   And I'd like to ask you if you've ever seen that

 6        document before.

 7   A.   I don't think so.
 8   MR. GOLDMAN:    And let's mark this one as defendant's

 9        exhibit number 2.

10                (Exhibit 2 marked for identification.)
11   BY MR. GOLDMAN:

12   Q.   And I'll ask you if you've ever seen that one.

13   A.   No.
14   Q.   Okay.   These are document requests where we are asking

15        you to produce certain documents relating to various

16        issues in the litigation that you brought in the court
17        in New York.

18              And what I'd like to do -- maybe let's start with

19        the second one -- is ask you a few questions, and maybe

20        what we can do is go to page number 6.      And there are

21        a number of document requests there; okay?       And under

22        the laws that are relevant to the court where you

23        initiated the action, you're obligated to provide these

24        documents.   Now, you can consult your counsel, and he

25        can advise you on this, but I'm trying to summarize the
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 1                                 REBMANN
 2        rules in a very simple way.

 3            Now, in question number 1, we ask for documents

 4        relating to the appointment of you as a director at
 5        large of the various Lipoid companies.      Do you know if

 6        there are such documents?

 7   MR. HAUSER:    Let me just -- while he's looking at the
 8        question, let me just note an objection for the record,

 9        that while Mr. Goldman's certainly entitled to ask

10        questions about -- at least to some extent -- what
11        documents exist, I object to his statement that there's

12        necessarily any obligation to produce the documents.

13        That's a separate issue.
14   MR. GOLDMAN:    Your objection is noted.

15   A.   I don't know which -- which documents exist.

16   BY MR. GOLDMAN:
17   Q.   Do you know if there are any such documents?

18   A.   I cannot answer.

19   Q.   Can I ask that you search the corporate records and your

20        own records and determine if there are such documents,

21        and that you then respond to document request number 1?

22   A.   If this is needed.

23   MR. HAUSER:    We'll take your request under advisement.

24   MR. GOLDMAN:    I -- I would be trying to get the judge to

25        direct the witness to respond and to produce these
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 1                                   REBMANN
 2        documents.   We're here in Germany; the judge is probably

 3        still sleeping.     We're not going to ask him now.     But

 4        obviously, if we're going to not produce documents that
 5        should be produced, if we're going to take everything

 6        under advisement, then I have a feeling we're going to

 7        wind up doing this again at some point in time after the
 8        judge has ruled on the issue of whether this is germane

 9        to the litigation.

10   Q.   Dr. Rebmann, are -- are you a director or have you ever
11        been a director at large of the various Lipoid entities?

12   WITNESS:     (German spoken.)

13   MR. ZAENKER:    "'Director at large' means what?
14   BY MR. GOLDMAN:    It's that he is a director in general.

15   A.   Doesn't exist.

16   MR. ZAENKER:    The term doesn't exist.
17   A.   There is no group.     There are special companies.

18   BY MR. GOLDMAN:

19   Q.   Have you ever been a director of each of the Lipoid

20        companies?

21   A.   In one of them it's possible, yeah.

22   Q.   In one of them only?

23   A.   But not -- there is no general group.      There is no

24        general director.

25   Q.   Okay.    So we'll go each company, and we'll find out.
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 1                                  REBMANN
 2              And so your testimony now is at one point in time,

 3        you were a director of one of the Lipoid companies?

 4   A.   I don't know of which one.
 5   Q.   You don't know which one?

 6   A.   No.

 7   Q.   And the other Lipoid companies, you have never been
 8        a director of?

 9   A.   There are companies I have never been director.

10   Q.   All of them, other than one?
11   A.   No, I say I don't know.

12   Q.   How about an officer?     Have you ever been an officer of

13        any of the Lipoid group companies?
14   MR. HAUSER:    Sam, I'm going to object at this point to

15        a huge question like that, partly because most of the

16        companies in the Lipoid group are German or Swiss, and
17        they don't have "officers," as we call them; those don't

18        exist under --

19   MR. GOLDMAN:    They have directors.

20   MR. HAUSER:    -- Swiss law.

21              They have members of the board.    That term,

22        "director," is ambiguous in German and Swiss law because

23        it can either mean a member of the board or a managing

24        director, and they aren't necessarily the same thing.

25   MR. GOLDMAN:    Okay.
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                                                                          13


 1                                  REBMANN
 2   Q.   Have you ever been --

 3   MR. HAUSER:    So we need to ask you to kind of rework your

 4        question, and do it one company at a time.
 5   MR. GOLDMAN:     Well, I can do one company at a time, but I'm

 6        asking whether he --

 7   Q.   Have you ever been a member of the board of any company
 8        that is associated with the Lipoid group?

 9   A.   Yeah.

10   Q.   Yes.    Are there -- have you -- okay.    We have that one.
11              Let's look at question number 2.    Question number 2

12        asks you for all documents relating to the tax returns

13        that Carsten Matthias Rebmann allegedly refused or
14        failed to file.    And my question is:    Are there any such

15        documents?

16   A.   There are many.
17   Q.   Okay.    Have you ever been asked to produce those

18        documents in this case?

19   A.   No.

20   Q.   Okay.    I am asking you at this point in time to produce

21        each and every one of the documents that are relevant

22        and responsive to this question.

23   MR. HAUSER:    We'll take your request under advisement, but

24        that has already been responded to, and I don't

25        anticipate there'll be a different response.
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 1                                  REBMANN
 2            First of all, on this one, all these document

 3        requests have been responded to; you've had a chance,

 4        long prior to this, to litigate whether or not they're
 5        going to be produced.

 6            I'm perfectly happy to let you use your time today

 7        asking him if they exist.     Clearly those documents
 8        exist.   There's an enormous pile of them, including the

 9        returns themselves.     We've objected to those on a number

10        of different grounds, and we're not withdrawing those
11        objections.    But let's move on.

12            A fair number of them are privileged.

13   MR. GOLDMAN:    There's a way to deal with -- let's -- let's
14        move on, as you said; okay?     I'm requesting those

15        documents.    I take your answer to mean you're refusing

16        to provide them.
17            Now, I do want to respond to what you're saying, in

18        that we had Dr. Rebmann's deposition scheduled in this

19        case almost three years ago.        I could have asked him all

20        these questions before we had gotten into these document

21        requests, so I think you've got your sequencing a little

22        bit backwards in terms of saying I had time to object.

23        But we'll move on; thank you.

24   Q.   Let's look at number 6.    Which company purchased

25        American Lecithin Company?     Do you recall?
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                                                                          15


 1                                  REBMANN
 2   MR. HAUSER:    What time?

 3   MR. GOLDMAN:     In or about --

 4   A.   Number 6.    Number 6.
 5   MR. HANNAH:    -- 2007.

 6   A.   Yeah.   Lipoid LLC.

 7   BY MR. GOLDMAN:
 8   Q.   Lipoid LLC purchased --

 9   A.   Yes.

10   Q.   -- American Lecithin Company?
11   A.   Yeah.   Yeah.

12   Q.   And did Lipoid LLC transfer title to American Lecithin

13        Company to another company?
14   A.   Later on, yeah.

15   Q.   To -- to whom did it transfer title?

16   A.   To Lipoid Verwaltungs AG.     Verwaltungs.
17   MR. ZAENKER:     I'll spell that for you, so we have it clear:

18        V-E-R-W-A-L-T-U-N-G-S-GmbH.     Capital --

19   MR. HAUSER:    No, it's AG.

20   A.   I think that --

21   MR. HAUSER:    Not hyphen.    Space, capital A, capital G.

22   A.   Yeah.   But at this time, the company was called

23        "Complector AG."

24   MR. HAUSER:    C-O-M-P-L-E-C-T-O-R, space, AG.

25   BY MR. GOLDMAN:
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 1                                  REBMANN
 2   Q.   And do you recall the purchase price that Lipoid LLC

 3        paid for American Lethicin Company?

 4   A.   No.
 5   Q.   Do you recall the purchase price that Lipoid Verwaltungs

 6        AG -- and forgive my German pronunciation -- but that

 7        they paid to Lipoid LLC for the company?
 8   A.   No.

 9   Q.   Do you have documents that would show what those

10        purchase prices are?
11   A.   Yeah.

12   Q.   Could you produce those documents?

13   MR. HAUSER:    We'll take your request under advisement.
14   BY MR. GOLDMAN:

15   Q.   Let's look at number 8:

16              "All documents related to Carsten Matthias Rebmann's
17        alleged failure to get along with other employees of the

18        Lipoid group."

19              And I -- I guess my first question is, are there any

20        such documents that are relevant to the alleged failure

21        by the defendant to get along with other employees of

22        the Lipoid group?

23   A.   I don't know.

24   Q.   I am going to ask that you search for such documents and

25        that you produce all of them.
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                                                                          17


 1                                  REBMANN
 2   MR. HAUSER:    We'll take the request under advisement.

 3   BY MR. GOLDMAN:

 4   Q.   Now let's look at number 9.     It says:
 5              "All documents relating to funds Matthias received

 6        from his mother through inheritance, and the disposition

 7        of such funds.    This shall include without limitation
 8        all documents furnished to the bank to which such funds

 9        resided to authorize their transfer by Herbert or any

10        other member of the Lipoid Group out of such account."
11              Are there any documents responsive to this request?

12   A.   I don't have.    As for the first sentence, yes; but for

13        the rest, I have nothing.
14   Q.   Okay.   I ask that you produce those documents.

15   A.   What I can.

16   Q.   Yeah.
17   MR. HAUSER:    Take the request under advisement.

18   A.   Yeah.

19   BY MR. GOLDMAN:

20   Q.   Have you ever told the defendant that you are the heir

21        of his mother's estate?

22   A.   No.

23   MR. GOLDMAN:    Let's mark this one as number 3, defendant's

24        exhibit number 3.

25                (Exhibit 3 marked for identification.)
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                                                                          18


 1                                 REBMANN
 2   MR. GOLDMAN:    I think there's more than one copy there, and

 3        we should split them up.

 4   MR. HAUSER:    Let's see here -- oh, yeah.
 5   MR. GOLDMAN:    Thank you.

 6   MR. HAUSER:    Just for the record, this one -- let me go back

 7        on the record:   Just for the record, defendant's
 8        exhibit 1 is the defendant and third-party plaintiff's

 9        first request for production of documents.       It's

10        dated February 20th, 2014.
11            Defendant's exhibit 2 is defendant and third-party

12        plaintiff's second request for production of documents,

13        dated July 8th, 2014.
14            Defendant's exhibit email is -- or, I'm sorry,

15        defendant's exhibit 3 is an email exchange.       The first

16        email appears to be from Dr. Rebmann to the defendant,
17        dated August 15th, 2008.     The second email is undated,

18        there's no date showing.     It's from the defendant to

19        Dr. Rebmann.   Both emails are entirely in German.

20   BY MR. GOLDMAN:

21   Q.   Do you recall sending the email that begins on the

22        middle of this page?

23   A.   This was the -- is following the situation, so I was

24        (German spoken.)

25   MR. ZAENKER:    "I was the carer."
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                                                                          19


 1                                  REBMANN
 2   MR. HAUSER:     "Guardian," I think, would be the -- something

 3        close to the American legal term.      "Guardian" or

 4        "custodian."
 5   A.   Guardian of his wife.     And I was responsible for all the

 6        money she had.    And I can show you the documents I have

 7        here concerning this.
 8              And after her death, I was informed by the court

 9        that I was now the owner of the money.      I told them it's

10        not possible, because there are two sons, and these two
11        sons get money.

12              This is what I have.    The money I had, I divided in

13        both, so each got half.
14   Q.   And did you give the money to each of them?

15   A.   Yeah.

16   Q.   And when did you do this?
17   A.   Yeah, we -- I gave the -- the half to one son, and the

18        other half I deducted from his debts he has in the

19        company.

20   Q.   I see.

21   A.   With his understanding.      He agreed on this, by phone.

22   Q.   Do you have any documents --

23   A.   No.

24   Q.   -- relating to that?

25   A.   We -- we discussed this several times on phone, and he
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                                                                            20


 1                                   REBMANN
 2        agreed on this.

 3   Q.   Do you have any documents?

 4   A.   No.
 5   Q.   So you deducted the money from his debts; now, are there

 6        documents that show what the debts are?

 7   A.   Yeah.
 8   Q.   Okay.    Have you produced those documents?

 9   MR. HAUSER:     We produced some.    You have the note.

10   MR. GOLDMAN:     Oh, is that the note we're talking about?       I'd
11        like him to identify what -- what documents you're

12        talking about.

13   A.   I can show you.
14              He still owes money to our company.     And the -- this

15        is money -- (German spoken.)

16   MR. ZAENKER:     "Terminated," depending on the kind of --
17   MR. HAUSER:     Yes, "terminated."

18   A.   We agreed with him ...

19              This is the other one -- (German spoken.)

20   MR. HAUSER:     I've got everything here, I think.     (German

21        spoken.)

22   WITNESS:     (German spoken.)

23   MR. HAUSER:     Okay.   You've got most of this, but to be

24        clear, let me make --

25   A.   You have everything, actually.
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                                                                          21


 1                                  REBMANN
 2   MR. HAUSER:    Yeah.

 3   WITNESS:   He has everything.

 4   MR. HAUSER:    But let me get you a package here, so it's all
 5        in one place.     It will make things easier if I can get

 6        this copied for you.

 7            Just while we're waiting for that, Sam, just so
 8        we're clear, everything that you are about to get in

 9        a big package was either already produced in the course

10        of this litigation or was sent to the defendant by
11        Dr. Rebmann on September 17th of 2014, direct.

12   MR. GOLDMAN:    Which again is -- I thank you for that, but my

13        question is still to the witness, and I note the
14        witness's answer that he has documents.

15   Q.   Now, are there any accounting documents relating to

16        that, where you say that there was an offset, where you
17        took the money that came from the inheritance and offset

18        it against the debts of the defendant to the company?

19   A.   This is -- this is what we mentioned.      This is this

20        document here.

21   MR. HAUSER:    Yeah, it's coming.

22   MR. GOLDMAN:    It's coming?    Okay.

23   MR. HAUSER:    It's one of the documents that was sent by

24        Dr. Rebmann to your client in September of last year.

25   MR. GOLDMAN:    Okay.
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 23 of 353
                                                                          22


 1                                 REBMANN
 2   A.   He received it several times.      This was from 2012, for

 3        example.

 4   BY MR. GOLDMAN:
 5   Q.   Okay.   And there is no document that supports your

 6        statement where you say that -- did you ever send the

 7        defendant an email or a letter confirming that he had
 8        agreed to offset his mother's inheritance against his

 9        debts to the company?

10   A.   No.
11   Q.   Do you have any documents from the defendant asking you

12        to send him his mother's inheritance?

13   A.   No.
14              Send him his -- this is possible; I don't know.

15   Q.   Okay.

16   A.   I don't know.
17   Q.   How did you obtain the funds that were his mother's

18        inheritance so that you could offset them?

19   A.   I was responsible for these effects.      And --

20   Q.   Responsible for what?

21   A.   For these effects.    So I --

22   MR. HAUSER:     "For this estate," he said.

23   A.   I was caring for his wife for some years, and I was

24        responsible for her accounts.      And here is the

25        bookkeeping I made.
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                                                                          23


 1                                  REBMANN
 2            And there was only one account, as I was officially

 3        responsible for her and for her account, he had one

 4        account in Frankfurt, your client, which I never could
 5        touch.

 6            So I don't know what happened with this account,

 7        which was legally under my control.      So I don't know
 8        what happened with this account.      But for the rest,

 9        I have here the total bookkeeping from the beginning.

10   Q.   And how did you get -- the money was in a bank?
11   A.   The money -- it is a long story, because, you see, I was

12        divorced since about 20 years, and nobody cared for this

13        wife, who was ill at that time.     And all what her
14        children did, they -- they took the monies they found in

15        -- on her accounts.

16            So I told this that the -- the court -- this is in
17        2004 -- that I'm prepared to be the guardian ad litem.

18        So I am the guardian ad litem in this paper.

19            And then I had to look for all accounts she had

20        under her name.   Most of accounts were empty, so

21        obviously her sons took this money out.       There was only

22        one account, which was protected, and this I got to

23        start with my accounting here.

24            So I had all the money which was available, and this

25        is all the money I had.    And you can have a look at
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 25 of 353
                                                                          24


 1                                 REBMANN
 2        this.

 3              And literally I had to control -- I had to control

 4        the total, all of it -- I had to control all the
 5        finances, all treatment, everything which was done and

 6        which costed money, and I had also to -- to look for her

 7        treatment, for her medical treatment.      So I was
 8        responsible for total.

 9   Q.   Do you recall the day -- the date that the defendant

10        agreed that you could offset the inheritance money
11        against his debts to the company?

12   A.   No.

13   Q.   Do you recall approximately what day?
14   A.   This has -- this was surely after her death, there is no

15        doubt.

16   Q.   I assume it was after her death, but --
17   A.   Yes.

18   Q.   -- how -- how much after her death?

19   A.   My duty from the third was finished with the death,

20        immediately.    So the wife died, and the -- my obligation

21        finished.    And then this money was on her account, and

22        she's got --

23                       (Reporter clarification.)

24   WITNESS:     On her account, on a separate account for her.

25   A.   And -- and then there is the question where the money is
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 26 of 353
                                                                          25


 1                                 REBMANN
 2        going.

 3   BY MR. GOLDMAN:

 4   Q.   What?
 5   A.   Where the money is going.     Yeah?

 6            So -- and the -- so court finally decided that there

 7        are two sons; everybody gets half.       So half got one son,
 8        and the other half was his part.      And his part, we

 9        deducted, with his agreement -- and completely sure that

10        he agreed on this -- we deducted this from his debts he
11        had in our company.

12   MR. HAUSER:    Okay, hold on until I --

13   MR. GOLDMAN:     All right, I'm going to --
14   MR. HAUSER:    It needs to be marked --

15   MR. GOLDMAN:     -- mark this one --

16   MR. HAUSER:    That's fine.
17   MR. GOLDMAN:     While you're out, we're going to mark a set of

18        documents that were provided by Dr. Rebmann and his

19        attorney.    The top page is "Kreditvertrag," and it is

20        dated -- it looks like 28/4/2008.

21            And I'd like to have this marked as defendant's

22        exhibit 4.

23   MR. HAUSER:    Okay, and then we're going to go off the record

24        while I am out of the room.

25                 (Exhibit 4 marked for identification.)
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                                                                          26


 1                                 REBMANN
 2                         (A break was taken.)

 3   MR. HAUSER:    Let me just go on the record here for a second

 4       to describe the documents that have just been handed
 5       over in a single package.

 6           The top one is a -- in English, the title would be

 7       "Credit Contract."
 8   MR. ZAENKER:    "Loan Agreement."

 9   MR. HAUSER:    "Loan Agreement"; yeah, that's probably right.

10           Effectively, Sam, my understanding of what this
11       document is -- and you can consult your own client --

12       it's got his signature on it from April 28th of 2008, as

13       well as Dr. Rebmann.     It was a loan to him against
14       his -- and I'm not exactly sure of the accounting,

15       because it -- these concepts differ greatly between the

16       two countries; either retained earnings or his capital
17       account, based on his shareholding in the Lipoid

18       Grundstucks GmbH.

19           The second document is one you've seen before --

20       there's multiple copies running around this

21       litigation -- which is the promissory note he signed.

22       It's dated June 20th of 2007.

23           The third document again is one that's been produced

24       in this -- in this litigation.      It's the mortgage deed

25       he signed in favor of Complector AG, also on --
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 28 of 353
                                                                          27


 1                                 REBMANN
 2       dated June 20th, 2007.

 3           The next document is from Lipoid Verwaltungs,

 4       dated October 1st, 2012.       It's a statement of the loan
 5       as of that date.

 6           The next page has the same date, and is the

 7       accounting you're looking for in terms of the loan and
 8       payments and credits.

 9   MR. GOLDMAN:    That's the one with the -- the two --

10       that's --
11   MR. HAUSER:    It's from Lipoid Verwaltungs AG.      It's

12       dated Steinhausen, 1 October 2012.

13   MR. GOLDMAN:    I have that one.
14   MR. HAUSER:    Okay.   The next is a -- the next two pages are

15       a --

16   MR. ZAENKER:    An assignment.
17   MR. HAUSER:    -- an assignment agreement between Lipoid

18       Verwaltungs AG and Lipoid Grundstucks GmbH.        And in --

19       in sum and substance, as I understand it, that's where

20       the loan from Lipoid Verwaltungs AG was assigned over to

21       Lipoid Grundstucks GmbH.

22   MR. GOLDMAN:    And what's the date of that?

23   MR. HAUSER:    It is dated -- oh, boy, it's hard to read.

24       Sometime in 2014.    The first --

25                       (Discussion in German.)
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 29 of 353
                                                                          28


 1                                  REBMANN
 2   MR. HAUSER:    It looks like it's the 1st of June, 2014.

 3           The next page is the notice he received of the

 4       accounting for the two loans, in total, including the
 5       credit -- as you know, certain shares from Lipoid

 6       Grundstucks.

 7   MR. GOLDMAN:    This is the page entitled "Bilanzs-" --
 8   MR. HAUSER:    "-stichtag."

 9   MR. GOLDMAN:    Yeah.

10   MR. HAUSER:    That's -- it's not the title of the page, but
11       yeah, that's on the top right-hand side.

12   MR. GOLDMAN:    I understand that.       Yeah.

13   MR. HAUSER:    B-I-L-A-N-Z-S-T-I-C-H-T-A-G, all one word.
14   MR. GOLDMAN:    And the page prior to that, you say, is ... ?

15   MR. HAUSER:    What -- what that is, it's a full accounting

16       for the two loans.       And what's included in there -- this
17       is part of what was sent directly to your client --

18   MR. GOLDMAN:    Okay, I --

19   MR. HAUSER:    -- last September.

20           Included in that is a payment made against the loan,

21       in return for the shares that were withdrawn from him.

22   MR. GOLDMAN:    Let -- let me ask a few questions; okay?

23   MR. HAUSER:    Okay.    Just so you --

24   MR. GOLDMAN:    So we -- we know what these are, and --

25   MR. HAUSER:    Okay.
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                                                                          29


 1                                  REBMANN
 2   MR. GOLDMAN:    Let's turn to the page that --

 3   MR. HAUSER:    And you've marked this; right?

 4   MR. GOLDMAN:    Yes.
 5   MR. HAUSER:    This package is exhibit 4.

 6   MR. GOLDMAN:    Yeah.   And I know you are getting some more

 7        copies made.
 8   MR. HAUSER:    I have them here.

 9   MR. GOLDMAN:    Okay.

10            Let's go to the page that is entitled "Lipoid
11        Verwaltungs AG," to Carsten Matthias Rebmann,

12        Steinhausen, 1 October 2012.

13   MR. HAUSER:    Okay.
14   BY MR. GOLDMAN:

15   Q.   Okay.

16   A.   Yeah.   Mm-hmm.
17   Q.   Okay.   And the first entry on that page is the loan for

18        the apartment; is that correct?

19   A.   Yeah.

20   Q.   And the second entry is "Ruckzahlung"?

21   A.   Yeah.

22   Q.   Okay.   And what is that entry about?

23   A.   Obviously he paid back.

24   Q.   Do you have a copy of the check or wire transfer advice

25        where he paid that back?
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 31 of 353
                                                                          30


 1                                  REBMANN
 2   A.   No.

 3   Q.   Do you know where the money came from?

 4   A.   No.   From him.
 5   Q.   From him?

 6   A.   Yeah, obviously.     I don't know.

 7   Q.   Do you have any recollection of where the money came
 8        from?

 9   A.   No.   This is accounting which is made in Switzerland,

10        without my influence.
11   Q.   Right.

12   A.   I have no influence at all on it.

13   Q.   Are there any accountings that go -- that were dated
14        prior to October 2012?

15   A.   Where?

16   Q.   Are there any accounting entries from prior
17        to October 1, 2012?

18   A.   I don't understand.

19   Q.   My -- my question is:     Was there an entry made someplace

20        on or about January 5th, 2008 --

21   MR. HAUSER:    Maybe --

22   BY MR. GOLDMAN:

23   Q.   -- of this payment?

24   MR. HAUSER:    Maybe May the 1st.      It's May 1st, 2008.

25   MR. GOLDMAN:     I'm sorry; May 1st.      You are correct.
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                                                                          31


 1                                  REBMANN
 2        May 1st.

 3   A.   So what's the question?

 4   BY MR. GOLDMAN:
 5   Q.   My question is:     Is there an entry that was made

 6        on May 1st, 2008, of this payment?      Or is the only entry

 7        that was made the one that was made on October 1
 8        of 2012?

 9   MR. HAUSER:     Excuse me a second.

10   A.   I don't understand.
11   MR. HAUSER:     I object.   The questions -- are you asking

12        whether there was an accounting report, or whether

13        someplace in a company there was an accounting entry?
14        Those are two different things.

15   MR. GOLDMAN:     I'm asking both.   I asked the first one,

16        whether there was an accounting report prior to this
17        date.

18   MR. HAUSER:     Okay.

19   MR. GOLDMAN:     And the second one is, is there an accounting

20        entry -- I'm trying to determine where the money came

21        from.

22   MR. HAUSER:     Well, those are three different questions.

23   MR. GOLDMAN:     I asked all three.

24   MR. HAUSER:     Okay.   Let's -- why don't we take them one at

25        a time.
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 33 of 353
                                                                          32


 1                                  REBMANN
 2   MR. GOLDMAN:    I didn't get an --

 3   MR. HAUSER:    Okay.

 4   MR. GOLDMAN:    -- answer to any of the three.
 5   MR. HAUSER:    You were -- the second time, you kind of

 6        combined two, but -- okay.     So -- keep them separate.

 7   MR. GOLDMAN:    Okay.
 8   MR. HAUSER:    And thank you for helping me.

 9   MR. GOLDMAN:    All right.   Let's -- let's see if we can do

10        this.
11   Q.   Dr. Rebmann, the first question is:      Is there an

12        accounting report stating --

13   A.   I have no --
14   Q.   -- the balance from earlier dates?

15   A.   I have no accounting record at all.      This was done by --

16        by our company in Switzerland; I had nothing to do with
17        this.

18            And he had an account in Switzerland; he had

19        different accounts in Switzerland.      Why didn't he

20        transfer the money from there to here?      So I don't know.

21            Anyway, I have nothing to do with this accounting

22        here.   This is, let's say -- (German spoken.)

23   MR. ZAENKER:    It's an official confirmation from our

24        accountant.

25   A.   Yeah.   In Switzerland.
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                                                                          33


 1                                  REBMANN
 2   BY MR. GOLDMAN:

 3   Q.   And what is the name of that accountant?

 4   A.   This is mentioned.   This is from -- this is --
 5        "Von Fluhe" is the name of -- of the man who makes this.

 6   Q.   What's his name?

 7   A.   Von Fluhe.   Von Fluhe.
 8   MR. HAUSER:    It's V-O-N, space, F-L-U-H-E.

 9   A.   Yeah, but he made this -- (German spoken.)

10   MR. ZAENKER:    He prepared the statement on behalf of Lipoid
11        Verwaltungs AG.

12   BY MR. GOLDMAN:

13   Q.   Yeah, but he -- he didn't sign the statement?
14   A.   This is his job, not mine, if he signs or not.        This is

15        obviously -- (German spoken.)

16   MR. ZAENKER:    It's a breakdown.
17   A.   It's a breakdown of -- of his bookkeeping.

18   BY MR. GOLDMAN:

19   Q.   And who asked him to prepare this breakdown?

20   A.   This was done because we sold this -- we -- we

21        transferred this to -- to the other company, I think.

22        We have it here --

23   Q.   My question -- my -- my question, Dr. Rebmann, is:        Who

24        asked him to prepare this breakdown?

25   A.   We had this agreement -- we had this agreement between
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 35 of 353
                                                                          34


 1                                 REBMANN
 2        (German spoken.)

 3   MR. HAUSER:    He's saying it was prepared in connection --

 4   A.   Yeah.
 5   MR. HAUSER:    -- with the assignment agreement.

 6   A.   And which amount, which amount was there mentioned.        It

 7        should be the amount here.
 8              Yeah.   It's the same.   This was prepared for this

 9        transfer.

10   Q.   Who -- who asked Mr. Von Fluhe to prepare this
11        breakdown?    Or did he -- well, who asked him to prepare

12        it?

13   A.   We --
14   Q.   I've asked the question --

15   A.   We decided --

16   Q.   -- three times.
17   A.   We decided that this credit was transferred from --

18        (German spoken.)

19   MR. HAUSER:    Verwaltungs AG?

20   A.   Yeah, Verwaltungs AG.    And as this -- after this

21        decision, naturally he surely made this -- this list

22        here.

23   BY MR. GOLDMAN:

24   Q.   And -- and my question is:     Who is "we," when you say

25        "we decided"?
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                                                                          35


 1                                 REBMANN
 2   A.   "We," this is always a company, sir.      And Lipoid

 3        Verwaltungs AG has a board.

 4   Q.   Lipoid Verwaltungs --
 5   A.   AG.

 6   Q.   -- AG --

 7   A.   Has a board.
 8   Q.   -- has a board?

 9   A.   Yeah.

10   Q.   Okay.
11   A.   And this board might have decided that we do this.

12                       (Reporter clarification.)

13   MR. ZAENKER:     That he'd do it.   That he'd do the breakdown.
14   A.   That we do the breakdown; yeah.

15   BY MR. GOLDMAN:

16   Q.   So who --
17   A.   Or the transfer; that we do the transfer.

18   Q.   Who was it that agreed to lend the defendant $700,000 in

19        2007?

20   A.   This was surely me.

21              The story is the following.   It's a terrible story,

22        because your client lived in an apartment which was

23        really not fantastic, and after a certain time, I told

24        him, "You should look for a reasonable apartment, for

25        reasonable living, and somewhere in Newark," where the
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 37 of 353
                                                                          36


 1                                  REBMANN
 2        office was.

 3   Q.   In where?

 4   A.   Newark.    Newark.
 5   Q.   Newark?

 6   A.   Newark.

 7   Q.   Yes.
 8   A.   Newark.    Yeah?

 9   Q.   Okay.

10   A.   And one day --
11   MR. HAUSER:     Hang on.   N-E-W-A-R-K.

12   A.   And one day he came up and told me he is now buying an

13        apartment for 1.3 million.     You see, we in Germany, we
14        bought some years before a house for five people for

15        400 German marks.

16   MR. HAUSER:     400,000.
17   A.   400,000.

18            So I said, "How can you buy an apartment for

19        1.3 million?    You are stupid.      You have no money."

20            And it was completely clear it is -- was fantastic.

21            So at the end -- and this was surely by mistake --

22        I agreed that he will get credit from the company, and

23        this was the 700,000.

24   MR. ZAENKER:     A loan.

25   A.   Yeah.   And -- but, you know, I never saw a purchase
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 38 of 353
                                                                          37


 1                                 REBMANN
 2        agreement for this apartment.      I don't know what he

 3        really paid.     I don't know from where the other money is

 4        coming.    So if it's 1.3 million, and we gave him 800, so
 5        there are still 500,000 open; we don't know.

 6   BY MR. GOLDMAN:

 7   Q.   Did you ever ask him?
 8   A.   No.    He never informed us.

 9   Q.   Huh?

10   A.   He never informed us.    We never saw a -- we never saw an
11        agreement showing that he bought this apartment.

12   Q.   Did you ask for one?

13   A.   I don't think so.
14   Q.   Do you know where the apartment is?

15   A.   I was there.     It's like a rabbit house.

16   Q.   Huh?
17   A.   A rabbit house.     It's like a rabbit house.

18   Q.   A rabbit house?

19   A.   For 1.3 million.    It is fantastic.    I'm still horrified

20        by this.

21   Q.   You're horrified?

22   A.   I'm horrified.

23   Q.   Did you ever sleep there?

24   A.   Yeah.    Yeah.

25   Q.   You did?
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                                                                          38


 1                                 REBMANN
 2   A.   Yeah.

 3   Q.   How often?

 4   A.   I think twice.
 5   Q.   Twice?

 6   A.   He might know it better.    I think twice.

 7   Q.   Did -- did you tell the defendant that it was like
 8        a rabbit house?

 9   A.   Sure.

10   Q.   You did?
11   A.   Sure.    Sure.   It was terrible.

12   Q.   Did you offer to help him buy a -- a better apartment?

13   A.   For more money?
14   Q.   For more money?

15   A.   I would buy an apartment for $200,000, but not for

16        1.3 million.     For me, this is out of any consideration,
17        to buy an apartment for 1.3 million.

18   Q.   Yeah?

19   A.   Yeah.    This is fantastic -- and having no money.

20   Q.   You know -- you know the prices are different in

21        New York than they are --

22   A.   It doesn't matter.    It doesn't matter.

23   Q.   -- in Germany?

24   A.   It doesn't matter.    When you go outside, you work, you

25        find houses for -- for much lower prices, even in --
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 40 of 353
                                                                          39


 1                                  REBMANN
 2        this is completely nonsense, to buy an apartment for

 3        1.3 million without having any money to show us his

 4        character.
 5   Q.   "Show us his character"?

 6   A.   Yeah.

 7   Q.   I see.
 8   A.   Yeah.    So this is a good point you mention here.

 9              And then, to continue this, he had also some credit

10        on this Grundstucks GmbH.     Yeah?   He had --
11   MR. HAUSER:    Do you have the spelling on that?

12   A.   Yeah.

13   MR. HAUSER:    "Grundstucks" is G-R-U-N-D-S-T-U -- umlaut --
14        -C-K-S, and then GmbH.

15   A.   So he -- he had his famous 10 percent that he's so proud

16        on.   And on this -- in this company, he had money of
17        about €100,000.   And this money he got as -- also as

18        a credit.    This is the other, which we have here.

19   MR. HAUSER:    Just for the record, the -- Dr. Rebmann has

20        pointed to the top page of exhibit 4.

21   A.   So he got two credits to buy this rabbit house.

22   BY MR. GOLDMAN:

23   Q.   And the --

24   A.   And --

25   Q.   -- the second credit --
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                                                                          40


 1                                 REBMANN
 2   A.   Sorry, sorry, sorry.

 3            And he had to pay interest every month.       He did this

 4        twice, two months; then he never paid any interest,
 5        which is naturally the problem for the contract.        You

 6        may see what this means by law.

 7   Q.   Do you have any documents where you asked the defendant
 8        to pay interest on the loan?

 9   A.   I don't know.

10   Q.   Were there any statements from Lipoid Verwaltungs or
11        Complector saying, "Your interest payment is due"?

12   A.   I don't know.   Anyway, it is fixed in the contact that

13        he has to pay --
14   Q.   Is Mr. Von Fluhe -- Von Fluhe -- a good accountant, in

15        your opinion?

16   A.   There is no doubt.
17   Q.   Yes, so do you -- do you consider it good accounting

18        practice not to send a notice demanding payment of

19        interest when interest is due?

20   A.   The problem surely was that he was considered as my son,

21        so people were very careful with him.

22   Q.   That wouldn't make him a good accountant, would it?

23   A.   He is not very good accountant; the question is how --

24        how good your client is.

25   Q.   I'm sorry, what?
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                                                                          41


 1                                  REBMANN
 2   A.   Your client, it's more a question how good he is, than

 3        what our -- our bookkeeper is.      There is no doubt.

 4   Q.   I guess we -- we all have different views on what the
 5        issues in the case are, and at some point we will --

 6   MR. HAUSER:     Is that a question?

 7   MR. GOLDMAN:     -- get a decision on that.
 8            Huh?

 9   MR. HAUSER:     Is that a question?

10   A.   It is --
11   MR. GOLDMAN:     No, no.   We're having a conversation --

12   A.   No, it is --

13   MR. GOLDMAN:     -- on the last question.
14   A.   It is completely clear in the mortgage deed, it is

15        mentioned, if it -- if the sums are not paid, the -- the

16        total sum is due.     This is what we've signed and fixed.
17        And now why do we ask him to pay?

18   BY MR. GOLDMAN:

19   Q.   Let me ask you this:    There are several other entries on

20        this --

21   A.   Yeah.

22   Q.   -- page we discussed.

23   A.   Yeah.   Yeah.

24   Q.   And these reflect payments by the defendant, and I'm

25        wondering if you have any documents, you -- and when
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 43 of 353
                                                                          42


 1                                 REBMANN
 2        I say "you," I mean you, or Lipoid Verwaltungs, or

 3        Mr. Von Fluhe -- have any documents --

 4   MR. HAUSER:    I object, to the extent --
 5   BY MR. GOLDMAN:

 6   Q.   -- relating to those payments.

 7   MR. HAUSER:    -- you're asking for the knowledge of -- of
 8        another person or another company.

 9   MR. GOLDMAN:     No, I'm asking for documents.     And if you want

10        to take the position that Dr. Rebmann is not responsible
11        to provide these documents in court, you can take that

12        position.

13   Q.   Are there any documents in the hands of Lipoid
14        Verwaltungs or Dr. Rebmann relating to these payments

15        that are evidenced on here?

16   MR. HAUSER:    Objection, compound question.
17   BY MR. GOLDMAN:

18   Q.   Are there any documents, Dr. Rebmann, relating to the

19        payment that is entered on December 21, 2009?

20   A.   2009, 21 -- no.    The only one I can -- I can tell you is

21        the one of April 7, which is the money he got as

22        inheritance from his mother.       This $150,000.

23   Q.   And are there any documents relating to that?

24   A.   I don't know.   Should be.    It is half -- we would

25        calculate it, if you want.     It's half of the amount --
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                                                                          43


 1                                 REBMANN
 2        do you have a --

 3   MR. HAUSER:    Here, I have -- let's -- let me hand over now

 4        these additional documents.     This is a good chance.
 5            Just so you know, this is a package -- the top

 6        document is the order from the court in Munster

 7        appointing him the guardian ad litem for his ex-wife.
 8            Attached to that, for your convenience, is an

 9        unofficial, informal translation; it's not certified.

10            And then also the final page is his final accounting
11        of the estate, including the final sum of €231,736.05,

12        which is the -- the money that was divided between the

13        two sons, is my understanding.
14   MR. GOLDMAN:    If you want to mark those, there's a copy.

15   MR. HAUSER:    Yeah, we should mark --

16   MR. GOLDMAN:    Do we have this copy?
17   MR. HAUSER:    (German spoken.)

18   MR. GOLDMAN:    Let's mark the document that was just

19        described by Mr. Hauser.

20             (Exhibit 5 marked for identification.)

21                       (Discussion in German.)

22   MR. GOLDMAN:    By the way, if you speak to the witness in

23        German, I'd like to you also translate in English.

24   A.   Mm-hmm.   I was simply asking for the copy --

25   MR. HAUSER:    He has with him the rest of his accounting of
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 45 of 353
                                                                          44


 1                                  REBMANN
 2        the estate, in terms of all the different payments and

 3        income, and I'm telling him that that's irrelevant here,

 4        and it needs to remain private.
 5   WITNESS:   Good, but I mean, I need the first page, where

 6        I had some -- and you're talking --

 7   MR. HAUSER:     Oh, that's -- that's there.    That's the last
 8        page of that --

 9   WITNESS:   4?

10   MR. HAUSER:     -- that document right there.
11   WITNESS:   Good.    Okay.

12   MR. HAUSER:     (German spoken.)

13   BY MR. GOLDMAN:
14   Q.   My question doesn't relate to these documents at all.

15   A.   Mm-hmm?

16   Q.   My question is:    How did the €150,000 get -- I'm sorry,
17        US dollars -- how did that get from the defendant to

18        Lipoid Verwaltungs AG?

19   MR. HAUSER:     Objection.    The money was never in the

20        defendant's hands.      He's testified that it was in the

21        estate, and it was paid from the estate to the company.

22   MR. GOLDMAN:     I need the document showing the payment from

23        the estate to the company.     I need the documents showing

24        the request to withdraw the money from the bank and put

25        it into the company.     I need all of those documents.
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 46 of 353
                                                                          45


 1                                 REBMANN
 2   A.   I have nothing.

 3   BY MR. GOLDMAN:

 4   Q.   Now, who was the banker you spoke to?      Do you recall the
 5        name of the banker you spoke to in --

 6   A.   We spoke --

 7   Q.   -- connection with this?
 8   A.   We spoke with Mr. Von Fluhe, and he deals with the bank.

 9   Q.   And Mr. Von Fluhe arranged to transfer the money?

10   A.   He have -- we have -- I have nothing to do -- I have no
11        -- (German spoken.)

12   MR. ZAENKER:    No bank authority, no bank card.

13   A.   No.   I have no -- nothing to do with the bank.
14   BY MR. GOLDMAN:

15   Q.   I thought you were the administrator or the guardian of

16        your ex-wife's estate --
17   A.   This is true.

18   Q.   -- not Mr. Von Fluhe.

19   A.   This is true.   This is true.      But you asked me how the

20        money came here, to this -- to this account.

21   Q.   From -- but from her account, your ex-wife's account?

22   A.   I don't know, for the moment.

23   Q.   So Mr. Von Fluhe, you think, would know?

24   A.   I will ask.

25   Q.   Okay.   I need those documents.     If you can ask him for
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 47 of 353
                                                                          46


 1                                 REBMANN
 2        those documents.

 3   A.   I can --

 4   MR. HAUSER:     The request is taken under advisement.
 5   A.   I can ask if there are any documents.

 6   BY MR. GOLDMAN:

 7   Q.   Now, let me go to number 10 in defendant's exhibit 2,
 8        which is the second document request.

 9   A.   All documents -- this one?

10   Q.   Yeah, all documents relating to the authorization or
11        approval of the commencement of this lawsuit on behalf

12        of Lipoid LLC, American Lethicin Company, Lipoid GmbH,

13        and Phospholipid GmbH.
14            Are there any such documents?

15   A.   I don't know.

16   Q.   Do you know if there are any corporate resolutions --
17   A.   I have no idea.

18   Q.   -- by any of these companies?

19   A.   Yeah.

20   Q.   Do you know who authorized the commencement of the

21        lawsuit?

22   A.   I have no idea.

23   Q.   Okay.   Who else, before the commencement of the lawsuit

24        against the defendant in the Southern District of

25        New York, who was involved in the decision-making
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 48 of 353
                                                                          47


 1                                   REBMANN
 2        process?

 3   MR. HAUSER:     What decision-making process?

 4   MR. GOLDMAN:     The decision to commence the lawsuit.
 5   MR. HAUSER:     Who was involved -- okay.

 6   A.   I have no idea.

 7   BY MR. GOLDMAN:
 8   Q.   Did you retain counsel to commence the lawsuit?

 9   MR. HAUSER:     Who is "you"?

10   MR. GOLDMAN:     "You" is Dr. Rebmann.
11   MR. HAUSER:     Did he personally retain counsel to commence

12        the lawsuit?

13   MR. GOLDMAN:     Yes, either directly or on -- or through
14        a company.

15   A.   I don't know.

16   BY MR. GOLDMAN:
17   Q.   Dr. Rebmann, I'll ask you to search your files and have

18        the files of these four companies searched for any

19        documents relating to the commencement of the lawsuit,

20        and I'd like you to produce any corporate resolutions,

21        minutes of meetings relating to the commencement of the

22        lawsuit, documents where this was considered.        I'd like

23        you to produce any retainer letters with counsel

24        relating to the commencement of the lawsuit.

25   MR. GOLDMAN:     You can object if you like; we'll ask the
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                                                                          48


 1                                  REBMANN
 2        judge.    Because the witness doesn't remember anything,

 3        so we'll have to figure it out through whatever

 4        documents there are, or talk to whoever else there might
 5        be that was involved in the commencement of the lawsuit.

 6   MR. HAUSER:     Your request is taken under advisement, knowing

 7        that a fair amount of what you just asked for could well
 8        be privileged.     And that objection will be asserted with

 9        full force.

10            Please move on.
11   A.   What is the purpose of these documents?

12   MR. GOLDMAN:     You're asserting privileges to documents that

13        the witness says he doesn't know exist.       I'd just like
14        to note that on the record as well.

15            Why don't we take a five-minute break?

16   MR. HAUSER:     Sure.
17   (9:20 a.m.)

18                           (A break was taken.)

19   (9:21 a.m.)

20   BY MR. GOLDMAN:

21   Q.   Can we go back on the record.

22            Okay.    Lipoid group, for purposes of this --

23   A.   It's not existing.

24   Q.   No, no.

25   A.   You put -- you put this on the line.      It's not existing.
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 50 of 353
                                                                          49


 1                                 REBMANN
 2   Q.   It doesn't exist?

 3   A.   Never.

 4   Q.   I see.   Okay.
 5            Now, in this document, let me take you to --

 6   MR. HAUSER:     Are you referring still to exhibit 3?

 7   MR. GOLDMAN:     Exhibit --
 8   MR. HAUSER:     Oh, exhibit 2; I'm sorry.

 9   MR. GOLDMAN:     Exhibit 2.

10   MR. HAUSER:     Okay.
11   BY MR. GOLDMAN:

12   Q.   Let me take you to --

13   A.   I will correct:     Lipoid group was not existing at this
14        time when we are discussing now.

15   BY MR. GOLDMAN:

16   Q.   When did it stop to exist?
17   A.   It never existed.    It exists now, but this is not your

18        problem.

19   Q.   What?

20   A.   It's not your problem.     It's not your problem.

21   Q.   It exists now?

22   A.   Yeah.    That is -- it is not your problem.

23   Q.   When did it start to exist?

24   A.   This year.

25   Q.   This year?
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                                                                           50


 1                                 REBMANN
 2   A.   Yeah.

 3   Q.   And can you describe what the Lipoid group is that

 4        exists now?
 5   A.   This is mandatory?     We speak about 2011 and '12, and not

 6        now.

 7   Q.   No, I ask the questions; you answer the questions.        Your
 8        lawyer can object to a -- to a question, but you should

 9        answer the question.    That's your job.

10   A.   Yeah, but you must see, he's our competitor.       So
11        everything you ask me, I have to think about:        Is this

12        competition or not?

13   Q.   I'll ask the question, and I'm going to ask you to
14        answer the question.    You cannot object to a question;

15        you have to answer the question.

16   A.   Okay.
17   Q.   Okay?    So what is the Lipoid group today?     What is that

18        today?   What is that today?

19   A.   We have now, in 2015, the established Lipoid

20        Beteiligungs GmbH.

21   MR. HAUSER:    B-E-T-E-I-L-I-G-U-N-G-S, GmbH.

22   BY MR. GOLDMAN:

23   Q.   And what is that?

24   A.   And this company owns now most of the assets of the

25        other companies.
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                                                                          51


 1                                  REBMANN
 2   Q.   And where is this company located?

 3   A.   In Germany.

 4   Q.   Where in Germany?
 5   A.   In Neustadt.

 6   Q.   Does it have an address?

 7   MR. HAUSER:    "Neustadt" is N-E-U-S-T-A-D-T.
 8   BY MR. GOLDMAN:

 9   Q.   Does it have a street address?

10   A.   Yeah.    You have my address here; I think you have your
11        also -- yeah.    You can take this one -- Furstenweg

12        D-6 --

13   MR. GOLDMAN:    Would you mind reading it out loud?
14   REPORTER:     Sure.   It is Furstenweg 13, D-67435, Neustadt.

15   MR. GOLDMAN:    Can I ...

16   Q.   And you say it succeed to the assets of most of the
17        other companies; correct?

18   A.   Sorry, it ... ?

19   Q.   It succeeded to the assets -- it owns most of the assets

20        of --

21   A.   Yeah.

22   Q.   -- the other companies?

23   A.   Yeah.

24   Q.   I see.   So of the assets of the other companies, are

25        there any that it doesn't own?
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                                                                          52


 1                                   REBMANN
 2   MR. HAUSER:       What do you mean by "the other companies"?

 3   MR. GOLDMAN:       Well, he just said that; I'm asking him based

 4        on his answer.
 5   A.   It's difficult.

 6              No.    No.

 7   Q.   What does "no" --
 8   A.   No.

 9   Q.   So it owns everything?

10   A.   Yeah, that's right.      Yeah.
11   Q.   Okay.    And this includes the US company assets?

12   A.   Exactly.

13   Q.   And the Swiss company assets?
14   A.   Exactly.

15   Q.   And the German company assets?

16   A.   Yes.
17   Q.   And is this -- this is not a foundation; this is a GmbH?

18   A.   This is GmbH.

19   Q.   Right.      And you mentioned a foundation in your

20        affidavit, which I can show you If you like.

21   A.   This company is owned by a foundation.      This

22        Beteiligungs is owned by a foundation.

23   Q.   I see.

24   A.   Not 100 percent, but most.

25   Q.   I see.      What's the name of the foundation?
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                                                                          53


 1                                  REBMANN
 2   A.   Lipoid Stiftung.

 3   MR. HAUSER:    The second word is S-T-I-F-T-U-N-G.

 4   MR. GOLDMAN:     S-T-I-F-T-U-N-G?
 5   MR. HAUSER:    That's the word that means "foundation."

 6   BY MR. GOLDMAN:

 7   Q.   And where's that located?
 8   A.   It's the same address.

 9   Q.   And what percentage of Lipoid Beteiligungs does Lipoid

10        Stiftung own?
11   A.   More than 90 percent.

12   Q.   And who owns the rest?

13   WITNESS:   Do I answer this?
14   MR. HAUSER:    (German spoken.)

15                        (Discussion in German.)

16   MR. HAUSER:    Let me speak with my client.
17   MR. GOLDMAN:     You'll note this on the record, that they

18        stepped out of the room to discuss the answer to the

19        question.

20                 (Witness and counsel left the room.)

21                     (Witness and counsel return.)

22   MR. HAUSER:    For the record, at this point, we're going to

23        assert an objection on the basis that it's confidential

24        business information.

25            And let's move on.     If you want to contest that, we
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                                                                          54


 1                                    REBMANN
 2        can at a later date.    It's obviously simple enough

 3        information to produce, if the judge decides we have to;

 4        but for right now, we're objecting.
 5   BY MR. GOLDMAN:

 6   Q.   Let me ask you this:    Is -- is this public information

 7        in Germany?
 8   A.   I don't know.

 9   Q.   Do you file documents anywhere that states who the

10        owners of the equity are --
11   A.   I don't know.

12   Q.   -- in Beteiligungs?

13   A.   I don't know.
14   Q.   You don't know; okay.       Then that's good enough for me.

15   MR. GOLDMAN:     As for your objection, based on what?      Based

16        on confidentiality, or ... ?
17   MR. HAUSER:    That's what I said.

18   BY MR. GOLDMAN:

19   Q.   Does Lipoid Stiftung have a -- a board of directors?

20   A.   Yeah.    Yeah.

21   Q.   And who is on the board of directors?

22   A.   Different persons.

23   Q.   What are the names of those persons?

24   WITNESS:     I have to answer?

25   A.   Dr. Mikus.    Dr. Mikus.
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                                                                          55


 1                                   REBMANN
 2   MR. HAUSER:    That's M-I-K-U-S.

 3   A.   And Mr. Von Fluhe.     Birgit Rebmann.

 4   BY MR. GOLDMAN:
 5   Q.   Who?

 6   A.   Birgit Rebmann.   And me.

 7                      (Reporter clarification.)
 8   MR. ZAENKER:     B-I-R-G-I-T.

 9   BY MR. GOLDMAN:

10   Q.   So how many directors are there altogether?
11   A.   Four.

12   Q.   Four?   And who is Dr. Mikus?

13   A.   He is in this board.
14   Q.   Huh?

15   A.   He is in the board of this -- of this --

16   Q.   Did he --
17   A.   -- foundation.

18   Q.   Did he do anything before he went on the board of the

19        foundation?

20   A.   He has -- naturally has a profession.

21   Q.   What is his profession?

22   A.   He's lawyer -- I don't know.

23   Q.   You don't know?

24   A.   I don't know exactly what his -- what profession he has.

25   Q.   How long have you known Dr. Mikus?
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                                                                          56


 1                                    REBMANN
 2   A.   Several years.

 3   Q.   Approximately how many?

 4   A.   Four years.
 5   Q.   Four years?

 6   A.   Four or five years.     I don't know.

 7   Q.   What's his address?
 8   A.   His address here.     Here.   (Indicating.)

 9   Q.   Oh, at this law firm?

10   A.   Where you are.   Where you are.
11   Q.   I see.   So do you know if he is an attorney -- is he

12        a lawyer?

13   A.   I don't know exactly.
14   Q.   I see.   And Mr. Von Fluhe is the same accountant, and

15        Birgit is your wife?

16   A.   Yeah.
17   Q.   Okay.    And does Lipoid Beteiligungs have a board of

18        directors?

19   A.   No.

20   Q.   Who is the management of Lipoid Beteiligungs?

21   A.   There is only a general manager.        General manager is

22        Dr. Zirkel.

23   MR. HAUSER:    Can you spell that for us?

24   WITNESS:     Z -- Z-E-R-T-E-L.

25   MR. HAUSER:    Zertel?
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                                                                          57


 1                                   REBMANN
 2   WITNESS:     Zertel, yeah.

 3   MR. HAUSER:     Z-E-R-T-E-L -- oh, is it -- Z-I-R-T-E-L.

 4        Sorry, my fault.
 5   MR. GOLDMAN:     I thought it was Z-I-R-K-E-L; no?

 6   MR. HAUSER:     Yeah.    Z-I-R-K-E-L.

 7   BY MR. GOLDMAN:
 8   Q.   And what is his profession, Dr. Zirkel?

 9   A.   He is chemist.

10   Q.   He's a chemist; and you've known him for a while?
11   A.   Yeah.

12   Q.   And what's his address?

13   A.   Oh, I don't know.
14   Q.   Do you know approximately where he ... ?

15   A.   I could give you the address from Lipoid.

16   Q.   Of what?
17   A.   From Lipoid.    I can give you --

18   Q.   Oh, Lipoid?

19   A.   -- the address from Lipoid.

20            Yeah.

21   Q.   Which -- which Lipoid does he work for?

22   A.   Lipoid GmbH.    He is in Lipoid GmbH.

23   Q.   I see.   And where -- where are they located in --

24   A.   Frigenstrasse.      Frigen, F-R-I-G-E-N; strasse 4, in

25        Ludwigshafen.      Ludwigshafen.
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                                                                          58


 1                                 REBMANN
 2   Q.   Okay.   Now, let's go back to my question of about

 3        20 minutes or a half-hour ago, which is relating to

 4        Lipoid group.
 5            At the time that we sent this document request,

 6        which was in 2014 -- and if you take a look at the top

 7        of page 6, there's a definition of Lipoid group.
 8   A.   But it doesn't exist, whatever you define.

 9   Q.   Okay.   But what it is, for this document's purpose, is

10        a -- a shortcut, a summary way of saying that when I say
11        "Lipoid group," I mean all of these different entities.

12        Okay?

13   A.   This is your own definition, which makes no sense.
14   Q.   But it's a definition -- I'm allowed to put in a

15        document, and you are supposed to be governed by the

16        document definition when you answer the questions.
17   MR. HAUSER:    Just -- just for the record, I believe we have

18        an objection to your definitions and instructions.

19   MR. GOLDMAN:    Okay.   For the record, I'd like to ask the

20        witness if there are any documents responsive to the

21        document requests in numbers 11 through 27.

22   MR. HAUSER:    Gosh.

23   BY MR. GOLDMAN:    And I'm trying to move this along.       We

24        could go item by item.

25   MR. HAUSER:    There's -- there's no way -- you aren't going
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                                                                          59


 1                                 REBMANN
 2        to do that.   There's -- I'm going to object to a

 3        compound question like that.

 4   BY MR. GOLDMAN:
 5   Q.   Dr. Rebmann, so we don't wind up spending the rest of

 6        this deposition with me asking you hundreds of questions

 7        about documents that are -- that you were obligated fro
 8        produce here --

 9   MR. HAUSER:    I object to that statement.

10   BY MR. GOLDMAN:
11   Q.   -- that we asked you to produce, and that your attorney

12        objects to -- so that I don't have to ask you hundreds

13        of questions to deal with this, I would like you, for
14        each of the companies that is listed in definition B, to

15        provide each and every document you have that is

16        responsive to this document request.
17   MR. HAUSER:    We'll take your request under advisement.

18   BY MR. GOLDMAN:

19   Q.   And I'm going to ask that we reconvene this deposition

20        after you've done so.

21   MR. HAUSER:    Your request is taken under advisement.

22   MR. GOLDMAN:    And I thank you for doing that, and I think

23        we'll move on.

24   Q.   Dr. Rebmann, does -- does each the companies that is

25        listed in "P" -- and by that I mean American Lecithin
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 61 of 353
                                                                          60


 1                                 REBMANN
 2        Company, Lipoid --

 3   A.   What is "P"?   What is "P"?    What is this --

 4   Q.   "P" on page 6.
 5   A.   "P"; uh-huh.   Mm-hmm.

 6   Q.   American Lecithin Company, Lipoid GmbH, Lipoid LLC,

 7        Phospholipid GmbH, Lipoid Grundstucks GmbH, Lipoid
 8        Verwaltungs GmbH, Lipoid AG, Complector AG -- and I will

 9        probably add a few more to that list, but for the time

10        being, let's focus on those.
11            Do they each have their own financial statements?

12   A.   Sure.

13   Q.   Okay.   I am going to ask you to produce those financial
14        statements for each year, going back to 2010, for each

15        of these companies.

16   MR. HAUSER:    We'll take your request under advisement.
17   MR. GOLDMAN:     Okay.

18   Q.   Do you --

19   MR. HAUSER:    Reserving objection thereto.

20   MR. GOLDMAN:     Huh?

21   MR. HAUSER:    Reserving objection thereto.

22   BY MR. GOLDMAN:

23   Q.   Dr. Rebmann --

24   MR. HAUSER:    Also, so you know, just so we're clear and so

25        there's no mistake, Complector AG doesn't exist.
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                                                                          61


 1                                    REBMANN
 2   MR. GOLDMAN:     I understand that.

 3   MR. HAUSER:    Okay.     Good.

 4   MR. GOLDMAN:     Okay.
 5   Q.   Do you know when the name of Complector AG was changed?

 6   A.   Not exactly, no.

 7   Q.   Do you know approximately?
 8   A.   No.

 9   Q.   Did you send out any kind of a notice or communication

10        when the name was changed?
11   A.   No.

12   Q.   Did you tell the defendant the name was changed?

13   A.   Which defendant?
14   Q.   This defendant.      I think there's only one defendant in

15        this case.

16   A.   Mm-hmm.   He knows -- he knew -- he knew this.
17   Q.   How did he know it?

18   A.   He knows.    I don't know.    But he knew it.

19   Q.   But you didn't tell him?

20   A.   I don't know.

21   Q.   When Lipoid LLC sold American Lecithin Company to --

22        they sold it to Complector, or to Lipoid Verwaltungs,

23        or -- who did they sell it to?        Do you recall?

24   A.   It was Complector.

25   Q.   They sold it to Complector; okay.       And do you recall who
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 1                                  REBMANN
 2        worked on that transaction?

 3   A.   I don't know.

 4   Q.   Do you know why that transaction occurred?
 5   A.   The reason was basically to avoid problems in the United

 6        States with lawsuits like we have now with you.

 7   Q.   Could you explain that a bit further?      I don't
 8        understand your answer.

 9   A.   No, we -- Lipoid LLC is the owner of ALC.

10   Q.   Right?
11   A.   So if something would happen to ALC, naturally Lipoid

12        LLC would be part.

13   Q.   Would be what?
14   A.   Part of this lawsuit.     As you see --

15   MR. HAUSER:     "Part."

16   A.   -- it causes Lipoid to -- so if you -- if we would say,
17        okay, LLC is owner of ALC, and you want to sue ALC,

18        naturally Lipoid LLC would also be part of this process.

19        And therefore we invited both companies.

20   BY MR. GOLDMAN:

21   Q.   And you don't recall how much one was sold -- the

22        American Lecithin was sold for that the point?

23   A.   No.

24   Q.   Do you -- did you do a valuation of American Lecithin

25        Company?
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                                                                          63


 1                                 REBMANN
 2   A.   Sure.

 3   Q.   Do you have a copy of that valuation?

 4   MR. GOLDMAN:     I -- I have to object.    Your job is to answer
 5        the questions.    Your attorney can object if he likes,

 6        but he's not supposed to help you with the answers, with

 7        eye signals.
 8   A.   This -- this evaluation was made by -- by Mr. Von Fluhe,

 9        in Switzerland.

10   BY MR. GOLDMAN:
11   Q.   Do you have a copy of that?

12   A.   Yeah.

13   Q.   Can you please provide us with a copy of that?
14   A.   Not now.

15   Q.   When?

16   MR. HAUSER:     We'll take your request under advisement.
17   BY MR. GOLDMAN:

18   Q.   How long will it take you to be able to get a copy of

19        that for us?

20   A.   I don't know.

21   Q.   Who has a copy of that valuation report, aside from you

22        and Mr. Von Fluhe?

23   MR. HAUSER:     Objection.   He didn't say he had it.

24   BY MR. GOLDMAN:

25   Q.   Do you know who has a copy of that valuation report?
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                                                                          64


 1                                 REBMANN
 2   A.   The company should.

 3   Q.   Which company?

 4   A.   The other company involved.
 5   Q.   Which company?

 6   A.   The other company which was involved, Lipoid LLC and

 7        ALC.
 8   Q.   So each of them should have them?

 9   A.   So each should have.

10   Q.   And how about the defendant?       Should the defendant have
11        one?

12   A.   As far as I know, he did not take documents with him

13        when he left the company, so he should not have.
14   Q.   Was a copy of the valuation ever furnished to the

15        defendant, to your knowledge?

16   A.   He was the president of the company.
17   Q.   Right?

18   A.   Yeah, so as the president of the company, he should know

19        what happens in the company, I think.

20   Q.   He should, but I'm asking a different question.        Okay?

21        I'm asking whether a copy of that valuation was given to

22        him.

23   A.   I am sure, but I didn't give him.

24   Q.   You didn't give him?

25   A.   No.
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                                                                           65


 1                                 REBMANN
 2   Q.   And when you say you are sure, what do you base that

 3        answer on?

 4   A.   He made a tax return, he made a balance sheet.        He's the
 5        president, so he naturally should know what -- what he's

 6        doing in his company.    He is responsible for the tax

 7        return and the -- and the balance sheet of the company,
 8        not me.

 9   Q.   Okay.   Did you ever tell the defendant that the equity

10        in American Lecithin Company was transferred to Lipoid
11        -- to Complector?

12   A.   Come on, this is difficult.     Come on, it's really

13        interesting.
14   MR. HAUSER:    Let me -- let me hear the question again.

15   MR. GOLDMAN:     Wait, wait; I --

16   MR. HAUSER:    Hold on a second.    Let me hear the question
17        again, so I understand the question.

18   MR. GOLDMAN:     Read back the question, and then I 'd like to

19        note that Dr. Rebmann asked his attorney to step outside

20        with him.

21   A.   Yeah.

22                            (Record read.)

23                         (A break was taken.)

24   A.   Okay.

25   MR. GOLDMAN:     Do you want to read back the question.
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 67 of 353
                                                                          66


 1                                  REBMANN
 2                              (Record read.)

 3   A.   In February 2007, your client made an evaluation of ALC.

 4        We have the document here.
 5   BY MR. GOLDMAN:

 6   Q.   I'm sorry?

 7   A.   We have the document here, the evaluation of your client
 8        of ALC in -- in February 2007.

 9   Q.   Okay.   That wasn't responsive to the question that

10        I asked you.
11   MR. GOLDMAN:   Could you repeat the question I asked

12        Dr. Rebmann.

13                              (Record read.)
14   A.   He knew it.

15   BY MR. GOLDMAN:

16   Q.   How did he know it?
17   A.   Hmm?

18   Q.   How did he know it?

19   A.   He even declared his -- in tax return.      In his tax

20        return of ALC, he declares that the company's owned by

21        the Swiss company.     We have a copy of the tax return.

22        And he was the president of the company who made this

23        tax return, so he -- so he knew it, obviously.

24   MR. GOLDMAN:   Why don't you read back the question, and

25        we'll try again and see if Dr. Rebmann can answer the
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                                                                          67


 1                                 REBMANN
 2        question.

 3                             (Record read.)

 4   A.   He was the president of -- of the company, so naturally
 5        he should have known to whom the company is.

 6   BY MR. GOLDMAN:

 7   Q.   So I take it the answer is no --
 8   A.   No.

 9   Q.   -- that you did not --

10   A.   And he --
11   Q.   -- tell him that?

12   A.   And he was also responsible for the bookkeeping, and for

13        everything for Lipoid LLC.
14   Q.   But you didn't tell him?

15   A.   But I don't need to tell him.      If he -- if he makes

16        even, say, an evaluation, and signs this evaluation
17        himself.

18   MR. GOLDMAN:     I'm sorry, could you read back the question

19        one more time.

20   Q.   I want the answer to the question that I asked you,

21        because you're answering a lot of other questions, but

22        not the one that I asked you.

23   A.   The vital one, I answered.

24   Q.   The question is:    Did you ever tell him?     And you say

25        that he knew.    And by -- from your answer, I take it
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 69 of 353
                                                                           68


 1                                 REBMANN
 2        that you didn't tell him, and I would like you to just

 3        confirm, "yes" or "no," that you didn't tell him.

 4   A.   I surely told him.   He knew it without my knowledge,
 5        because he was responsible, not me, for the company.

 6              And what I did at that time, I don't know.

 7   Q.   You don't know?
 8   A.   No.

 9   Q.   Was he at all involved in the transfer of the equity in

10        American Lecithin Company from Lipoid LLC to Complector?
11   A.   He made the evaluation of the value of the company.

12   Q.   But in 2007 --

13   A.   Yeah.
14   Q.   -- LLC, Lipoid LLC, purchased American Lecithin Company;

15        correct?

16   A.   Mm-hmm.
17   Q.   And he did a valuation at that time.      And the question

18        I'm asking you is:   When the equity was later

19        transferred from Lipoid LLC to Complector -- you said

20        there was another valuation made by Dr. Von Fluhe, but

21        my question to you is:    Was -- did he have any role in

22        the transfer from Lipoid LLC to Complector with regard

23        to the equity --

24   A.   This transfer was made in April 2007.      2007.   He tells

25        us -- said he learned first time problems in 2010.        That
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 70 of 353
                                                                          69


 1                                  REBMANN
 2        means in 2007, the balance sheet and the tax return of

 3        ALC and LLC should reflect these sales.

 4   Q.   Should what?
 5   A.   Reflect the sales.

 6            And he made this balance sheet for ALC.       He was

 7        president.
 8   Q.   Do you recall who prepared the documents transferring

 9        the equity of ALC from Lipoid LLC to Complector?

10   A.   This was surely made by Von Fluhe.
11   Q.   Do you recall if there are any corporate resolutions

12        authorizing the sale on behalf of Lipoid LLC?

13   A.   I don't know.
14   Q.   Do you know if there are any corporations -- any

15        resolutions authorizing the purchase by Complector?

16   A.   I don't know.
17   Q.   I'd ask that you look in the records of both companies

18        and provide me with any documents that are relevant to

19        that transaction.

20   MR. HAUSER:   We'll take your request under advisement,

21        reserving objection.

22   BY MR. GOLDMAN:

23   Q.   Let me switch topics a little bit.

24            Dr. Rebmann, can you describe your -- your

25        educational background?
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 71 of 353
                                                                          70


 1                                 REBMANN
 2   A.   Is this needed?    For what -- for what purpose?

 3   Q.   Because I asked you the question.      And it is not

 4        appropriate for you to ask me a question back when I ask
 5        you a question in the deposition.

 6              I am asking you for a question, and I would say,

 7        yes, it's needed, and it is normal and appropriate in
 8        any deposition in the United States that I've ever seen

 9        and been involved in.

10              So I'm going to ask what your educational background
11        is.   If your attorney wants to object, he can object.

12        And the answer to your question is it's needed, but I'm

13        also going to ask you to refrain from asking me
14        questions in response to my questions.

15   A.   I am a -- I'm a pharmacist and food chemist.

16   Q.   I just want to be clear on that; I want to make sure you
17        understand that.

18   A.   Yeah, yeah.     Okay.

19   Q.   Because you're not here to ask me questions.

20   A.   I don't understand it, but I tell you that I'm -- I said

21        I am pharmacist and -- and food chemist.

22   Q.   I am an officer of the court in the United States, and

23        you answer to me when I ask you a question, and it's not

24        your job to ask me questions.

25   A.   Good.   Good.
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                                                                          71


 1                                  REBMANN
 2   Q.   Now, you are a pharmacist, you said.

 3   A.   And food chemist.

 4   Q.   And ... ?
 5   A.   Food chemist.

 6   Q.   Food chemist.   And do you have any degrees in those

 7        fields?
 8   A.   Sure.

 9   Q.   Can you tell me what degrees, and from which schools --

10   A.   As a pharmacist --
11   Q.   -- and when?

12   A.   -- and a foods chemist.    This is the degree.

13   Q.   Your degrees are from which educational institutions,
14        and when?

15   A.   In Tubingen, and Munster.

16   Q.   So you have a degree from Tubingen?
17   A.   Tubingen, for pharmacy; and in Munster, for food

18        chemistry.

19   MR. HAUSER:    Do you know how to spell "Tubingen"?

20   MR. GOLDMAN:     I think so.

21   MR. HAUSER:    I was asking the reporter.

22   MR. GOLDMAN:     Do you have the spelling?

23   MR. HAUSER:    Munster and Tubingen both have umlauts.

24   BY MR. GOLDMAN:

25   Q.   And what year did you receive the degree in pharmacy?
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                                                                          72


 1                                 REBMANN
 2   A.   '65 or '66.

 3   Q.   And --

 4   A.   '67, the other.
 5   Q.   The other one is in '67?

 6   A.   Mm-hmm.

 7   Q.   And those degrees are doctorates?      Or --
 8   A.   No, no.    After that, make a Ph.D.

 9   Q.   A Ph.D.?

10   A.   Yeah.
11   Q.   And the Ph.D. was from where?

12   A.   In Munster, in 1970.

13   Q.   And that was in food chemistry?
14   A.   This is general, so you are a Ph.D. for science in

15        general, so you cannot say for this or for that.

16   Q.   And what was -- did you have to write a thesis?
17   A.   Sure.

18   Q.   And what was your thesis in?

19   A.   I wrote about phospholipases.

20   Q.   Huh?

21   A.   Phospholipases.

22   Q.   Four-thirty pages?

23   A.   Phospholipases.

24   Q.   Oh, phosphor --

25   A.   Phospholipases.
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                                                                          73


 1                                   REBMANN
 2   Q.   Lipases:    And can you describe what that is?

 3   A.   This is an enzyme.     These are enzymes.

 4   Q.   And does that have any relationship to the Lipoid
 5        business in general?

 6   A.   Yeah.

 7   Q.   Can you describe the relationship?
 8   A.   Yeah.    These enzymes can -- can synthesize -- (German

 9        spoken.)

10   MR. ZAENKER:     "Decompose"?
11   WITNESS:     Yeah.

12   A.   Decompose phospholipids.

13   BY MR. GOLDMAN:
14   Q.   And do you use this in the business currently?

15   MR. HAUSER:     A breakdown?

16   A.   This was naturally, let's say, to make this -- these
17        phospholipids are the substrates of the phospholipases,

18        for the enzymes.   So the enzymes need something they can

19        work on, and I produced these phospholipids for them.

20   BY MR. GOLDMAN:

21   Q.   For who?

22   A.   The enzymes.

23   Q.   For the enzymes?

24   A.   I had to make the phospholipids; then I made the trial

25        with the enzymes, if it works or not, as well.
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 1                                 REBMANN
 2   Q.   I see.

 3   A.   Yeah?    And based on my knowledge as a pharmacist, and

 4        I saw that these phosphlipids could be used for
 5        additives for food and for pharmaceuticals.

 6   Q.   Was anyone doing that at the time, using them as an

 7        additive?
 8   A.   Yeah.    So you see, this is a very coarse thing.

 9        Lethicin means very simple products, very -- highly

10        purified products.    So lecithin, as such -- as such, was
11        known since -- some hundred years.         And it was also

12        produced, for example, from soya, or from egg, or from

13        brain; from different things.
14   Q.   Soya, eggs, and what?

15   A.   Brain.   Animal brain.

16   Q.   Brain?
17                       (Reporter clarification.)

18   WITNESS:     Brain, the brain; yeah?    Here.

19   A.   And these products are normally used for food

20        application or for technical application, for animal

21        feed, many things.    This is a big market.

22            And me, a scientist, I was interested in -- in pure

23        products.

24   BY MR. GOLDMAN:

25   Q.   In what?
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                                                                          75


 1                                   REBMANN
 2   A.   Pure products.    Pure products.

 3            Say you have -- this lecithin contains 20 different

 4        substances, and some of them are phospholipids.         And
 5        these phospholipids, you can you purify each of them of

 6        a certain purity, and this is what I was interested in.

 7   Q.   Pure -- pure phospholipids?
 8   A.   Yeah.    To produce pure phospholipids, which are

 9        basically extracted from natural sources, but can be --

10        also be synthesized.
11   Q.   Okay.

12   A.   So I made both.

13   Q.   Okay.    Thank you.
14            And so when you received your Ph.D. --

15   A.   Yeah.

16   Q.   -- where did you go to work, initially?
17   A.   I worked first for a company developing dairy products.

18   Q.   What's the name of that?

19   MR. ZAENKER:     Dairy products.

20   A.   Dairy products.       It's a company doesn't exist any more.

21   BY MR. GOLDMAN:

22   Q.   Yeah, what was the name?      Do you recall the name?

23   A.   (German spoken.)      This is a long word; yeah?

24   MR. ZAENKER:     I'll write that -- I'll write that down for

25        you.    I'll write that down for you.
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 1                                      REBMANN
 2                        (Discussion in German.)

 3   A.   MFU; sorry.    MFU.    MFU.    This is the company.

 4                        (Discussion in German.)
 5   A.   So you'd call it "MFU."        It was in Hamburg.

 6                        (Discussion in German.)

 7   MR. HAUSER:    All right.     Give that to her; she can work it
 8        into the record.

 9   REPORTER:     Thank you.

10   WITNESS:     I'll help you -- if you can't read my handwriting,
11        I'll help you later.

12   MR. GOLDMAN:     I'm not going to repeat the name.       I'll ...

13   MR. HAUSER:    You can call it "MFU."
14   MR. GOLDMAN:     "MFU."

15   MR. HAUSER:    It sounds not polite in English, I'm afraid.

16   A.   Yeah.
17   MR. GOLDMAN:     I can live with that.

18   Q.   And how long were you at MFU?

19   A.   About two years, I think.

20   Q.   And what did you do afterwards?

21   A.   Yeah, I have to -- I have to think about it.

22   Q.   And -- sorry?   What did you --

23   A.   I just think about what I did.

24            No, it's not two -- I worked there longer.

25        Obviously -- I don't know exactly.        Anyway, I started my
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                                                                          77


 1                                  REBMANN
 2        own company, or we started Lipoid in 1977.

 3   Q.   And what was the name of that company that you started?

 4   A.   Lipoid KG.
 5   Q.   And where was that located?

 6   A.   I didn't start it my own.     It was in Patenburg.

 7        P-A-T-E-N-B-U-R-G.
 8   Q.   Okay.   And --

 9   A.   And between, I was also working for -- for analytical

10        laboratory.
11   Q.   At the same time?

12   A.   No, it was -- I never do two things at the same time.

13        So between both, I worked for this --
14   Q.   That's before 1977, the lab?

15   A.   Exactly, exactly.    Maybe two years.

16            And this -- and this laboratory was in Bremen.
17   Q.   Okay.   And when you started Lipoid KG, who were the

18        shareholders in Lipoid --

19   A.   We were three.   We -- I didn't start it myself; it was

20        three persons.

21   Q.   And who were the three persons?

22   A.   This is my sister, and my wife, and me.

23   Q.   Okay.   So your sister's name was ... ?

24   A.   Rosberta.    Rosberta.   R-O-S-B-E-R-T-A.

25   Q.   Okay.   And your wife?
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 1                                  REBMANN
 2   A.   Birgit.

 3   Q.   And was she your wife at this time?

 4   A.   No, she was -- at this time she was Birgit Wortberg.
 5   Q.   L-O --

 6   A.   W -- W-O-R-T-B-E-R-G.

 7   Q.   And what was she doing at that time?       What is her
 8        background?

 9   A.   She was -- she was -- she's also chemist.

10   Q.   And when did she graduate from school?       Do you know?
11   A.   You can ask her.    She's beside.

12              So might be 1970.

13   Q.   When?
14   A.   '70, 1970 -- about.

15   Q.   '70?

16   A.   About.    About.   I don't know exactly.
17   Q.   And what about Rosberta?

18   A.   She's my sister.

19   Q.   And what was her background?

20   A.   She's secretary.

21   Q.   Did she have a background in chemistry?

22   A.   No.

23   Q.   So what was her role in the company?

24   A.   Well, she takes the money.

25   Q.   I see.
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 1                                 REBMANN
 2   A.   So you need also money when you start a company.

 3   Q.   Okay.   And do you recall how many shares each you had?

 4   A.   Yeah.   My sister invested 20,000 German marks, and my
 5        wife 10,000.    And the rest, the 70,000 was my part, but

 6        I didn't pay it, because I had no money.       So

 7        I introduced this as my knowledge.      This was evaluated
 8        as my knowledge.

 9   Q.   Okay.   And so was the shareholding 70:20:10?

10   A.   Yeah.
11   Q.   And you put your knowledge in?

12   A.   Yeah.

13   Q.   And did Birgit have any knowledge at that point --
14   A.   Not really.

15   Q.   -- to put in?

16   A.   Not really.
17   Q.   Not really?    So she put money in?

18   A.   10,000, and some -- some work.

19   Q.   And 20, so she put some work in; did Rosberta work in

20        the company?

21   A.   No.   No.

22   Q.   Okay.   And did -- that was in 1977?

23   A.   Yeah.

24   Q.   And did the equity ownership in that company change

25        afterwards?
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 1                                    REBMANN
 2   A.   Yeah.    Later, we -- we gave -- I think different steps,

 3        5 percent, to your -- to your client.

 4   Q.   Do you recall when that was?
 5   A.   No.

 6              And 5 percent -- I -- okay, no, wait -- I think

 7        I have something.       I must refer this.
 8              It was in '89.     In '89, we changed the -- the --

 9   MR. ZAENKER:     "Composition"?

10   WITNESS:     Yeah.
11   MR. HAUSER:    Or the shareholder?

12   A.   The shareholding.

13              And at that time, I had 40 percent; my wife 30;
14        Rosberta 10; and Carsten 10.

15   BY MR. GOLDMAN:

16   Q.   When you say your wife, you're talking about Birgit?
17   A.   It is Birgit Rebmann.

18   Q.   So 40:30.    10 to --

19   A.   40 --

20   Q.   -- Rosberta?

21   A.   40:30:10 -- 10 for Carsten, and 5 for Helge, and 5 for

22        Balder.   These are two other sons.

23   Q.   5 for ... ?

24   A.   Yeah.

25   Q.   5 for Helge?
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                                                                          81


 1                                 REBMANN
 2   MR. HAUSER:    H-E-L-G-E.

 3   A.   And 5 for Balder.

 4   MR. HAUSER:    B-A-L-D-E-R.
 5   MR. GOLDMAN:     Can I -- can we mark the document that he is

 6        consulting?

 7   MR. HAUSER:    Well, no, not the original, but ...
 8   MR. GOLDMAN:     Well, let's make some copies and mark them.

 9   A.   And then in -- I have here also another one.       In 2012,

10        my sister gave her 10 percent to Helge and Balder.        So
11        at the end in 2012, I still had 40 percent; my wife 5 --

12        30; Balder 10; Helge 10; and Carsten also 10.

13            But I don't know exactly when she first switched
14        from this 5 to 10 percent; I don't have that.

15   Q.   So you don't know when this happened?

16   A.   Yeah, no.    I only know in 2012, the situation was --
17   Q.   Okay.

18   A.   -- like I told you.

19   Q.   So let's make copies of that, and we can mark those as

20        well.   Okay?

21   MR. HAUSER:    We're off the record.

22                        (A break was taken.)

23   MR. GOLDMAN:     This is the next one, which I think is -- are

24        we up to 6?

25                (Exhibit 6 marked for identification.)
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                                                                          82


 1                                 REBMANN
 2   WITNESS:     So you can copy this one?

 3   MR. HAUSER:     Yeah, part of this is -- part of this is

 4        irrelevant and highly confidential, so I'm going to have
 5        to need to have it copied so that you don't see the

 6        whole thing.

 7   MR. GOLDMAN:     He read from the document.
 8   MR. HAUSER:     You'll get the part that he read from.

 9        (Pause.)

10   MR. GOLDMAN:     Why don't we continue on, and we'll get that
11        copied later on.

12   MR. HAUSER:     Okay.

13   BY MR. GOLDMAN:
14   Q.   So when -- looking at what has been marked as

15        defendant's exhibit 6, which is the 1989 document --

16   A.   Mm-hmm.
17   Q.   -- okay?    I see Birgit's shares went from 10 to

18        30 percent, and yours went down?

19   A.   Yeah.    Yeah.   Yeah.

20   Q.   Correct?

21   A.   Mm-hmm.

22   MR. HAUSER:     I have a quick question, if we can:     Did we

23        mark an exhibit 5?

24                     (Discussion off the record.)

25   MR. HAUSER:     Just for the record, exhibit 5 is a package of
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                                                                          83


 1                                 REBMANN
 2        documents, the top couple of pages of which is the order

 3        from the court in Munster appointing Dr. Rebmann the

 4        guardian for his former wife.
 5            Exhibit 6 is a one-page document dated January 2,

 6        1989, on the letterhead of Lipoid KG.

 7            Okay.
 8   BY MR. GOLDMAN:

 9   Q.   Did Birgit pay you anything for this, do you recall?

10   A.   I don't remember.
11   Q.   How about -- Rosberta went from 20 to 10?

12   A.   Yeah.

13   Q.   Did she take any money out at that point in time?
14   A.   No, she sold shares that she gives -- gave this -- I

15        think --

16                        (Discussion in German.)
17   MR. GOLDMAN:     Seven and a half --

18   MR. HAUSER:     It says she gives it as a gift.

19   A.   Yeah.

20   BY MR. GOLDMAN:

21   Q.   Okay.

22   A.   Yeah?   So it's mentioned here, exactly how it was done.

23   Q.   Okay.   And Carsten got 10, so he received his as a gift?

24   A.   Yeah.

25   Q.   Okay.   And Helge and Balder --
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                                                                          84


 1                                  REBMANN
 2   A.   Part from me, and part from my sister.      You see --

 3   Q.   Yeah, I see that.

 4   A.   -- 2.5 and 2.5.
 5   Q.   I see that.    Yeah, I thank you.

 6              How many children do you have?

 7   A.   Four.
 8   Q.   And what is the name of the fourth one?

 9   A.   Dominik.

10   Q.   Okay.    Was Dominik --
11   A.   He's not here.

12   Q.   Huh?

13   A.   He's not there.
14   Q.   So -- okay.    So Dominik was not given a share; correct?

15   A.   Exactly.

16                (Exhibit 7 marked for identification.)
17   BY MR. GOLDMAN:

18   Q.   Okay.    Now, this one is number 7, and I'm going to

19        describe this one:    It's a redacted document that

20        I guess describes the share ownership of Grundstucks in

21        2012.

22              And going back to number 6, at this point in time,

23        did Carsten do any work for the company?

24   A.   No.

25   Q.   Did he have any involvement?
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                                                                          85


 1                                 REBMANN
 2   A.   No.

 3   Q.   So what was the purpose of the gift at this point?

 4   A.   He -- he speaks about the -- the Mafia style, and the
 5        dictatorship of his father.     And you see here that

 6        I have had a minority -- minority in this company.        So

 7        I really tried to treat everybody as nice as possible,
 8        and therefore I have the minority of the company.        You

 9        see it.

10   Q.   Yeah, but everyone else was related to you; correct?
11   A.   Yeah, but they are independent.

12   Q.   And they could have voted you --

13   A.   Sure.
14   Q.   -- out?

15   A.   Sure.   Sure.   Sure.   Yeah, why not?

16   Q.   Yeah?
17   A.   Why not?

18   Q.   Okay.   And -- and how often were the meetings of the

19        equity owners?

20   A.   At that time, I don't know.     Later, it was every year.

21              This was in 2000 -- what was --

22   MR. HAUSER:     (German spoken.)   '89.

23   A.   So I don't remember.    Anyway, later, there are an annual

24        meeting.

25   BY MR. GOLDMAN:
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                                                                          86


 1                                  REBMANN
 2   Q.   Okay.    And at this point this time, 1989, Lipoid KG was

 3        the one company you had?     Or you had more companies?

 4   A.   No, no.   Only -- only company.
 5   Q.   Only company.     And did -- does Lipoid KG still exist?

 6   A.   No, it was transformed in GmbH.

 7                      (Reporter clarification.)
 8   WITNESS:     "It was transformed in GmbH."

 9   BY MR. GOLDMAN:

10   Q.   And when did that happen?
11   A.   I think I have it here.    I have it here.

12            Here I have everything.

13   MR. HAUSER:    Yeah.    Let me get you copies.
14   MR. CARLSTEN MATTHIAS REBMANN:      Maybe I can make the copy,

15        and you stay here then we don't lose time?

16   BY MR. GOLDMAN:
17   Q.   So what year was that, I'm sorry?

18   A.   You don't know what he does with the copy.       I would not

19        give him the copy.     Last time --

20   MR. HAUSER:    (German spoken.)

21   BY MR. GOLDMAN:

22   Q.   What year?

23   MR. HAUSER:    What's the question?      What year what?

24   BY MR. GOLDMAN:

25   Q.   What year was KG transferred to Lipoid GmbH?
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                                                                          87


 1                                  REBMANN
 2   A.   In '94.

 3   Q.   And at the time of the transfer, was it a name change,

 4        or was it a -- a transfer of assets?
 5   A.   All was changed.     The name has changed.

 6   Q.   The name was changed?

 7   A.   Yeah.
 8   Q.   I see.    And --

 9   MR. HAUSER:     Also, Sam, just so there's no misleading, when

10        you -- the change from KG to GmbH also means that the
11        form of the entity was changed.      "KG" roughly

12        corresponds to our limited partnerships, and "GmbH"

13        roughly corresponds to our limited liability company.
14   MR. GOLDMAN:     Right.

15   MR. HAUSER:     Just so you understand.

16   MR. GOLDMAN:     No, I understand.
17   MR. HAUSER:     It was a rough quibble; I'm not giving you

18        legal --

19   MR. GOLDMAN:     No, I understand that.

20   MR. HAUSER:     Okay.

21                     (Discussion off the record.)

22                 (Exhibit 8 marked for identification.)

23   MR. GOLDMAN:     That's defendant's exhibit 8, and it is a

24        document that says "Time Table."

25   Q.   Okay, and this document was prepared in April 20, 2015.
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                                                                          88


 1                                  REBMANN
 2        It's a document entitled "Time Table"; correct?

 3   A.   Simply to show you how --

 4   Q.   Timetable?   Okay.
 5   A.   It's for you.

 6   Q.   I appreciate that.    Thank you.    Okay.

 7            So in '96, then Lipoid GmbH -- when you say
 8        "transferred," the name was changed to Grundstucks?

 9   A.   Yeah.

10   Q.   And then in '96, Verwaltungs was formed; correct?
11   A.   Yeah.   Yeah.

12   Q.   And what was the purpose of the -- of Lipoid Verwaltungs

13        when it was formed?
14   A.   Yeah, I cannot explain exactly.      I -- I really don't

15        remember.    Only at that time, we started also the

16        company in Switzerland.
17            You see --

18   Q.   That's Lipoid AG, '96?

19   A.   Yeah.   You see Lipoid Verwaltungs AG was founded, and

20        then this company created Lipoid AG.

21   MR. HAUSER:   I think Lipoid Verwaltungs GmbH founded --

22   A.   Yeah.   Yeah.   It was formed, and they built Lipoid AG,

23        which was owned from Lipoid Verwaltungs GmbH at that

24        time.

25   BY MR. GOLDMAN:
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                                                                          89


 1                                  REBMANN
 2   Q.   All right.    So Lipoid -- in 1996, Lipoid GmbH was

 3        transferred to Grundstucks; correct?      And Verwaltungs

 4        was set up?
 5   A.   It's a completely different company.

 6   Q.   Right.   And who --

 7   A.   Yeah.
 8   Q.   -- were the shareholders of Verwaltungs in 1996?

 9   A.   It is -- it was -- again, me, my wife, my wife, and

10        Balder, and Helge.
11   Q.   All right.    So it was you -- do you recall how many

12        shares you had?

13   A.   No, I don't exactly remember.       I had 45 -- I think I had
14        45.

15   Q.   And --

16   A.   My wife had 25.
17   Q.   Was she your wife at that time, in '96?

18   A.   Yeah, yeah.

19   Q.   When did you marry her?

20   A.   More than 30 years ago.

21   Q.   I'm sorry?

22   A.   More than 30 years ago.

23   Q.   Okay.    So now you had 45, Birgit had 45?

24   A.   No, she had 25.

25   MR. HAUSER:    25.
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                                                                          90


 1                                  REBMANN
 2   BY MR. GOLDMAN:

 3   Q.   25; I'm sorry.

 4   A.   So we are at -- we are at 70.
 5   Q.   Who had 70?

 6   A.   Yeah, we -- together, we would be 70.

 7   Q.   70?   Okay.
 8   A.   I just think how it is.

 9              And Balder and Helge had only 10 -- no, it's not

10        true.   So -- it's not right.
11   Q.   Yeah.   We're short some?

12   A.   Yeah.   Not right.

13              I have no document for this here.    It might be that
14        I had 45, my wife had 35, and so the other ones had

15        10 percent; I think this was the situation.       So 45, 35,

16        10, and 10.
17   Q.   Okay.   If you have some documents that would explain

18        that --

19   A.   Not here.     Not here, no.

20   Q.   -- you can provide them afterwards.

21              Let me ask you this, okay, so the difference was

22        that the defendant was not -- and I'm using "defendant"

23        just to do it -- you know, for -- for -- shortest term

24        I can think of.      I can also call him Matthias, so we

25        can -- we can do that.
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                                                                           91


 1                                 REBMANN
 2            Now, he was not a shareholder in this company?

 3   A.   Exactly.

 4   Q.   And can I ask what the -- why he was left out of this
 5        company?

 6   A.   When I start a company, I can start a company with the

 7        -- with people I want.    So there is no obligation to --
 8        to -- to -- to take somebody -- it's our own -- yeah.

 9   MR. GOLDMAN:      Can you read back the question.

10            Yeah, read back the question, please.
11                             (Record read.)

12   A.   I don't like this first name.      He has a second name, and

13        he should use a second name, and not first name.
14            We are no friends.

15   Q.   What?

16   A.   We are no friends.
17   Q.   Okay.

18   MR. GOLDMAN:    Why don't you read back the question.

19   Q.   And I would like to ask you to answer the question.        And

20        I thank you for anything else you want to add, but

21        I also want to ask you to answer the question; okay?

22   MR. GOLDMAN:    Read back the question again.

23                             (Record read.)

24   A.   I don't know.

25   BY MR. GOLDMAN:
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                                                                          92


 1                                 REBMANN
 2   Q.   You said that you could do whatever you want when you're

 3        setting up a company; you said that just two, three

 4        minutes ago.    And it's obvious that you left Matthias --
 5        or I can call him "Mr. Rebmann," if you prefer --

 6   A.   Please.

 7   Q.   -- or I can call him "the defendant."
 8   A.   If you want.

 9   Q.   You left him out, and you're saying you don't know why

10        you left him out?
11   A.   Yeah.

12   Q.   Okay.    And what was the business of Lipoid Verwaltungs

13        in 1996 when you set it up?
14   A.   Lipoid Verwaltungs means "holding"; yes?

15   Q.   Right.

16   A.   So this was a company which -- (German spoken.)
17   MR. ZAENKER:    "Manages."

18   A.   -- manages --

19   MR. ZAENKER:    "Holds."

20   A.   -- other companies, like Lipoid AG.

21   BY MR. GOLDMAN:

22   Q.   Okay.    But until '96, all of the business of -- that you

23        were involved in was in Lipoid GmbH; correct?

24   A.   I don't know.   We had a company, for example, in -- in

25        France.
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                                                                          93


 1                                 REBMANN
 2   Q.   In France?

 3   A.   In France, a joint venture in France, which was not

 4        owned by this company.
 5   Q.   Mm-hmm.   When was the joint venture?

 6   A.   It -- I started -- I think we started it in 1980 or in

 7        '90.   Who -- I don't know.    I don't know.
 8   Q.   And do you recall who the partners were in the joint

 9        venture in France?

10   A.   In France?   Oh, the company's name, I don't remember.
11        The company was called "D3F."

12   Q.   D3F was the joint venture?

13   A.   No, was the -- was company in France.
14   Q.   That was a company that you owned?

15   A.   We had 50 percent.

16   Q.   You had 50 percent?
17   A.   We had 50 percent.

18   Q.   I'm sorry?

19   A.   We had 50 percent.

20   Q.   Oh, you had 50 -- when you say "we," who is "we"?

21   A.   "We" -- It's not "we."    It's not "we."    You

22        misunderstand.   It's the company owns something; not me.

23   Q.   Which company?

24   A.   Anyway, whatever it is, I don't own anything.        The

25        company owns whatever we have.
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                                                                          94


 1                                  REBMANN
 2   Q.   But which company?    When you say "the company," I want

 3        to know which company.

 4   A.   I don't know.
 5   Q.   And do you know who the shareholders were in D3F?

 6   A.   Yeah, exactly, the -- we were 50 percent; I don't know

 7        which company.    And the other 50 percent was the French
 8        company.

 9   Q.   I see.    And do you recall if Matthias was a shareholder

10        in D3F?
11   A.   No.   No.   How should he be shareholder?

12   Q.   I don't know.

13   A.   I don't know -- there is no personal shareholder.        The
14        company has 50 percent.    The company.

15   Q.   So your company had 50 percent of D3F?

16   A.   Yeah.    Yeah.
17   Q.   And which company owned the 50 percent --

18   A.   This is the question --

19   Q.   -- in D3F?

20   A.   -- I don't know, for the moment.

21   Q.   You don't know the answer?

22   A.   No.   No, I don't know.

23   Q.   Okay.    Can you check your records and provide me with

24        any records that might explain that?

25   A.   It's a long time ago, you see; I don't know if I -- if I
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                                                                          95


 1                                   REBMANN
 2        have it.    We will see.     I will try.   I will try.

 3   Q.   Hmm?

 4   A.   I will try.
 5   Q.   Please.    It's important.    Very important.

 6            Okay.    So in -- in 1996, Lipoid GmbH owned all of

 7        the business you were involved in, except for the joint
 8        venture in France?

 9   A.   No, no.    No, no, no, no.    You're not right.

10            You have Lipoid GmbH, in '96, yeah, we just
11        transferred Lipoid Grundstucks GmbH.       And Lipoid

12        Holding, this company owns the Swiss company, and owned

13        also a second company, which was founded with an --
14        under the name Lipoid GmbH.

15   Q.   No, no.    But let me -- let me ask you this:     In 1996,

16        before you set up Lipoid Verwaltungs --
17   A.   Yeah.

18   Q.   -- okay?    Your entire business activity was through

19        Lipoid GmbH, which had been Lipoid KG until 1994; is

20        that correct?

21   A.   I'm not sure.   I told you, I'm not sure about this

22        French situation.

23   Q.   Okay.   I understand.   Okay.

24            Do you recall any other business activities that you

25        were involved in outside of Lipoid GmbH up until '96, in
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                                                                          96


 1                                  REBMANN
 2        the -- in the --

 3   A.   It could be; it could be.     I don't remember when

 4        I bought Complector.     I bought Complector at a certain
 5        time, from a Swiss company.     This was also very early.

 6   Q.   Okay.    So I'm going to ask you to find -- locate

 7        whatever documents you can that would give us that date
 8        as well; okay?

 9   A.   Mm-hmm.

10   MR. HAUSER:     We'll take your request under advisement and
11        reserve any objection.

12   MR. GOLDMAN:     Thank you.

13   Q.   Now, when you set up Lipoid Verwaltungs in 1996, it was
14        a holding company; correct?

15   A.   Yeah.

16   Q.   And it set up Lipoid GmbH?
17   A.   Exactly.

18   Q.   And what was Lipoid GmbH's business?

19   A.   Lipoid GmbH was -- yeah, Lipoid GmbH rent the building

20        from Lipoid Grundstucks GmbH.

21   Q.   And what did it do in that building?

22   A.   It made production in this building, and started to

23        invest also.

24   Q.   I see.    So where -- before 1996, where was the

25        production that --
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                                                                          97


 1                                 REBMANN
 2   A.   It was Grundstucks GmbH.

 3   Q.   I'm sorry?

 4   A.   Grundstucks GmbH.
 5   Q.   So Grundstucks was the production until '96; right?

 6   A.   Yeah.    Yeah.

 7   Q.   And then afterwards, it became Lipoid GmbH, and this was
 8        the building -- where?     In Ludwigshafen?

 9   A.   No, Lipoid Grundstucks GmbH still is Lipoid Grundstucks

10        GmbH.
11   Q.   What?

12   A.   Lipoid Grundstucks GmbH is still Lipoid Grundstucks

13        GmbH.
14   Q.   Right?

15   A.   Yeah.

16   Q.   Okay.
17   A.   So your question -- what is your question?

18   MR. GOLDMAN:    Read back the question, please.

19                            (Record read.)

20   BY MR. GOLDMAN:

21   Q.   Is that correct?

22   A.   I didn't understand.

23   Q.   You said there was a building that Lipoid Grundstucks

24        rented to Lipoid GmbH where they --

25   A.   Exactly.
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                                                                          98


 1                                 REBMANN
 2   Q.   -- made production.    And I asked if that was in

 3        Ludwigshafen.

 4   A.   Yeah.    It is in Ludwigshafen.
 5   Q.   And when did Lipoid Grundstucks acquire that building?

 6   A.   In '81, I think, Lipoid -- let's say this Grundstucks --

 7        this building was naturally owned by the company since
 8        it moved from Papenburg to Ludwigshafen.       This was

 9        in '81.

10                      (Reporter clarification.)
11   MR. HAUSER:    From Papenburg --

12   WITNESS:     Papenburg --

13   MR. HAUSER:    -- P-A-P-E-N-B-U-R-G --
14   WITNESS:     Papenburg --

15   MR. HAUSER:    -- to Ludwigshafen.

16   WITNESS:     We already mentioned his name -- to Ludwigshafen.
17   A.   This was in 1981.

18   BY MR. GOLDMAN:

19   Q.   And Lipoid GmbH -- first Lipoid KG, and then the name --

20   A.   Mm-hmm.

21   Q.   -- was changed to Lipoid GmbH?

22   A.   Mm-hmm.

23   Q.   That manufactured in the building?

24   A.   Yeah.

25   Q.   And then in 1996, it entered into a lease with -- with
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                                                                           99


 1                                 REBMANN
 2        Lipoid Verwaltungs to manufacture in the same building;

 3        correct?

 4   A.   Not -- not with Lipoid Verwaltungs, but with Lipoid
 5        GmbH, the new --

 6   Q.   I'm sorry.

 7   A.   -- the new one.
 8   Q.   With Lipoid GmbH --

 9   A.   Yeah.

10   Q.   -- which was a new Lipoid GmbH?
11   A.   Exactly.

12   Q.   Okay.   I understand.

13              And what did Lipoid -- and so Lipoid GmbH was
14        manufacturing in Ludwigshafen; did it do anything else?

15   A.   What -- what do you mean?     I think when you -- when you

16        manage -- manufacture something, you have to buy all
17        materials, you have to produce, and you have to sell.

18   Q.   Okay.   Did it operate any other manufacturing

19        facilities?

20   A.   Yeah.   Yeah.

21   Q.   No?   Or yes?

22   A.   I don't know what you mean.

23   Q.   Did it have any other facilities where it manufactured

24        anything?

25   A.   You mean Lipoid Verwaltungs GmbH, or Lipoid GmbH?
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                                                                           100


 1                                  REBMANN
 2   Q.   Both of them, I'm asking about.       I'm asking actually

 3        about Lipoid GmbH, but you told me Verwaltungs was just

 4        a holding company, so it didn't do anything except hold.
 5   A.   It should be, yeah.

 6   Q.   So did Lipoid GmbH have any other factories?

 7   MR. HAUSER:    In 1996, you're asking?
 8   MR. GOLDMAN:    Yes.

 9   A.   I don't think so.

10   BY MR. GOLDMAN:
11   Q.   How about after 1996, did it have any other factories?

12   A.   No.

13   Q.   Okay.    Now, what about Lipoid AG?    What did that do?
14   A.   Lipoid AG was founded because we engaged a scientist

15        from Austria who did not want to work in Germany, and so

16        we find -- we found a compromise that said he works in
17        Switzerland, so for AG.     It is a Swiss company.

18   Q.   I see.   And what does Lipoid AG do?

19   A.   Lipoid AG, we mentioned this, develop market.

20   Q.   They develop markets?

21   A.   They develop the market.     At the beginning, it was very

22        small, and then they developed the market from there.

23   Q.   And so it's a marketing company?

24   MR. HAUSER:    Are you asking then, or now?

25   A.   Marketing -- yeah, marketing company.       Yeah.
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                                                                           101


 1                                 REBMANN
 2   BY MR. GOLDMAN:

 3   Q.   Yeah.

 4   A.   Yeah, so ...
 5   Q.   Then and now, it seems like?

 6   A.   Develops the markets, yeah.

 7   Q.   Okay.   And does it own stock in any other companies,
 8        Lipoid AG?

 9   A.   No.

10   Q.   Okay.   And so who -- who owns -- who owns the stock in
11        Lipoid LLC, then?

12   A.   Lipoid LLC, in the beginning, was owned by REFU

13        Verwaltungs GmbH -- "REFU" is R-E-F-U -- Verwaltungs
14        GmbH.

15   Q.   Mm-hmm?

16   A.   Yeah, it's mentioned there.     You see --
17   MR. HAUSER:    Do you see at the last line there?

18   A.   Yeah, last line.    The last line -- do you see it?

19   BY MR. GOLDMAN:

20   Q.   Okay.   And is REFU Verwaltungs GmbH -- are they still

21        around?

22   A.   No.

23   Q.   What happened to them?

24   A.   It was -- (German spoken.)

25   MR. ZAENKER:    "Merged."
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                                                                           102


 1                                  REBMANN
 2   A.   Merged; it was merged with another company, which is

 3        called Phospholipids --

 4   MR. CARLSTEN MATTHIAS REBMANN:      "Phospholipids."
 5   A.   Wait -- R&R Verwaltungs GmbH.

 6   MR. HAUSER:     So R&R Verwaltungs --

 7   A.   R&R Verwaltungs --
 8   MR. HAUSER:     -- V-E-R-W-A-L-T-U-N-G-S --

 9   A.   Yeah.

10   MR. HAUSER:     -- and then GmbH.
11   A.   Yeah.

12   BY MR. GOLDMAN:

13   Q.   And what is the name of that company now?
14   A.   It is still the same.

15   Q.   R&R?

16   A.   Yeah.    It's still there.
17   Q.   So is Lipoid LLC now owned by R&R?

18   A.   No.    Lipoid was sold to --

19   MR. HAUSER:     Lipoid LLC?

20   A.   Lipoid LLC was sold to Lipoid Verwaltungs AG in

21        Switzerland -- or might be to Complector first, and this

22        was changed to -- to Lipoid Verwaltungs GmbH.

23              Anyway, the company -- REFU sold the company to the

24        Swiss entity called Complector or Lipoid Verwaltungs AG.

25   BY MR. GOLDMAN:
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                                                                           103


 1                                 REBMANN
 2   Q.   All right.    When was Lipoid Verwaltungs AG established?

 3   A.   I think it's mentioned here, you know.

 4   Q.   Show me.
 5   A.   Now Lipoid Verwaltungs -- Complector.       This is

 6        Complector.    Complector, I told you, is an old company

 7        I bought sometime -- I don't remember when -- in the
 8        early '90s.    So this is my own company.

 9   Q.   When you bought Complector --

10   A.   Yeah.
11   Q.   -- did you buy it in your own name, or --

12   A.   Yeah.

13   Q.   -- you bought it --
14   A.   Yeah.

15   Q.   -- through some other --

16   A.   Yeah.   No, no; my own name.
17   Q.   So you owned 100 percent of Complector?

18   A.   Yeah.   I -- all -- from all Swiss -- Swiss things,

19        I owned everything.

20   Q.   I'm sorry?

21   A.   From all these Swiss organizations, I owned everything.

22   Q.   Okay.   And Complector was a Swiss company?

23   A.   Yeah.

24   Q.   Okay.   And you owned each of them 100 percent?

25   A.   Exactly.
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                                                                           104


 1                                 REBMANN
 2   Q.   Okay.

 3   A.   At that time.

 4   Q.   And -- just wondering why, when you bought Complector,
 5        it wasn't put into Lipoid KG, which then became Lipoid

 6        GmbH; why did you buy that in your own name?

 7   A.   These are also two separate responsibility.
 8   Q.   What do you mean by "separate responsibility"?

 9   A.   Yeah, I -- I told you what I did before, with ALC and

10        LLC.    If you have a strong relation between two
11        companies and one has a problem, it might be that the

12        problem goes over to the next one.

13            Now I have a company in Switzerland, a company in
14        Germany; so if something happens to the company in

15        Germany, so the Swiss company's not concerned.        This is

16        the point.
17   Q.   So -- I see.     So the reason you owned Complector

18        separately was so it wouldn't be tainted if there was

19        a problem with the German company?

20   A.   Okay.    Okay.

21   Q.   Does that makes sense?    Is that fair?

22   A.   This is basically the -- the sense, yeah.

23   Q.   Okay.

24            Okay.    And you say you owned 100 percent, but you

25        don't own 100 percent anymore?
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                                                                           105


 1                                 REBMANN
 2   A.   I owe nothing anymore.    Nothing.

 3   Q.   So tell me what happened to the 100 percent that you

 4        owned in the Swiss companies.      What happened to that?
 5   A.   Yes, they are now a part of Beteiligungs GmbH.

 6   Q.   So you own hundred percent --

 7   A.   Yeah.
 8   Q.   -- of AG -- Lipoid AG?

 9   A.   Yeah.

10   Q.   Lipoid Verwaltungs AG?
11   A.   Exactly.

12   Q.   Are there any other Swiss companies?

13   MR. HAUSER:     Just --
14   BY MR. GOLDMAN:

15   Q.   You said three.

16   MR. HAUSER:     -- so -- so you're not confused:     Lipoid AG was
17        owned by Lipoid Verwaltungs AG.

18   A.   Yeah.   Yeah.

19   MR. GOLDMAN:     I see.

20   A.   Yeah.   This was Complector, but this was earlier

21        Complector, so I was the owner of three companies.

22   BY MR. GOLDMAN:

23   Q.   All right.    So -- just so I understand it, you owned

24        100 percent of --

25   A.   Complector.
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 107 of 353
                                                                           106


 1                                 REBMANN
 2   Q.   Of what?

 3   A.   Complector.

 4   Q.   Complector?
 5   A.   Yeah.    This was changed when Lipoid Verwaltungs GmbH,

 6        AG, which was still only some -- the change of name.

 7   Q.   Okay.
 8   A.   Nothing else.

 9   Q.   And then what about Lipoid AG?

10   A.   Lipoid AG was sold to -- to Complector from Lipoid
11        Verwaltungs GmbH.

12   Q.   I see.

13   A.   It's mentioned here, too; yeah?      In 2007, you'll see.
14   Q.   In two thousand --

15   A.   Seven.   You see, the second-last line.

16   Q.   I see that.
17            All right, so you own 100 percent of Lipoid

18        Verwaltungs AG?

19   A.   In that time, yeah.

20   Q.   At that time.   And what happened afterwards?       How did

21        you come to own none of Lipoid Verwaltungs AG?

22   A.   We started the foundation, and we brought in this whole

23        companies in this nonprofit organization.

24   Q.   And when did you transfer the 100 percent to the

25        foundation?
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                                                                           107


 1                                  REBMANN
 2   A.   Lipoid Verwaltungs AG was bought in -- so it's only

 3        90 percent, or 91 percent; I cannot say exactly --

 4        to Beteiligungs GmbH, end of last year.
 5   Q.   So the end of last year, it was transferred to

 6        Beteiligungs GmbH, 90 to 91 percent?

 7   A.   Yeah.
 8   Q.   And the other 9, 10 percent --

 9   A.   Are owned by other people.     Not by me, not by me.

10   Q.   And you are not going to answer my question as to who
11        those other people are?

12   A.   I think it's not necessary.      You don't need this.

13   Q.   It's not a permissible answer to my question to say "I
14        don't think you need that."      Your job is to answer the

15        question.

16   MR. HAUSER:    He declines to answer.     We're asserting an
17        objection of confidentiality.

18   MR. GOLDMAN:     Usually, in my experience, it would be up to

19        you to assert an objection, not the witness to assert an

20        objection.   So I -- I just --

21   MR. HAUSER:    I just did.

22   MR. GOLDMAN:     I understand that, but I think it's irregular

23        for the witness to refuse to answer, and then -- you

24        know, after the witness refuses to answer, for you to

25        come in with an objection.
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 1                                   REBMANN
 2              I will continue on, after making that point.

 3   Q.   Okay, so I'm starting to get the picture.

 4              Now, after '96, the manufacturing was by Lipoid --
 5        Lipoid GmbH in Ludwigshafen.

 6              What -- was the Phospholipid GmbH part of this, or

 7        how did that --
 8   A.   No.   This is another story.    This, we bought later.

 9   Q.   You bought Phospholipid when?

10   A.   In 2002.
11   Q.   And who bought Phospholipid?

12   A.   Phospholipid was owned by R&R Verwaltungs GmbH.

13   Q.   And who owned R&R Verwaltungs?
14   A.   That's difficult.      I must think -- ah, no, sorry; it's a

15        mistake.    Phospholipid was -- was bought by -- by Lipoid

16        Erwerbs-KG.
17   MR. HAUSER:     Oh, boy.

18   A.   Erwerbs-KG.

19   MR. ZAENKER:     E-R-W-E-R-B-S, E-R-W-E-R-B-S --

20   MR. GOLDMAN:     G-R-W --

21   MR. ZAENKER:     -- hyphen, KG.

22   A.   Yeah.

23   MR. GOLDMAN:     Can you say that again?    Just so I --

24   MR. ZAENKER:     Erwerbs-KG.    E-R-W-E-R-B-S --

25   MR. GOLDMAN:     E-R-W --
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                                                                           109


 1                                    REBMANN
 2   MR. ZAENKER:       E-R-B-S.

 3   MR. GOLDMAN:       E-R-B-S.

 4   MR. ZAENKER:       Hyphen, KG.   And the verb means "purchase."
 5   A.   Yeah.    Yeah.

 6   MR. GOLDMAN:       And the other is --

 7   MR. HAUSER:       Okay.   Do you have -- Madam Reporter, do you
 8        have it?

 9   REPORTER:     I think I do.

10   MR. HAUSER:       Okay.
11   WITNESS:     Good.

12   MR. GOLDMAN:       Can you read back the name?

13   REPORTER:     Yeah.    Erwerbs-KG, E-R-W-E-R-B-S-KG.
14   WITNESS:     Exactly.

15   MR. HAUSER:       First word "Lipoid."

16   BY MR. GOLDMAN:
17   Q.   Okay.    And who owned --

18   A.   Me.

19   Q.   -- Lipoid Erwerbs?

20   A.   Me.    Me.

21   Q.   Huh?

22   A.   Me.

23   Q.   100 percent?

24   A.   100 percent.

25   Q.   Okay.    And who owns Phospholipid today?
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 111 of 353
                                                                            110


 1                                      REBMANN
 2   A.   Beteiligungs GmbH.         Everything is owned by --

 3   Q.   Okay.    So did you transfer 100 percent to Beteiligungs?

 4   A.   It was -- it's more complicated, but at the end, it is
 5        in Beteiligungs GmbH.

 6   Q.   But you owned 100 percent until 2014?

 7   A.   No, not -- in 2011, you know, we started -- we started
 8        this nonprofit organization in 2011.         And a part of the

 9        company --

10   Q.   When you say "nonprofit," you mean the foundation?
11   A.   Yeah.    Yeah.    Yeah.     Yeah.   And there we brought in the

12        first part.

13   Q.   I'm sorry?
14                         (Reporter clarification.)

15   WITNESS:     "We brought in the first part."

16   MR. ZAENKER:     We contributed the first part.
17   A.   The first part.      And in 2012, we brought in every German

18        facility or organization.

19                         (Reporter clarification.)

20   WITNESS:     "In all German facilities or companies."

21   A.   That was in 2012.         And in 2014, only the Swiss part came

22        in too.

23   BY MR. GOLDMAN:

24   Q.   So do -- does Birgit own any shares in any of these

25        entities at this point?
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                                                                           111


 1                                 REBMANN
 2   A.   Me.

 3   Q.   Birgit.

 4   A.   Me.
 5   Q.   Birgit?

 6   MR. HAUSER:      Birgit?

 7   A.   Birgit?
 8   BY MR. GOLDMAN:

 9   Q.   Birgit?

10   A.   No.   No.
11   Q.   And how about Helge?

12   A.   Again, they were partners in the Lipoid Verwaltungs

13        GmbH.    Yeah?   In this Lipoid GmbH.   So there, they had
14        a part.

15   Q.   Right.

16   A.   But all these other things were my own.
17   Q.   I see.    And -- but -- are they -- Lipoid Verwaltungs

18        GmbH --

19   A.   Mm-hmm.

20   Q.   -- most of that, the ownership went to the foundation?

21   A.   All, now.

22   Q.   No?

23   A.   Yeah.    90 percent, 91 percent everything.

24   Q.   So does Birgit or Helge or Balder still have any

25        ownership?
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                                                                           112


 1                                 REBMANN
 2   A.   Birgit has nothing, but the other two have some.

 3   Q.   Okay.

 4   MR. HAUSER:    Clearly -- are we talking about Lipoid
 5        Verwaltungs GmbH, or Lipoid Verwaltungs AG?

 6   WITNESS:     He speaks about AG, I think.

 7   MR. HAUSER:    AG; okay.   Just so we're clear.
 8   WITNESS:     Yeah.

 9   MR. GOLDMAN:     Oh, that's AG?

10   MR. HAUSER:    Yeah.
11   A.   I don't know what you mean.     But it doesn't matter.      At

12        the end, everything is now in this Beteiligungs GmbH.

13        Everything.
14   BY MR. GOLDMAN:

15   Q.   So do they own anything now?

16   A.   It is -- everything is in this -- Verwaltungs in the
17        Beteiligungs GmbH, and this one is owned by --

18        91 percent by the nonprofit organization.

19   BY MR. GOLDMAN:

20   Q.   But Helge --

21   MR. HAUSER:    Sorry, I -- I think I confused things.       Because

22        Lipoid Verwaltungs AG was a company that was originally

23        Complector --

24   WITNESS:     Yeah.

25   MR. HAUSER:    -- that he had owned 100 percent of.       I'm
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                                                                           113


 1                                   REBMANN
 2        sorry.   So Helge and Balder had their shares in Lipoid

 3        Verwaltungs GmbH.

 4   WITNESS:     Exactly.
 5   MR. HAUSER:    Is that right?

 6   WITNESS:     Yes.   Exactly.

 7   MR. HAUSER:    So do they still have shares in Lipoid
 8        Verwaltungs GmbH --

 9   WITNESS:     No.

10   MR. HAUSER:    -- or in Beteiligungs?
11   WITNESS:     This is transferred into Beteiligungs.

12   MR. HAUSER:    Okay.

13   BY MR. GOLDMAN:
14   Q.   So they don't own shares now either?

15   A.   So they -- they own shares in Beteiligungs GmbH.

16   Q.   They do own in Beteiligungs?
17   A.   Yeah.    Yeah.

18   MR. GOLDMAN:       Do you need a five-minute break?

19   (11:15 a.m.)

20                           (A break was taken.)

21   (11:34 a.m.)

22   MR. GOLDMAN:       So we're going to go back on the record.

23   Q.   So with Lipoid KG, until 1994, from '78 to '94, did you

24        have a title with that entity?

25            What was your role with that entity?
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                                                                           114


 1                                 REBMANN
 2   A.   I was -- (German spoken.)

 3   MR. ZAENKER:     Managing director.

 4   A.   But you know, for me, a title was never important.
 5        I was -- (German spoken.)

 6   Q.   I'm sorry?

 7   A.   On my business card, you saw never -- you saw not
 8        a position of substance.

 9   Q.   No title?

10   A.   I was simply -- I gave you -- I didn't give you one.
11        Let me give you one.

12            Here is my name and the address.

13   Q.   You want to --
14   A.   Yes.    These are not the two -- I should give you a right

15        one.    I must give you this one.

16            Here, in the foundation, I am "Vorstand," so I am
17        somebody.    But normally I have no title.

18   Q.   "Vorstand"?

19   A.   But this is a -- this isn't in the foundation now.         You

20        know?    This is --

21   MR. HAUSER:    In a Stiftung, a "Vorstand" is basically the

22        board of directors -- or it's a director.

23   A.   Yeah.    So the board is the board, and the board has

24        a president.

25   MR. HAUSER:    Mm-hmm.
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                                                                            115


 1                                 REBMANN
 2   A.   But this is not mentioned.

 3   BY MR. GOLDMAN:

 4   Q.   Okay.   So were there any other Geschäftsführers in the
 5        --

 6   A.   No, no.     At that time, not.   No.

 7   MR. GOLDMAN:      Could you read back the last answer.
 8                             (Record read.)

 9   MR. HAUSER:      Do you need the spelling of "Geschäftsführer"?

10   REPORTER:    No, I can find it.
11   BY MR. GOLDMAN:

12   Q.   And how about -- are there any other Vorstands, at this

13        point, in the --
14   A.   Yes, the Vorstand --

15   Q.   -- Stiftung?

16   A.   What I told you, in this -- in this Vorstand are
17        Dr. Mikus, Von Fluhe, Birgit Rebmann, and then me.         This

18        is the Vorstand.

19   Q.   Are -- are you the president --

20   A.   This is the board.

21   Q.   -- or --

22   A.   We don't have the title.

23   Q.   There's no such title?

24   A.   No.   No.

25   Q.   So all of you are equal, or --
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                                                                           116


 1                                 REBMANN
 2   A.   Yeah.    Yeah.

 3   Q.   Okay.

 4            All right, now, going back to the chart which is
 5        marked as exhibit 8 here, from '94 to '96, were you the

 6        Geschäftsführer of Lipoid GmbH?

 7   A.   Yeah.    Yeah.
 8   Q.   Yes?    Were there any other Geschäftsführers?

 9   A.   I think not, but I cannot -- so with the -- Zirkel, for

10        example, if there are things more than 20 years,
11        20 years would be '95.

12   Q.   Who is that?

13   A.   This one of -- of -- with -- who is now the -- the
14        main -- the main -- general manager.

15   Q.   What's his name?

16   A.   Zirkel.   We already mentioned him.
17   Q.   Zirkel?

18   A.   Zirkel.   And he -- I think he was engaged '94, '95.

19   Q.   Mm-hmm.

20   A.   At least he was in 20 years in this company.

21   Q.   And who is --

22   A.   He must be.

23   Q.   Who does he work for?

24   A.   Sorry?

25   Q.   Who does he work for?
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                                                                           117


 1                                 REBMANN
 2   A.   Who?

 3   Q.   Who does he work for?

 4   MR. HAUSER:    Are you talking about now, or are you talking
 5        about when he was first engaged?

 6   MR. GOLDMAN:    Yeah, when -- in 1990 -- when he was --

 7   A.   Yeah.   Yeah.
 8   MR. GOLDMAN:    -- hired.

 9   A.   That's '3 or '4, he was engaged.      And he was working

10        for the -- for the organization communities.        He learned
11        everything.

12   Q.   He was on everything?

13   A.   Yeah, yeah.     He was a kind of trainee.
14   Q.   What?

15   A.   "Trainee."    "Trainee," you know, "trainee."      So he did

16        everything.     And he is --
17   Q.   For -- for all the companies, or just the German --

18   A.   Yes, he -- he -- you spoke about it with GmbH.        You

19        spoke about it with --

20   Q.   GmbH?

21   A.   Yeah.   Only this company.

22            And he became director, managing director -- I don't

23        know --

24   Q.   Okay.

25   A.   15 years ago, in the office.
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                                                                           118


 1                                  REBMANN
 2            And then naturally, in a different country -- in the

 3        different companies, we had also our own managers.         So

 4        in Switzerland, for example --
 5   Q.   Mm-hmm.

 6   A.   -- I mentioned Dr. Kelvin, who was the -- the

 7        president -- there is no president in Switzerland,
 8        but --

 9   Q.   Okay.

10   A.   -- director.    And in -- wherever you are, there were --
11        there were general managers.

12   Q.   And from '96 forward, were you the -- the

13        Geschäftsführer of Lipoid Grundstucks?
14   A.   I think so.

15   Q.   And how about of Lipoid Verwaltungs?

16   A.   I was also the -- the director of -- the leading guy.
17   Q.   Okay.    And how about Lipoid AG?

18   A.   AG, Lipoid AG, I told you, this is Dr. Kelber.

19   Q.   He's the one you hired?

20   A.   Yeah.

21   Q.   But you owned 100 percent of the shares of Lipoid AG

22        then?

23   A.   Yeah.

24   Q.   And who did Dr. Kelber report to?

25   A.   Yeah, there is a board.     We had -- in Switzerland, we
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                                                                           119


 1                                   REBMANN
 2        had, naturally, a board.

 3   Q.   Who was on the board?

 4   A.   In the board is normally -- at that time, I don't
 5        remember, but normally it is the father and the son,

 6        Von Fluhe.

 7   Q.   Huh?
 8   A.   Von Fluhe.

 9   Q.   Von Fluhe?

10   A.   The father and the son.     And the other one is me.
11                        (Reporter clarification.)

12   WITNESS:     "Me."   And me.   Father, and son, and me.

13   A.   And later on, this changed; the other people were in the
14        board.   But I'm still there in the board.

15   BY MR. GOLDMAN:

16   Q.   Okay.
17   A.   Not in the AG; in the -- in Verwaltungs AG, I was in the

18        board.

19   Q.   Okay.

20   MR. GOLDMAN:    I need a couple-of-minute break.       I'll be back

21        shortly; my apologies.

22   MR. HAUSER:    Okay.

23   MR. GOLDMAN:    If you want to grab a sandwich now, this may

24        be a good time.

25   MR. HAUSER:    Lunch -- lunch break.      Okay.
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                                                                           120


 1                                 REBMANN
 2                          (Lunch break taken.)

 3   MR. GOLDMAN:    So we'll start again.      Can you read back the

 4        last question; maybe we'll start with that.
 5                             (Record read.)

 6   BY MR. GOLDMAN:

 7   Q.   So the top company in Switzerland, in this group, was
 8        Lipoid Verwaltungs AG?

 9   A.   (Witness nods.)

10   Q.   And you owned 100 percent of it?
11   A.   Exactly.

12   Q.   That's correct?

13   A.   Yeah.
14   Q.   And can you tell me, if you recall, what the gross

15        revenues were of Lipoid Verwaltungs AG, say, from 2010

16        through now?
17   A.   Yeah, you must see the -- you must see the -- the gross

18        is in the different companies, not in Verwaltungs AG.

19        The different companies make the growth.

20   Q.   So there were no consolidated --

21   A.   No, no, not that -- not on this place.

22   Q.   Huh?

23   A.   It is not on this point.     So you have a -- a balance

24        sheet for Lipoid AG; you have a balance sheet for --

25        whatever it is.    And these are the independent
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 1                                 REBMANN
 2        companies, which naturally can pay some dividend to the

 3        holding company.

 4   Q.   Verwaltungs?
 5   A.   But -- not needed.

 6   Q.   So you're saying there was no consolidated financials

 7        for --
 8   A.   There has to be, which I never saw.      Mr. Von Fluhe says

 9        he has to make a consolidated balance for everything

10        which is concerned by our company.      So it means he has
11        to consolidate every year the results of the -- the

12        results of all companies which are owned by the Swiss

13        group.
14   Q.   Okay.    And do you know what the gross revenues were of

15        the Swiss group?

16   A.   This is -- we are not really interested in profit; we
17        are really interested more in developing markets.

18   Q.   You're not interested in ... ?

19   A.   Profit.

20   Q.   I see.

21   A.   You must see, we started this -- this market, this

22        special market for these phospholipids, and our interest

23        is to increase the knowledge about these products, and

24        naturally also the market.     This is our main --

25   Q.   Okay.
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 1                                 REBMANN
 2   A.   -- interest.

 3   Q.   I understand that; I understand.

 4   A.   And then when you speak about turnover, what you mean,
 5        I think, naturally the turnover increases.        Not

 6        dramatically, but slowly.

 7   Q.   Right.
 8   A.   Because in this field where we are -- mainly the

 9        pharmaceutical field, there are many products which are

10        developed, but most of them die.      So if you say you have
11        500 projects, one might survive, even less, in the

12        pharmaceutical field.

13   Q.   Okay.
14   A.   So it means you may have a turnover with a certain

15        company up to -- up to a certain pound -- point, then

16        they stop, because it's not effective.       It stops with
17        the --

18   Q.   Understood.

19   A.   So this is our -- our daily work.

20   Q.   Okay.

21   A.   So you cannot say, "Okay, I'm efficient because I -- I

22        increase my turnover on this and that."

23            It is by chance.    If the customer is successful,

24        okay, you are successful too; but if he fails ...

25   Q.   No, I understand that.
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 1                                 REBMANN
 2   A.   Yeah.

 3   Q.   I understand that.     I mean, I appreciate that.

 4              But what was the gross revenues or turnover for the
 5        entire group, let's say, starting in about 2010 and

 6        going forward?

 7   MR. HAUSER:    So you're talking about the Swiss group?
 8   MR. GOLDMAN:     The Swiss group, yeah.

 9   A.   4, 5 percent per year, or something like that.

10   BY MR. GOLDMAN:
11   Q.   No, no.   Gross revenues.    Gross revenues.

12   A.   Yeah.    I say, 4 or 5 percent each year.

13   Q.   That's the increase.
14   A.   Yeah.

15   Q.   But what was the number?     How much were the revenues?

16   MR. ZAENKER:     (Question translated.)
17                        (Discussion in German.)

18   A.   I would really have to consolidate the companies, which

19        I don't have.

20                       (Reporter clarification.)

21   WITNESS:     "Consolidate the different companies, which

22        I don't have."

23   BY MR. GOLDMAN:

24   Q.   So you don't know?

25   A.   No.
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                                                                           124


 1                                  REBMANN
 2   Q.   You don't have any numbers on what the gross revenues

 3        were for the Swiss companies?

 4   A.   No.
 5   Q.   So let's -- let's go through it.      What were the gross

 6        revenues for Lipoid AG?

 7   MR. HAUSER:    What time period?
 8   MR. GOLDMAN:     Starting in 2010 and going forward -- let's

 9        say 2010, and then, you know, we'll -- he says it went

10        up 5 percent --
11   MR. HAUSER:    If he knows.

12   MR. GOLDMAN:     -- 5 percent a year, 4 or 5 percent.

13   A.   Yeah, it is really -- the increase is 4 or 5 percent.
14        Might be.

15   BY MR. GOLDMAN:

16   Q.   What was the starting point in 2010?
17   A.   The starting point might be somewhere at -- 50 million.

18        I don't really know exactly.

19   Q.   Around 50 million?

20   A.   Yeah.   Let's say.

21   Q.   No, I understand.

22              I would ask you to produce the documents, so we know

23        exactly what it is for each of the years going forward

24        from 2010.

25              But let's say it's around 50; how about for --
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 1                                   REBMANN
 2   MR. HAUSER:     50?   Or 15?

 3   WITNESS:     Fifty.   Fifty.   Five-oh.

 4   MR. HAUSER:     Five-oh?   Okay.
 5   BY MR. GOLDMAN:

 6   Q.   And how about -- and that's in dollars?        Euros --

 7   A.   No, this is always in Swiss francs, naturally.        It is in
 8        Swiss --

 9   BY MR. GOLDMAN:

10   Q.   Okay.    This is Swiss francs?
11   A.   Yeah.

12   Q.   And how does that convert to euros?

13   A.   Now, it's about 1 to 1.
14   Q.   That's what I thought.

15   A.   Before, it was 1 to 5 -- 1.5 to 1.

16   Q.   And --
17   A.   So it's this -- this time, you will be speaking now, it

18        is 1.5.

19   Q.   How about Lipoid LLC:      What were the revenues of

20        Lipoid LLC?

21   A.   Oh, I have a list here.       It's not much.

22            I think I have something here, so what I can give

23        you, for example, numbers of this are products we sell

24        from Lipoid to the company in the United States.          Yeah?

25   Q.   What Lipoid sold --
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 127 of 353
                                                                           126


 1                                 REBMANN
 2   A.   To the United States.

 3   Q.   So who was selling to the United States?

 4   A.   Lipoid GmbH, for example.
 5   Q.   I see.

 6   A.   Yeah?    This is a company which is originally the company

 7        which -- which sold in the United States.
 8   Q.   Okay.

 9   A.   And there, the increase of our turnover from 2005 to

10        2010 is from 2.1 to 3.6 million.
11            Then, naturally, in the meantime, we bought other

12        companies; we bought Phospholipid, which got also

13        a certain turnover in the United States, and we bought
14        Cosmetochem, the Swiss company, which also made some

15        turnover.    But the -- the turnover from Lipoid really

16        increased from two thousand -- from 2.1 to 3.6 from 2005
17        to 2010.

18   Q.   How about the turnover, the total volume of business

19        that was done by Lipoid LLC?       Do you have that number?

20   A.   No, but it's more or less -- more or less 10 -- 10

21        million now.

22   Q.   10 million --

23   A.   Now, yeah.   And maybe 7 -- at that time, it might be 7,

24        but that's about it.

25   Q.   All right.   I'm just going to ask that the page that you
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 128 of 353
                                                                           127


 1                                  REBMANN
 2        were reading from, that we get a copy of that; okay?

 3        I don't need to do it right this second, but I want to

 4        make sure that we get a copy, so we -- we know what you
 5        were reading from.

 6   A.   Yeah, you can get a copy.

 7   Q.   Thank you.
 8   A.   It's no problem.

 9   Q.   And how about ALC?

10   A.   ALC, it is definitely different when we bought it.         It
11        had a certain turnover, five, six million, but then we

12        took things out of ALC, and so the turnover of ALC was

13        reduced.
14            But I can give you some figures.       But again, actual

15        figures I don't want to give you, because he's competing

16        that.   So this is...
17   Q.   Can you give the figures while he was still the --

18   A.   Exactly.   I look for.    I look for.

19            American Lethicin, 2009, for example; yeah?         2009,

20        we have a total turnover of $7.7 million.       In 2008, it

21        is 7.7 again.   It's the same.      And we have -- this may

22        be also 7 -- yeah, we have also 2007.

23   Q.   Mm-hmm.

24   A.   Which year is this?      It's not mentioned -- oh, yeah,

25        2007.   2007, revenue, 7.4 million.     So you see --
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 1                                 REBMANN
 2   Q.   How about 2010?

 3   A.   2010, if I have it; I will see.

 4              2010, we have it here; it is 8.0.
 5   Q.   Okay.   And do you have the 2010 number for Lipoid LLC?

 6   A.   No, no, I don't have it.

 7   Q.   You don't have that?
 8   A.   No.   It is lower -- it was more or less comparable.        It

 9        made things much the same.

10   Q.   Okay.   So whatever papers you were looking at there, we
11        need to make copies of them.

12   A.   No.

13   Q.   We have to.
14   A.   We don't -- you don't.     You don't need my -- my

15        calculation.

16   Q.   Whatever you were looking at --
17   A.   Yeah, so I give you the -- one page where you have the

18        revenues, but not the rest.

19   Q.   Give me the page that you read the revenues from.

20   A.   Okay.   This, we can do, yeah.

21         (Exhibits 9 and 10 marked for identification.)

22   BY MR. GOLDMAN:

23   Q.   Thank you.

24              Now, let me ask you -- so you don't know -- what is

25        -- you don't know what the annual revenues were for the
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 130 of 353
                                                                           129


 1                                  REBMANN
 2        entire Lipoid AG group; correct?

 3   A.   Yeah.

 4   Q.   Who else was in that group, aside from Lipoid AG and
 5        Lipoid LLC and ALC?      Who else was in the group with --

 6        in Switzerland?

 7   A.   Yeah, when you speak about Verwaltungs AG, at the end,
 8        it is also Cosmetochem; we had another company board in

 9        2007.

10   Q.   No, I understand.
11   A.   Yeah?

12   Q.   But -- so you have --

13   A.   And -- wait, wait.      We have naturally by this -- by
14        this -- this is complex -- this Cosmetochem, we had also

15        a subsidiary in France, in Great Britain, and in

16        Germany.    So it's a complex situation.
17   Q.   Yeah, but do you know what the revenues were?

18   A.   No.

19   Q.   How about Phospholipid, the revenues of that?

20   MR. HAUSER:     When?

21   MR. GOLDMAN:     All 2010.

22   A.   I cannot tell you.

23   BY MR. GOLDMAN:

24   Q.   Okay.   To the extent you have documents that show that,

25        I'd like to get copies, and so we could do that.
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 131 of 353
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 1                                  REBMANN
 2            Now, let me ask you, going back now to Lipoid KG,

 3        between 1978 and 1994; okay?

 4   A.   Yeah.
 5   Q.   Did Lipoid KG ever pay dividends?

 6   A.   Yeah, yeah, a certain amount.       You know, in KG

 7        Kommanditgesellschaft, this is the problem, that means
 8        the profit of the company is related to this --

 9   MR. HAUSER:    Do you know how to spell Kommanditgesellschaft?

10   REPORTER:     No.
11   MR. GOLDMAN:     K-O-M-M-A-N-D-I-T-G-E-S-E-L-L-S-C-H-A-F-T.

12            Got it?

13   WITNESS:     Yeah.
14   MR. HAUSER:    Okay.

15   A.   That means in a Kommanditgesellschaft, it's not the

16        company which makes the profit, but the individuals who
17        are --

18   MR. ZAENKER:     Partners.

19   A.   -- parties -- partners.

20            And that means each of them gets -- if he has

21        10 percent, he gets 10 percent of the profit of this

22        year, and for this he has to pay taxes too.        So at the

23        end, naturally, he has a certain income, which you can

24        call dividends, but not the dividends which is an

25        earning, returned earning or something.
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 1                                 REBMANN
 2   BY MR. GOLDMAN:

 3   Q.   Right.

 4   A.   Yeah?    And so far everybody had a -- a positive credit
 5        in this company?

 6   Q.   Positive credit?

 7   A.   Yeah.    Yeah.   He had -- he gave -- he gave to the
 8        company a credit, because he didn't take -- he take out

 9        the money he had to pay for the tax, but the rest stayed

10        in the company.
11   Q.   I see.

12   A.   So he got an account in the company, with a certain

13        amount.
14   Q.   Mm-hmm?

15   A.   This is what your -- your customer had, when he gave him

16        his credit from €110,000, this was the money which was
17        accumulated by these profits.

18   Q.   So the €110,000 was the credit he had --

19   A.   Yeah.

20   Q.   -- okay, in KG?

21   A.   Mm-hmm.

22   Q.   And he had to pay that back to KG?

23   A.   No, we -- we -- we -- we reduced his debts of 700,000,

24        so it was his sum...

25   MR. ZAENKER:    Capital account.
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                                                                           132


 1                                  REBMANN
 2   BY MR. GOLDMAN:

 3   Q.   I understand.   So you -- you took 110,000 from KG --

 4   A.   Mm-hmm.
 5   Q.   -- that belonged to Matthias, and you paid that to

 6        Complector?

 7   A.   No, no, no, no, no, no, no.     You don't understand.
 8              Lipoid at this rate -- at this time, just Lipoid

 9        GmbH -- no, Grundstucks GmbH -- there he had a credit

10        of 110,000.   And we gave him the credit, the company
11        gave him a credit of 110,000, with the security of the

12        110,000 he still had in the company.

13   Q.   So when you say "the company" gave him --
14   A.   Yeah.   Grundstucks KG.

15   Q.   Which one?

16   A.   You saw the -- you saw the credit.      You had it.
17   Q.   No, no, no, but you say "the company"?

18   A.   Yeah.

19   Q.   And I guess -- there are many companies we've --

20   A.   No.

21   Q.   -- been talking about.

22   A.   This is -- we have here the -- you have here -- you have

23        this point, the first one.

24   MR. HAUSER:    You -- you were asking about Lipoid KG, that

25        became Lipoid Grundstucks GmbH; that's the only company
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                                                                           133


 1                                 REBMANN
 2        that's right now being in discussion, as I understand

 3        it.

 4   MR. GOLDMAN:     Right.
 5   MR. HAUSER:    Okay.

 6   BY MR. GOLDMAN:

 7   Q.   So he had $110,000 credit --
 8   A.   Yes.

 9   Q.   And he --

10   A.   The first page.
11   Q.   Yeah.

12   MR. HAUSER:    Right.

13   BY MR. GOLDMAN:
14   Q.   And he got the money, though, as I understand it, from

15        Complector to buy the apartment.

16   MR. HAUSER:    No.
17   A.   No.

18   MR. HAUSER:    I'm sorry if there's been a misunderstanding.

19        There were two sources for the funds for his apartment.

20   MR. GOLDMAN:     Okay.

21   MR. HAUSER:    110,000 of it came as, in essence,

22        a non-interest-bearing loan against his capital account

23        in Grundstucks; and 700,000 came as a loan from

24        Complector.

25              Right?
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 1                                    REBMANN
 2   WITNESS:     Yeah.    This is the point.   Yeah.

 3   MR. HAUSER:    Okay.    Right.    Sorry if that was --

 4   MR. GOLDMAN:    Then I understand it better.
 5   MR. HAUSER:    Okay.    Good.

 6   BY MR. GOLDMAN:

 7   Q.   So let me ask you this:      Is it fair say that between
 8        1978 and 1994, the only dividends to come out of

 9        Lipoid KG were dollars or deutschemarks or euros,

10        whatever it was at the time, that went to pay taxes?
11   A.   Exactly, more or less.       It's not true, because --

12   Q.   Not 100 percent?

13   A.   No, no, it's not true.       Because, for example, your --
14        your client, he      got all the money for his studies, full

15        time, from this account.

16   Q.   How did that work?
17   A.   Yeah, he -- he got every month a certain -- a certain

18        amount of money on his account.

19   Q.   And that was from his account?

20   A.   Yeah.    Sure.

21   Q.   And did you ever take money out of your account there?

22   A.   No, no.

23   Q.   And how about any of the other shareholders?

24   A.   So, naturally, the other children later on too, but it

25        was much later, because they also finance the part of
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 1                                 REBMANN
 2        their studies with their money of the company.

 3   Q.   Okay.    So the money was used to finance the studies of

 4        Matthias.    And did you give him any money --
 5   A.   Yeah.

 6   Q.   -- during that period?

 7   A.   Yeah.    Yeah.
 8   Q.   Personal money?

 9   A.   A lot.    A lot, yeah.

10   Q.   Yeah, okay.
11            Now, when did Matthias first do any work or provide

12        services to Lipoid KG?

13   A.   He -- as a pupil --
14   MR. HAUSER:     Lipoid KG?

15   WITNESS:     Yeah, yeah.

16   A.   As a pupil, at the age of 15 or 16, he worked some weeks
17        in the production side, and he earned money as other

18        pupils did this too.

19   BY MR. GOLDMAN:

20   Q.   As other what?

21   A.   Pupils.

22   MR. ZAENKER:     High school students.

23   BY MR. GOLDMAN:

24   Q.   So he was a pupil, age 15, 16, and he worked production

25        in the factory?
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 1                                 REBMANN
 2   A.   Yeah, for some time.

 3   Q.   Did he do anything else?

 4   A.   No.
 5   Q.   Just production?

 6   A.   He had no position, no function, never, in the company.

 7   Q.   So he worked in production when he was 15, 16?
 8   A.   It might be, or it might be 17, 18; I don't know exactly

 9        at his age.     Anyway, at his age, he worked maybe in two

10        years during his holidays, some weeks in production, to
11        get money.

12   Q.   Okay.

13   A.   But it might be between 15 and 17 or, like, 19; I don't
14        know.

15   Q.   Okay.   And after he finished the high school --

16   A.   Yeah.   Yeah.
17   Q.   -- he went to college?

18   A.   Yeah.

19   Q.   Did he work for the company at all?

20   A.   No.   Never.

21   Q.   Did he help you with any --

22   A.   No.

23   Q.   -- aspects of what --

24   A.   No.

25   Q.   -- you were doing?
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 1                                 REBMANN
 2   A.   No.   He was socialist at that time, you see.

 3   Q.   He was what?

 4   A.   Socialist; extreme socialist.
 5              I could tell you nice stories about this.

 6   Q.   Really?

 7   A.   Yeah.    But it's not necessary.
 8              He was not able to -- to work.

 9   Q.   Explain to me what -- what you mean by an extreme

10        socialist, and that he wasn't able to work.
11   WITNESS:     Should we show him the -- the protocol?

12   BY MR. GOLDMAN:

13   Q.   The what?
14   A.   The protocol.

15   Q.   The what?    The protocol?

16   A.   Yeah.    Simply to -- to make a joke with you, if you all
17        truly like to -- to laugh too.

18   MR. GOLDMAN:     Why don't you grab the couple of pages --

19        maybe we can -- once he gives you this one, we can get

20        copies made of the three, so we don't lose track --

21        there should be three pages, at least.

22   A.   You -- you are not leaving from here, because -- I don't

23        know, but -- now, let's see; where do we have this

24        protocol?

25              So these are -- these are our yearly protocols of
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 139 of 353
                                                                           138


 1                                   REBMANN
 2        our companies, and --

 3   MR. HAUSER:    "Protocol" in this case is --

 4   MR. ZAENKER:    Minutes.
 5   MR. HAUSER:    Yeah, minutes.

 6   MR. ZAENKER:    Minutes of a meeting.

 7   A.   You translated it.    Yeah?    You translated it.    It is
 8        this one here.

 9   MR. HAUSER:    It can also mean "transcript."      In German,

10        she's making a protocol.
11   A.   So he wrote the protocol --

12   MR. HAUSER:    (German spoken.)

13   WITNESS:   Yeah, yeah.
14   A.   He wrote protocol in '95.      Here is the company -- okay.

15        He speaks about his -- his comrades.       It's a German --

16        (German spoken.)
17                       (Discussion in German.)

18              (Exhibit 11 marked for identification.)

19   MR. GOLDMAN:    It should be three pages, three different

20        items.

21                       (Discussion in German.)

22   MR. HAUSER:    Okay.

23   MR. GOLDMAN:    Do you have three?

24   MR. HAUSER:    I have three pages.

25   MR. GOLDMAN:    No, no, but there should be three items.
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 1                                 REBMANN
 2   MR. HAUSER:    No, no.

 3   MR. GOLDMAN:    He was reading off before the sales of -- to

 4        Lipoid from LLC.
 5   WITNESS:    Well, I -- we said we -- we have it here in the --

 6        in the book, so we should copy this; we can send it to

 7        him.   From every year he wants that.
 8   MR. HAUSER:    Okay.   We'll put that together another time for

 9        you; how's that?    Rather than take the time to do it

10        now.
11   MR. GOLDMAN:    No, I want it -- take it now.      Why would you

12        send it later?    I don't know what I'm going to get

13        later.
14   A.   So for which year --

15   MR. GOLDMAN:    I might not get anything.

16   A.   -- are you wanting?
17            For which year are you wanting?

18   Q.   For the years -- whatever you were reading, we should

19        have a copy so we know what you were reading.

20            I'm not -- not trying to be difficult; I just want

21        to make --

22   A.   But you are difficult.

23   Q.   No, I'm the nicest guy you're ever going to come across.

24   A.   No, you are really difficult.

25            We have spoke about 2006.
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 1                                  REBMANN
 2   MR. HAUSER:    Only the years while he was there.

 3   WITNESS:     But here is -- the total revenue is here.      So only

 4        this page.
 5   MR. GOLDMAN:     I'm going to ask you to read back the last

 6        question when we're done with this.

 7                     (Discussion off the record.)
 8   BY MR. GOLDMAN:

 9   Q.   What's the name of the book that you're taking these

10        from?
11   A.   This is -- this is the -- these are the financial

12        statements of the company.

13   Q.   Of which company?
14   A.   ALC.

15   Q.   I see.

16   A.   These are copies of these I asked for for you.
17   Q.   Thank you.

18   A.   Yeah?    Good.   I hope you can use them.

19                 (Discussion off the written record.)

20   MR. GOLDMAN:     All right.   Can we go back on the record?

21   MR. HAUSER:    Sure.

22   MR. GOLDMAN:     Okay.

23   Q.   So you said that Matthias was an extreme socialist, and

24        you were going to copy something from 1995, which is

25        being copied now?
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 1                                  REBMANN
 2   MR. HAUSER:    Mm-hmm.

 3   BY MR. GOLDMAN:

 4   Q.   And can you describe either -- okay, can you describe
 5        what you -- first of all, what you are having copied at

 6        this point in time:     What is being copied?

 7   A.   This is our -- the report of our annual meeting in this
 8        year from Lipoid Grundstucks GmbH, and he was the

 9        reporter.

10   Q.   In '95?
11   A.   In this year we will see.

12   Q.   Okay.   And what is the substance of that?      How is that

13        relevant --
14   A.   You will see.

15   Q.   -- to my question?

16   A.   You will see.
17   Q.   No, no.   I am asking you to -- to tell me.

18   A.   It's interesting.     It's interesting.

19   Q.   I don't want to see; I want you to --

20   A.   It's --

21   Q.   -- answer the question --

22   A.   It's really interesting.

23   Q.   -- please.

24                      (Reporter clarification.)

25   BY MR. GOLDMAN:
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 1                                  REBMANN
 2   Q.   Just answer my question; don't --

 3   A.   Yeah.

 4   Q.   It's -- this is a formal deposition.
 5   A.   Yeah.

 6   Q.   She's taking your live --

 7   A.   Yeah.
 8   Q.   -- testimony.

 9   A.   Yeah.

10   Q.   I'll -- I'll look at whatever you show me, but you have
11        to answer the question.

12   A.   Yeah, it -- I tell you, it is interesting.        This is --

13   Q.   So tell me.
14   A.   The whole story is interesting.       I cannot repeat it; it

15        is too nice.    You will see --

16   Q.   Too nice?
17   A.   Too nice.   You will see it.      As a report for an official

18        meeting for the company for this year, he makes this

19        report.

20   Q.   Okay.

21   A.   And then you should read it.

22   Q.   I will read it.

23   A.   Good.

24   Q.   I'm trying to go quickly, so we can get you out of here

25        in time, and so I was hoping you could give me your view
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 1                                   REBMANN
 2        of what this report --

 3   A.   Then you --

 4   Q.   Let me ask you this --
 5   A.   Then you will understand what I call a socialist.

 6   Q.   What happened at the meeting that got you upset with --

 7   A.   No.   No, no, fantastic.    It was a fantastic meeting,
 8        so -- with a fantastic report.

 9   Q.   So the meeting was good?

10   A.   Sure.
11   Q.   The report was no good?

12   A.   The report is fantastic.     You will see.    Nothing in

13        detail; fantastic.
14              So this is no real report, naturally, because when

15        you make a report, you say "Okay, we -- we have done

16        this and this and this and this."
17   Q.   Okay.

18   A.   This is poetry he was doing.

19   Q.   I'm sorry?

20   A.   Poetry.    The poetry --

21   Q.   Poetry?

22   A.   -- here.

23   Q.   Okay.

24   A.   This is -- he is philosopher.

25   Q.   So he did a philosophy report?
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 1                                  REBMANN
 2   A.   He's a philosopher.

 3   Q.   Was he studying philosophy in school?

 4   A.   Sure.
 5   Q.   I see.   Maybe he was the wrong person to give a report

 6        on business, if he was a philosopher.

 7   A.   But he studied also economy; he studied also sociology.
 8        He studied also German history -- so what he told to

 9        Mr. Hauser in the deposition, he studied five different

10        jobs, things the same time.     So he -- he was really
11        qualified to write the -- write the report.

12   Q.   Okay.    But he wrote a report, and who made him the

13        secretary of the meeting to write the report?        Who asked
14        him to write the report?

15   A.   Surely me, or altogether, I don't know.       Somebody,

16        anyway, has to write the report, anyway.
17   Q.   Okay.

18   A.   Yeah?    And then we naturally decide who takes -- who

19        makes the report.     So in this case, he offered; he was

20        interested in making the report.

21   Q.   I'm sorry?

22   A.   He obviously was interested in writing this report.

23   Q.   So he wrote the report.

24   A.   Yeah.

25   Q.   And you were unhappy with the report?
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 1                                 REBMANN
 2   A.   No, I was very happy.    You will see.

 3   Q.   You were happy with the report?

 4   A.   In the -- in the economical sense, it's no report; but
 5        from the poetry side, it is fine.

 6   Q.   Okay.   So from the poetry side, it's fine?

 7   A.   Yeah.
 8   Q.   From the business side, it's not fine?

 9   A.   Not useful.

10   Q.   Huh?
11   A.   Not useful.

12   Q.   Not useful?

13   A.   Yeah.
14   Q.   Is it safe to say you were unhappy with his report?

15   A.   No, no, no.    I like -- I like a little -- (German

16        spoken.)   Theater.   I like theater, and this is -- this
17        really is theater.    It's really fine.

18   Q.   So it's theater?

19   A.   Really fine.

20   Q.   Okay.   So that was only in 1995?

21   A.   It is only not useful for the -- for the business.         The

22        report.

23   Q.   So he did a report in '95 --

24   A.   Yeah.

25   Q.   -- that was not useful for the business; correct?
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 1                                   REBMANN
 2              And I'm only asking you this way because you're --

 3        you're not willing to explain it to me with your own

 4        words, so I'm trying to get an answer from you.
 5   A.   Yeah, the business report, you say you are formalist,

 6        you say you are officer of whatever, and you can -- can

 7        ask things.   And if you write a report for a company, an
 8        annual report for an annual meeting, you should add

 9        some -- some details which were discussed.        And when you

10        discuss two years -- two days -- two hours, and you had
11        nothing on your report, it's not a good report.

12   Q.   Okay.   So you were unhappy with the report?

13   A.   No.   No, no, I find it fantastic.
14   Q.   You found it fantastic?

15   A.   Fantastic.

16   Q.   Okay.   You see, what --
17   MR. HAUSER:    Here it is.   Why don't you take a look at it

18        and see if you can ...

19   A.   (German spoken.)

20   MR. HAUSER:    Let me just -- just say for the record, what

21        I handed to opposing counsel is the minutes of the --

22   MR. ZAENKER:    Extraordinary shareholders' meeting.

23   MR. HAUSER:    Yeah, extraordinary shareholders' meeting of

24        Lipoid GmbH on March 22, 1995.       The original is in

25        German, signed by the defendant.       There is an unofficial
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 1                                 REBMANN
 2       informal translation attached.

 3   MR. GOLDMAN:    And I'm going to hand this to the reporter and

 4       ask that it be marked, and -- I guess we have two other
 5       exhibits; have they not come back yet?

 6   MR. HAUSER:    Yeah, let me say something about these.

 7           These are financial figures.       These are hard numbers
 8       of a largely closely held and privately owned company.

 9       We don't have a protective order in place in this

10       proceeding yet, so we can do one of two things:         You can
11       either live with my objection to my giving it to you

12       without a protective order in place, or you can agree

13       that these will be treated henceforth as if they were
14       covered by a protective order; in other words, that they

15       aren't going to be filed -- they won't be used outside

16       this litigation, and they will not be filed so that the
17       public can see them.

18           That's your choice.      Because if not, we'll wait till

19       we can get a protective order in place before I give

20       them to you.    You let me know.

21   MR. GOLDMAN:    As a general rule, I have no problem with what

22       you say about using them only for this litigation and

23       deeming them confidential, meaning -- you know, you

24       don't release them to the public in general.

25   MR. HAUSER:    That also means you can't include them in a
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 149 of 353
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 1                                   REBMANN
 2        public filing in this case --

 3   MR. GOLDMAN:    I understand.    It has to be --

 4   MR. HAUSER:    -- unless it's under seal.
 5   MR. GOLDMAN:    -- under seal; I understand that.

 6   MR. HAUSER:    Okay.   Then we're agreed --

 7   MR. GOLDMAN:    Yeah, we're -- we're --
 8   MR. HAUSER:    -- about that; right?

 9   MR. GOLDMAN:    We're agreed, and I'd like to -- you know, get

10        something in writing done afterwards.       Okay?
11   MR. HAUSER:    Okay.   There you go.

12   BY MR. GOLDMAN:

13   Q.   You'll have to agree as well.
14   MR. HAUSER:    Oh, yeah; you're bound by his agreement.

15   MR. GOLDMAN:    So let's mark these papers, which were just

16        handed to me, which are American Lecithin Company
17        statements of revenues and expenses.

18   MR. HAUSER:    Did you mark the minutes yet, or not?

19   REPORTER:   No, I haven't done that yet.

20   MR. GOLDMAN:    So these I'd like to mark as defendant's

21        exhibit 8.

22                     (Discussion off the record.)

23               (Exhibit 8 marked for identification.)

24   BY MR. GOLDMAN:

25   Q.   So, Dr. Rebmann, what did you do when you received this
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 150 of 353
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 1                                  REBMANN
 2        protocol that had been prepared by Matthias?

 3   A.   I was laughing.

 4   Q.   Okay.    And what did you do after you laughed about it?
 5   A.   Hmm?

 6   Q.   Did you talk to him about it?

 7   A.   He surely sent it later.     I don't know how we got it.
 8   Q.   I'm sorry; what?

 9                      (Reporter clarification.)

10   WITNESS:     "He sent it surely later.    I don't know how we got
11        it."

12   BY MR. GOLDMAN:

13   Q.   Did you talk to him about it?
14   A.   No, why should I -- I don't think so.       I don't know.

15   Q.   You don't recall?

16   A.   I don't know.
17   Q.   You don't know?

18   A.   No.

19   Q.   Did you explain to him that this was not an

20        appropriate --

21   A.   I don't remember anything.     I only found this document,

22        and I was really happy.

23   Q.   When -- when did you find it?

24   A.   I have no idea.

25   Q.   Hmm?
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 1                                  REBMANN
 2   A.   I have no idea.     I looked on my protocols I had,

 3        and I found this one.     I don't know when.

 4   Q.   Is there another protocol?     Did Matthias do any other
 5        protocols?

 6   A.   No.   This was the last one.

 7   Q.   This was the only one?
 8   A.   It was not useful.      We could not use it.

 9   Q.   It was what?

10   A.   It was not useful.      As an economical side, we cannot use
11        it.

12   Q.   Did he do a -- who did the 1994 protocol?

13   A.   I don't know.
14   Q.   And who did the 1996 protocol?

15              I'm sorry?   Who -- who did the '96 protocol?

16   A.   I don't know.
17   Q.   Okay.   So all you have is a '95 protocol from Matthias,

18        and this is Lipoid GmbH.     So you never discussed with

19        Matthias whether this was appropriate or not?

20   MR. HAUSER:    Objection, asked and answered.       He did not say

21        that.

22   MR. GOLDMAN:    Huh?

23   MR. HAUSER:    He said he didn't remember whether he discussed

24        it with him.

25   MR. GOLDMAN:    Thank you.
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 1                                 REBMANN
 2   A.   This was in '94; now we are 20 years later.

 3   BY MR. GOLDMAN:

 4   Q.   Did you find --
 5   A.   So -- yeah?

 6   Q.   Yes.

 7   A.   Good.
 8   Q.   Do you --

 9   A.   Okay.

10   Q.   Do you have any recollection receiving this in '95?
11   A.   No.

12   Q.   Do you have any recollection as to when you first saw

13        this?
14   A.   No.    It is 20 years ago.

15   Q.   Do you recall if Matthias had attended any other

16        meetings, annual meetings, prior to '95?
17   A.   He was there every year.

18   Q.   Every year, he was there?

19   A.   Yeah.

20   Q.   And what about Helge and Balder:      Were they there?

21   A.   At that time, should be.     When they signed, we have

22        signed documents on this.     These protocols are all

23        signed by the participants.

24   Q.   Well, this one is signed only by --

25   A.   Yeah.
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 1                                  REBMANN
 2   Q.   -- Matthias.

 3   A.   Yeah.    It was '94, or '95?   What was it?

 4   MR. HAUSER:     '95.
 5   A.   '95.

 6              These are the other -- these are other protocols

 7        I find here now.     Yeah, I think this is some of them
 8        here.    You can make copies of these.

 9              So everybody who is present signs.

10   BY MR. GOLDMAN:
11   Q.   But this one was only signed by Matthias.

12   A.   He obviously sent it by email, or -- I don't know how --

13        I don't know how he got it.
14   Q.   Is there another one from --

15   A.   No.

16   Q.   -- '95?
17   A.   No.    This was a special edition.

18              Yes, there is another one; here's another one

19        from '95.

20   Q.   There is another one from '95?

21   A.   Yeah, for '95, yeah.

22   Q.   So --

23   A.   You copy this too?

24   Q.   Mm-hmm.    Yeah, let's get copies of that.

25                          (Discussion in German.)
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 1                                  REBMANN
 2   MR. HAUSER:    Some of these have financial figures in them,

 3        so they're going to be subject to the same agreement.

 4   MR. GOLDMAN:    Okay.    That's fine.
 5                      (Discussion off the record.)

 6                           (A break was taken.)

 7   MR. HAUSER:    All right.    Now what I've got here is a set of
 8        several years' worth of minutes of shareholders' -- or

 9        meetings for Lipoid Grundstucks GmbH.       Most of them

10        have -- or some of them have financial figures in them,
11        and those can only come to you subject to the same

12        agreement we just had.     They've got to be treated

13        confidentially; no public use, no use out of this
14        litigation.

15   MR. GOLDMAN:    That's fine.

16   MR. HAUSER:    Okay.    We have two sets here.
17   MR. GOLDMAN:    Let's mark this one.     I guess we're up to

18        number 12.

19               (Discussion off the written record.).

20              (Exhibit 12 marked for identification.)

21   BY MR. GOLDMAN:

22   Q.   So, Dr. Rebmann, was there anything that Matthias said

23        at the 1995 meeting for Lipoid GmbH that upset you?

24   A.   I don't remember.

25   Q.   Do you remember anything about the meeting --
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                                                                           154


 1                                 REBMANN
 2   A.   No, no.

 3   Q.   -- itself?

 4   A.   No.   I tell you again, it's 20 years ago, and I'm
 5        75 years old, and I have some problems with my memory.

 6        And even if I would be younger -- like you, for

 7        example -- I would not remember either.
 8   Q.   If you would be younger, like me, you wouldn't remember

 9        either?

10   A.   I would -- exactly.
11   Q.   Is that what you said?

12   A.   Exactly.

13   Q.   I -- I understand what you're saying.
14              I -- I wanted to ask you, you said he was an extreme

15        socialist; is that based on this -- this protocol, or is

16        there some other basis for that statement you made?
17   A.   These are naturally things -- are personal things that

18        should not --

19   Q.   Sorry?

20   A.   These are personal things.     I would not discuss this too

21        much in detail.

22   Q.   You're free not to discuss them anywhere --

23   A.   It is terrible.

24   Q.   -- any time, except for right now.      Right now --

25   A.   It is extremely --
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                                                                           155


 1                                 REBMANN
 2   Q.   -- you're obligated to answer the questions --

 3                      (Reporter clarification.)

 4   BY MR. GOLDMAN:
 5   Q.   Right now you're obligated to answer the questions fully

 6        and completely.

 7   A.   It is extremely difficult, but I tell you now, your
 8        client is naturally somebody who looks for some guide.

 9   Q.   For ... ?

10   A.   Some guide.
11   Q.   Guide?

12   A.   Yeah, for a guide.     When he was born, he was not

13        baptized, because we said the poor guy who has the genes
14        of his parents, and he's educated by the parents, he

15        should not be influenced too much.

16   Q.   He should not be ... ?
17   A.   Influenced too much.

18   Q.   Okay.

19   A.   So he can choose, himself --

20   Q.   Okay.

21   A.   -- what he wants to do later.

22   Q.   Mm-hmm.

23   A.   At the age of 8 -- maybe 9, I don't know -- he said,

24        "I want to be baptized now."

25            So he later confessed, and he was baptized, and some
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 157 of 353
                                                                           156


 1                                   REBMANN
 2        years later there is a -- (German spoken.) --

 3        confirmation?

 4   MR. HAUSER:     Confirmation.
 5   A.   Confirmation.   As a request for his confirmation, and

 6        a year later he told me, "You know, I don't want to be

 7        in this church anyway; please sign that I can leave."
 8            So I -- I told him, you know, "You decided to go in,

 9        so you can also decide to go out; it's not my problem."

10   Q.   Okay.
11   A.   Yeah?

12            And he was at that time influenced by some

13        organization he met, and he was a member of a youth
14        organization, they organized themselves, in our parish,

15        and all what was left was good and all what was right

16        was bad.
17   Q.   All that was ... ?

18   A.   Bad.    All what was left, politically left, was okay.

19   Q.   Yeah?

20   A.   As you see, Palestinians are fine; everybody were fine.

21        But all which were right was bad.

22   Q.   And this was around nineteen- --

23   A.   This was in his school time, so he left school in '92,

24        so it was about '90.

25            And -- yeah.    Then, naturally, he was a very bad
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                                                                           157


 1                                  REBMANN
 2        pupil in his high school, extremely bad.       I never saw

 3        a certificate as bad as his one.

 4            But nevertheless, he managed to -- to get a -- get
 5        a -- get a -- a permission to study.       But -- but what

 6        could he study?      With his certificate, and with his

 7        mind, naturally, philosophy and sociology.        He could
 8        have had -- done also law; law he could also do.        And

 9        the less he was qualified to, so he could not study, as

10        I said.
11   Q.   So if you're not qualified for anything else, you can

12        study law?

13   A.   Yeah.   Law, you can study anything, you know -- sorry,
14        sorry, but this is the truth.

15            So -- but if you -- if you study for some science,

16        like pharmacy, or you make chemistry, or you make
17        medical doctor, you have everywhere numerous clauses.

18   Q.   You have what?

19   A.   Numerous clauses.

20   MR. ZAENKER:     A qualified admission to go to a university

21        course --

22   A.   Yeah.

23   MR. GOLDMAN:     I see.

24   MR. ZAENKER:     -- depending on your school report, your

25        matriculation certificate.
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                                                                           158


 1                                 REBMANN
 2   A.   So some -- some more demanding profession, you have to

 3        have a good -- a good --

 4   BY MR. GOLDMAN:
 5   Q.   Okay.

 6   A.   -- examination.

 7   MR. HAUSER:    Basically it's what you call a -- a high school
 8        report card.

 9   MR. GOLDMAN:    No, I understand that.

10   MR. HAUSER:    Okay.
11   MR. GOLDMAN:    I'm following.

12   Q.   So he went to philosophy; he could have gone to law?

13   A.   Yeah.
14   Q.   And he studied, and then about '95, he was still on the

15        board; he was one of the shareholders?

16   A.   Yeah.
17   MR. HAUSER:    Objection.   Those are two different things.

18   MR. GOLDMAN:    I'm trying to understand --

19   A.   Not only --

20   MR. GOLDMAN:    No, no, but he was a shareholder?

21   MR. HAUSER:    He was a shareholder --

22                       (Reporter clarification.)

23   BY MR. GOLDMAN:

24   Q.   Okay.   And then in '96, you changed the -- the structure

25        of the company?
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 160 of 353
                                                                           159


 1                                  REBMANN
 2   A.   We did not change the structure, no.       We simply added

 3        something.    So it was not a change of the structure.

 4   Q.   I see.    But in the meantime, Matthias was not included
 5        in whatever you added; correct?

 6   A.   Yeah, whatever you -- it is only one company we -- we

 7        started.    And this Lipoid Verwaltungs GmbH started the
 8        other companies.     So only one company.

 9   Q.   Right, but he was not included in the other company?

10   A.   Is no obligation to include him.
11   Q.   In '96 -- well, we'll find out if there was an

12        obligation.

13   A.   Uh-huh.    Uh-huh.
14   Q.   I'm not going to ask you that.      You shouldn't ask me

15        that either, because --

16   A.   You don't ask me that you have become a member of our
17        company too.

18   Q.   I'm not -- at this stage, I don't think I'm qualified.

19        I don't know that you would ask me.      I don't know if

20        I would accept.

21   A.   Okay.

22   Q.   But -- but we can talk about it; okay?       After the --

23        after the litigation is over, you want me to join your

24        company, we can talk about it.

25   A.   Good.
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                                                                           160


 1                                 REBMANN
 2   Q.   Right now, what I'm more interested in is just

 3        understanding what was going on between you and the

 4        companies, and with Matthias and so on.
 5            So in -- in '96, you set up a new structure, and

 6        Matthias was not included in the new structure.        The

 7        other two boys, Helge and Balder, were -- and it seems
 8        like Dominik never was included in any of this; okay, so

 9        I understand this.

10            Now, in '96, then, you -- you had the two structures
11        with -- the Swiss structure; you explained that.        And

12        when, then, did Matthias -- did he do any work for the

13        company after --
14   A.   Never.   Never.

15   Q.   Never?

16   A.   Never.
17   Q.   So --

18   A.   He had -- he has never engaged.      He has never a contract

19        with the company.    He has no function in the company.

20   Q.   He never received money from the company?

21   A.   He got his own money from the -- from his ownership.

22        I told you.

23   Q.   He got money from his ownership?

24   A.   Yeah.    I told you before.

25   Q.   Right.
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                                                                           161


 1                                 REBMANN
 2   A.   Yeah.

 3   Q.   Okay.

 4   A.   But he got no salary.
 5   Q.   No salary?

 6   A.   No.

 7   Q.   Okay.   And did he -- and -- okay, so he did no work for
 8        the company.    And then what happened?     You were working

 9        in the United States with Vernon Walden?       Was that how

10        you accessed the US market?     They were your distributor?
11   A.   Yeah.   This is also a story -- if you want, I can tell

12        you -- which is naturally much longer.

13              The product we make are very special, and at that
14        time there were nobody else who makes them, and it was

15        really very special development.

16              And we were contacted by American companies, if you
17        would like to produce of them.      And my interest, anyway,

18        ever since the beginning, '78, to make these products.

19        So --

20   Q.   Which product is it that nobody else makes?

21   A.   Phospholipid.

22   Q.   Phospholipids?

23   A.   This is our product which we make, especially for

24        pharmaceutical application.

25   Q.   Okay.
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 1                                  REBMANN
 2   A.   So we not only develop this product.

 3   Q.   I see.

 4   A.   We only develop analytical methods, and we develop also
 5        manufacturing possibilities.

 6   Q.   Okay.

 7   A.   Manufactured the use of this.
 8              So we did everything.   This is really our idea, and

 9        our product.     And now, in the United States, there were

10        some people who thought they would need some
11        phospholipid in the near future, and so they contacted

12        us.

13              So they sent a contact to us, and so we -- we had
14        a certain relation with American companies all over the

15        '79 or '80, very early.     And we did this business

16        directly from Germany.
17   Q.   I see.   Okay.

18   A.   Yeah.    Then, after certain time, we had an agent, United

19        States, which was called Flavine.      Flavine:

20        F-L-A-V-I-N-E.

21   Q.   Okay.

22   A.   This was a company which the headquarters is nearly

23        nearby our company, Ludwigshafen, but they had a company

24        in the United States, and this United States company

25        wanted to represent us.
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 1                                  REBMANN
 2            So they did the work for some years, and then by

 3        chance, they stopped.

 4   Q.   Mm-hmm.
 5   A.   This lady who made the -- the business went to China,

 6        and I don't know -- anyway, they stopped.       So we

 7        continued to do it ourselves.
 8            And I knew Mr. Borkan; Borkan was the owner of

 9        Vernon Walden.

10   Q.   What's the name?     Bork --
11   A.   Borkan.    Borkan.

12   Q.   B-O-R --

13   A.   B-O-R-K-A-N.
14   Q.   Borkan?

15   A.   Yeah.   And Mr. Borkan had a son, with no real education,

16        a good sportsman.
17   Q.   A good what?

18   A.   Sportsman.   Sportsman.    He was doing cricket, or

19        something like that.    He was very strong.

20   Q.   Oh, "sportsman"; okay.

21   A.   He was very strong.

22   Q.   Okay.

23   A.   And he looked for a job for his son.

24   Q.   Mm-hmm.

25   A.   So Mr. Borkan, at the age of 60, 65, he started
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 1                                  REBMANN
 2        a company with his son, to give him an income.

 3   Q.   Mm-hmm?

 4   A.   And as I knew Mr. Borkan from earlier business, he owned
 5        a company called Pharmacaps, which was sold, and with

 6        this money he bought -- he built this new company.         We

 7        agreed that he will represent us, United States, in this
 8        area.

 9   Q.   Mm-hmm?

10   A.   And this worked, certain time.      But we always feel in
11        Europe, think that we are social, and we -- we try to --

12        to treat people nicely; in the United States, you have

13        people who are rather aggressive.
14   Q.   Who are aggressive?

15   A.   He was really not well foreseeable, what he did.

16            Anyway, he was also, I thought, or we thought, not
17        effective enough on this market.

18   Q.   Mm-hmm?

19   A.   And therefore we got this -- this problem with him.

20   Q.   When did you cut?

21   A.   It was maybe 2002, about this time.

22   Q.   Okay.

23   A.   And -- yeah, that's the story.

24   Q.   And then what happened?

25   A.   Then, we had our company in Switzerland.
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                                                                           165


 1                                 REBMANN
 2   Q.   In where?

 3   A.   In Switzerland, Lipoid AG, which cared for the market.

 4        And we had a total forecast -- let's see, I have the
 5        documents for this; these are interesting.        We had

 6        a plan how to work on this market later on.        Let's see.

 7            Yeah.    So I can tell you how our plan was, and
 8        I have here confirmations of the -- of our colleagues

 9        who were responsible for this business, because this was

10        a business from -- which was run through our company in
11        Switzerland, and I was not always closely involved.

12        Therefore -- I will give you this document, but I will

13        read it before --
14   Q.   Mm-hmm.

15   A.   -- and tell you what it is.

16            So this is the declaration of the two responsible
17        persons:    One in Germany -- this is Dr. Zirkel -- and

18        the other is in Switzerland; this is Dr. Schubert.         And

19        both confirm in this declaration how the situation was.

20                      (Reporter clarification.)

21   WITNESS:   "How the situation was at that time."

22   BY MR. GOLDMAN:

23   Q.   Schubert, then Zirkel?

24   A.   Zirkel, yeah.

25            You could take copies of this, I think.
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                                                                           166


 1                                  REBMANN
 2   Q.   Mm-hmm.   Okay.

 3   A.   He wants copies anyway, I know.

 4                      (Discussion off the record.)
 5   (1:13 a.m.)

 6                          (A break was taken.)

 7   (1.30 p.m.)
 8   MR. GOLDMAN:     So you were making a copy.

 9   MR. HAUSER:    Yeah, sorry.    They're here.

10   MR. GOLDMAN:     This is Dr. Zirkel, and this is the same
11        document.

12   A.   1, 2, 3 Dr. Zirkel, the other --

13   MR. HAUSER:    You should have two of each.
14   MR. GOLDMAN:     Yeah, okay.   So let's mark these.

15                     (Discussion off the record.)

16   MR. GOLDMAN:     13 is a document signed by Dr. Zirkel.      It's
17        dated February 25, 2015.

18            And then there's another document that is signed by

19        Franz Schubert, and this one is dated Steinhausen,

20        March 20, 2015.    And this one we will mark defendant's

21        exhibit 14.    Okay?

22         (Exhibits 13 and 14 marked for identification.)

23   MR. GOLDMAN:     These are nice statements by two employees of

24        Dr. Rebmann's.    And I want to ask Dr. Rebmann what he

25        remembers, since he is the witness, and if necessary
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 1                                 REBMANN
 2        we'll call the others.

 3   A.   Okay, yeah.

 4   MR. HAUSER:    I object to your characterization as employees
 5        of Dr. Rebmann.

 6   MR. GOLDMAN:    Okay.

 7   Q.   They're employees of Lipoid AG, are they?
 8   A.   And Lipoid GmbH.

 9   Q.   And GmbH; okay.

10            So you terminated Vernon Walden in about 2002 or so?
11   A.   Yeah.

12   Q.   And did Vernon Walden then sue you?

13   A.   Yeah.
14   Q.   And they claimed that you breached the agreement with

15        them?

16   A.   Yeah.
17   Q.   Okay.    And where was that lawsuit?    Do you recall?

18   A.   Sorry?

19   Q.   Where was the lawsuit?

20   A.   Where?

21   Q.   Where -- where did that lawsuit take place?

22   A.   Don't remember.    No idea.

23   MR. GOLDMAN:    I should get some copies made of this.       This

24        is an affidavit, and I -- I think I -- I'd like to get

25        this done, but I'd also like to not slow down the pace
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 169 of 353
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 1                                   REBMANN
 2        of things.

 3            How do we get this copied?

 4   MR. HAUSER:    Just take it to reception.     He can --
 5   MR. CARLSTEN MATTHIAS REBMANN:      Three copies?

 6   MR. GOLDMAN:     Three, yeah.

 7   Q.   Did you come to the United States for that lawsuit?
 8   A.   Yeah.

 9   Q.   Do you recall who the defendants were in the lawsuit?

10   A.   Sorry?
11   Q.   Who were the defendants?

12   A.   Borkan.

13   Q.   Hmm?
14   A.   Borkan.   It's the Vernon Walden.

15                       (Reporter clarification.)

16   BY MR. GOLDMAN:
17   Q.   Who did Vernon Walden sue?

18   A.   Who?    Might be -- I don't know.

19   Q.   All right.    So when I get the copies --

20   A.   Lipoid AG?    I don't know.

21                       (Reporter clarification.)

22   A.   Wait, wait.

23            I don't know.    Maybe Lipoid AG.    I don't know.

24   MR. GOLDMAN:     So we can mark this one as defendant's

25        exhibit 15.
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 170 of 353
                                                                           169


 1                                   REBMANN
 2                (Exhibit 15 marked for identification.)

 3   BY MR. GOLDMAN:

 4   Q.   Do you recall now where the lawsuit was?
 5   A.   Where?

 6   Q.   Does this help refresh your recollection where the

 7        lawsuit was?
 8   A.   Where?   I'm not sure --

 9   Q.   Look at the top of the first page.

10   A.   New Jersey.      Is it there?
11   Q.   Yes.

12   A.   But on which place, I don't know.

13   Q.   Hmm?
14   A.   In which place, I don't know.        New Jersey is a -- is a

15        state, and not --

16   Q.   Yes.
17   A.   Yeah.    Okay.

18   Q.   Do you recall seeing this affidavit before?

19   A.   I surely did, so ...

20   Q.   Yeah.    Do you -- do you recall signing it?

21   A.   If I signed it, I signed it, yes.       If I signed here --

22   Q.   Well, the copy I have is not a signed one.

23   A.   I don't know.     It should be signed.    I don't know.

24   Q.   Okay.    I'd ask you to --

25   A.   Yeah.
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 1                                 REBMANN
 2   Q.   -- check your records and see if you have a signed one;

 3        okay?    But you -- can you do that for me?

 4   A.   We will try, but I don't think that we still have it.
 5   Q.   Now, this shows that the defendants are Lipoid GmbH?

 6   A.   Yeah.

 7   Q.   Which was the top German company, correct?
 8   A.   Yeah.

 9   Q.   And Lipoid AG, which was the -- not the top Swiss

10        company, but the top underneath Verwaltungs AG?
11   A.   Yeah.

12   Q.   And these were defendants in the United States; correct?

13        And --
14   MR. HAUSER:    I object to the characterization of Lipoid GmbH

15        as the top German company.     I think that the testimony

16        is is that it was --
17   A.   It was also Verwaltungs GmbH.

18   MR. HAUSER:    Yeah, it was a subsidiary; it was formed by

19        Lipoid Verwaltungs GmbH.

20   A.   Okay, you are right.    On both sides, it is the right

21        one.

22   BY MR. GOLDMAN:

23   Q.   September 2004.

24   A.   Yeah.

25   Q.   Okay.
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                                                                           171


 1                                  REBMANN
 2   A.   Yeah.

 3   Q.   But then I -- again, there's a -- there's a holding

 4        company, but these seem to be the top operating
 5        companies, is what I was trying to get at, and ...

 6   A.   Mm-hmm.

 7   Q.   Okay?   And in it, you're describing the share ownership
 8        structure of all of these --

 9   A.   Yeah.   Yeah.

10   Q.   -- companies; right?
11   A.   Mm-hmm.

12   Q.   And you describe the representation agreement in

13        number 14?
14   A.   Mm-hmm.

15   Q.   And you describe how Lipoid Germany, which is GmbH,

16        delivered the products directly to the customer;
17        correct?

18   A.   Mm-hmm.

19   Q.   And the customers were all over the United States?

20   A.   Or Canada, surely, too.

21   Q.   Or Canada.

22   A.   Yeah.

23   Q.   And you had Customers in New Jersey?

24   A.   I don't know.

25   Q.   Did you have customers in New York?
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 1                                 REBMANN
 2   A.   I have no idea.

 3   Q.   You don't recall where the customers were in the United

 4        States?
 5   A.   You know, this was not my business.

 6   Q.   Huh?

 7   A.   This was not my business.     This business was made by
 8        Lipoid AG in Switzerland.

 9   Q.   But you're the 100 percent owner.

10   A.   Yeah, but I was not in relation to -- you see, we had
11        altogether nearly 20 different companies, and you

12        cannot -- you cannot ask me to know what each of these

13        companies is doing daily.
14            So I have no idea what they did.       And they were

15        responsible -- you know, we had responsible people there

16        in Switzerland, and here, and everywhere, so I don't
17        care for these things every day.       I never did.

18   MR. HAUSER:    Sam, one thing, by the way; I don't know if

19        this was ever signed or not.       If this never got past

20        draft, we've got an objection based on attorney/client

21        or work product privilege, or both.

22            I don't know how it came into your hands; clearly

23        this was not filed in court.

24   A.   Could be.

25   MR. GOLDMAN:     I'll ask the question; okay?
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 1                                   REBMANN
 2   A.   Could be, yeah.

 3   MR. GOLDMAN:       I'm trying to find out.

 4   MR. HAUSER:       How it got to your hands?
 5   MR. GOLDMAN:       Whether -- I asked him whether he was in -- he

 6        said he probably signed it.

 7   MR. HAUSER:       I understand that.   But he doesn't know for
 8        sure.

 9   MR. GOLDMAN:       Okay.

10   A.   I have no idea.
11   MR. HAUSER:       I'm reserving a right to assert all appropriate

12        privilege objections.      I don't know how this came in

13        your hand, but if it wasn't -- if it never got out of
14        a draft, you've improperly got attorney/client or work

15        product privileged documents.

16   MR. GOLDMAN:       Okay.   I take your objection.   I note it, and
17        at the appropriate time, I will show you that your

18        objection is unfounded.

19   Q.   Do you recall preparing this document?

20   A.   No.    No.

21              I tell you again, this is all 20 years ago, and you

22        cannot think that I know everything I did 20 years ago.

23        You should really try that you remember yourself, what

24        you did exactly at this date, with this paper, 20 years

25        ago?    And you are much younger, I tell you again.
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 1                                 REBMANN
 2   Q.   I just asked a question, and I thank you for giving me

 3        an answer.

 4   A.   Yeah.
 5   Q.   Now, let me ask you this:     Did Matthias help you at all

 6        with this lawsuit?

 7   A.   He did, yeah.
 8   Q.   He did?    Can you tell me what he did and how he helped

 9        you?

10   A.   Yeah, but this is not the beginning of -- of his -- of
11        his relation or with his work in -- in the United

12        States.    I think we should start with the beginning.

13   Q.   Okay.
14   A.   Yeah?   This would be help us.     So --

15   Q.   I mean, that's not the question I asked you, but I'm

16        happy to let you start from the beginning.
17   A.   Yes, I think it is much better.      Then you see also the

18        relation.

19   Q.   I'm happy to listen.

20   A.   So we -- we thought about to build our own company in

21        the United States, and this was in 2004, and

22        Dr. Schubert, who signed here this paper, he was

23        prepared to go here to the United States to manage this

24        company.    This was agreed, although his -- his wife

25        would come with him, and all was finalized.
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 1                                 REBMANN
 2            And in the meantime, the market was also -- of

 3        course the market was also -- the Swiss company

 4        responsible, and they had this relation also with Vernon
 5        Walden and with -- with these people.

 6            And then the point was that -- as you call him,

 7        Mr. Rebmann, he was here in the United States, and he
 8        studied here.   We were surprised that he had to study in

 9        United States, but he studied here, and he obviously

10        finished also his --
11   Q.   When you say "we were surprised," who was surprised?

12   A.   Everybody.

13   Q.   Everybody?
14   A.   Everybody.   Family, everybody was surprised that he has

15        to study in the United States.      But it's not important.

16            And he said that he will stay in United States, make
17        a Ph.D., and to -- what he mentioned, to write a book

18        and so on.   Anyway, he was clear he stays in United

19        States.   Then, for some reason, he didn't start the

20        Ph.D.; I don't know why.     And then he had the problem

21        that he had to -- to look for work, and he wanted to

22        stay here.

23            And so we were sometimes in contact, and I told him,

24        "You must find now a position in a bigger company,

25        because with your education, you should -- you should
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                                                                           176


 1                                  REBMANN
 2        have a good job in a -- in a bigger organization."

 3            And he tried, obviously, to find a job.        He did not,

 4        and he came back and told me, you know -- "You know,
 5        I need a green card, and the green card, I get only when

 6        I have a job.   And the people I contact are not prepared

 7        to make this green card for me."
 8            This is this -- this --

 9   MR. ZAENKER:    Documentation?

10   A.   Documentation, yeah.
11            So "I need a green card."

12            So what could we do?     I said, "Okay, you are not

13        interested in our -- in working in our company," this
14        was never the case, and because he studied philosophy

15        and sociology and economy, and we are a simple -- simple

16        trader of some products --
17   Q.   Simple what?

18   A.   Trader.   Trader.   A trader.

19   Q.   Trader?

20   A.   Yeah, of -- of some products.

21   Q.   Yeah.

22   A.   So it's not acceptable.

23            "But what we will try, we will engage you so that

24        you get your green card, and then you go and look for

25        another job.    Because we already organized this new
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                                                                           177


 1                                  REBMANN
 2        company in United States, and Mr. Schubert is prepared

 3        to come here," and so on.

 4            Here, and this is the story.      So he -- he was
 5        engaged here, really for a short time, and he organized

 6        to get the green card.     I don't know what he did at that

 7        time; I only found in his desk a fantastic chart,
 8        internal organization chart, from Lipoid LLC

 9        from October 2005.

10            He is the CM Rebmann registered director of Lipoid
11        GmbH and managing director of Lipoid LLC.       And these

12        obviously are all his employees, all his

13        responsibilities, whatever it is.
14            And I don't know how he got his green card, but he

15        got a green card.    And I still ask him to look for

16        another job, and not to stay there.
17            And then came the -- the phase with Vernon Walden,

18        and he helped me to work on this, but it was always

19        clear he will not stay in this company.

20            And what he obviously told people was completely

21        wrong.   I don't know the documents he supplied -- he

22        gave to support his -- (German spoken.) --

23   MR. ZAENKER:    Application.

24   A.   -- application of a green card.      But I wouldn't like --

25        I wouldn't like to know it.
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                                                                           178


 1                                 REBMANN
 2            And for the rest, naturally, he works now in the

 3        company, and he didn't leave.      And we were surprised,

 4        and Mr. Schubert had to change his plans.       He was not --
 5        he was not really happy about this, because all was

 6        clear, all was decided, and then suddenly I told him,

 7        "You know, Carsten Rebmann is now in this company, and
 8        he has a job."

 9            And then Mr. Schubert said "Okay, so I will -- I

10        will go to Switzerland."
11            So we had -- this is the -- the total story, and

12        this is also described here in this -- in his statement.

13        This is actually quite different from what he tells you,
14        but this is the reality, you see on the paper.

15   Q.   So did you read Mr. Schubert's statement?

16   A.   Yeah.
17   Q.   You did?

18   A.   Yeah.

19   Q.   Did you help him write it?

20   A.   Oh, I didn't know what he did.      You must really see,

21        I was really out of this daily work.       At this date,

22        I was already -- was on 65 years old, and I had other

23        jobs.   In 2002, I had to care for the -- for the company

24        we bought in Koln, for phospholipids.       I was a year in

25        Koln.
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 1                                  REBMANN
 2            And in 2007, we bought a company in Switzerland.

 3        I was a year in Switzerland, but to integrate this

 4        company, not to work for Lipoid LL -- AG.
 5            And so I -- I had -- and then naturally my last job

 6        was when I had to replace him.      So either -- (German

 7        spoken.)
 8   MR. ZAENKER:    Temping here and there.

 9   A.   Yeah.

10            So we bought a company in Koln.      We had nobody who
11        could care for the company, so I went there.        I worked

12        -- I lived a year there, and I organized the company.

13        This was 2002/2003.
14            And then, as I told you, in 2007, we bought

15        Cosmetochem.   The same story:      One year I was in

16        Switzerland, and the company start running, and I was
17        not needed, even before, it was in the '90s, I was

18        a year in China, a year we had a company there.         I was

19        a whole year in China, and naturally I could say that he

20        went --

21   Q.   When were you in China?

22   A.   Sorry?

23   Q.   When were you in China?

24   A.   I don't -- it may be '95, '96, this -- this late.

25            I was nearly a whole year there, and organized the
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 1                                  REBMANN
 2        company.    And so the companies here were running

 3        completely without my influence.      We will some email

 4        exchange, and we had a meeting two, three times per
 5        year.    And that's it.

 6   Q.   So --

 7   A.   And if these people write this here, this there, it's
 8        their responsibility, and I only asked them to -- to

 9        describe what the situation was.

10            But what they write is their -- is their meaning,
11        not mine.    I have no idea what they did.

12   Q.   So your --

13   MR. GOLDMAN:     Read back the last question.     I want to make
14        sure that we come back to where we were with the last

15        question.

16                             (Record read.)
17   MR. GOLDMAN:     No, I meant before the -- where he said he was

18        going to explain everything to me.      You know, it was a

19        good explanation, but I want to make sure we get the

20        answer to my questions.

21                             (Record read.)

22   MR. GOLDMAN:     Go back before that.

23                             (Record read.)

24   MR. GOLDMAN:     Go back, the one before that.     We're getting

25        there.
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                                                                           181


 1                                  REBMANN
 2                              (Record read.)

 3   MR. GOLDMAN:   Yeah.

 4   A.   Yeah.
 5   MR. GOLDMAN:   So that was my question.

 6   A.   Yeah.

 7   BY MR. GOLDMAN:
 8   Q.   What -- what did he do, and how did he help you with the

 9        lawsuit --

10   A.   He helped me a lot.
11   Q.   -- involving Vernon Walden?

12   A.   Yeah, he helped me a lot, there is no doubt.

13   Q.   And did he have an official role in helping you, or --
14   A.   No.

15   Q.   -- an unofficial role?

16   A.   No.
17   Q.   Was his role as a worker for Lipoid, or was it as a son,

18        or was it as just somebody who was a friend of yours?

19        What was his role?

20   A.   It's a question when it was first.      If he was -- if he

21        was already engaged in Lipoid LLC here, so he started

22        obviously in March 1, 2004.

23   Q.   Right, and this is --

24   A.   Well, no, he started later, in -- in October or

25        something, he is starting.
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 1                                 REBMANN
 2              In this lawsuit, I don't know when it was, so

 3        I don't know if at that time he was already engaged in

 4        Lipoid LLC or not.
 5   Q.   The lawsuit started in 2002.

 6   A.   So he was not engaged in the company.

 7   Q.   So what was he -- why would he -- in what capacity was
 8        he helping you?    Was it as an employee of any of the

 9        Lipoid entities?

10   A.   No.   He was never employed, I told you.
11   Q.   Okay.    Was it as a son, maybe?

12   A.   Maybe as a son.

13   Q.   Maybe as a friend?
14   A.   Yeah, and he -- anyway, he got money from us to study

15        United States; he could help me.

16   Q.   He got money from --
17   A.   From me too.

18   Q.   From you, and from the company?

19   A.   You know, when you study in Germany, you need might

20        be -- in a month you need a thousand dollars.        When you

21        study in the United States, you pay it three, four

22        times.

23   Q.   Uh-huh.

24   A.   So it is completely different.

25   Q.   Right.
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 1                                 REBMANN
 2   A.   And for this time, he got money also from me,

 3        personally.   And on the other side, he took the money

 4        from the company, which was his own money.
 5   Q.   But when you say "the company," is it any specific

 6        company, or --

 7   A.   No, it's not --
 8   Q.   -- is it just --

 9   A.   He has only one partnership; this is Grundstucks GmbH.

10        So he could --
11   Q.   I see.   So he took the money --

12   A.   He could take money out of Grundstucks GmbH, and nobody

13        else.
14   Q.   He took it from Grundstucks?

15   A.   Yeah.    From nobody else.

16   Q.   And nobody else?
17   A.   Yeah.

18   Q.   Okay.    And he helped you, and you didn't pay him

19        separately for the help; correct?

20   A.   I don't think so.    He had money.

21   Q.   Hmm?

22   A.   He had money.    He -- he didn't need money.

23   Q.   He didn't need --

24   A.   He didn't need money.

25   Q.   But he helped you?
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 1                                  REBMANN
 2   A.   Yeah.

 3   Q.   Okay.    I see.

 4            And do you have any correspondence from that period
 5        where he was helping you?     Was there anything in

 6        writing?

 7   A.   I don't think so.     I don't know.   Even -- you know,
 8        I changed computer and everything, so I don't think that

 9        I have anything about this time, 2002/2003/'4, no.

10   Q.   All right.   Take a look and see if you have anything,
11        and -- you know, that goes for you, the companies,

12        anybody who worked for you -- if you have anything, we'd

13        like to -- to get that.
14   MR. GOLDMAN:     Now, here is another document that I'd like to

15        have marked.      This is defendant's 16.

16                (Exhibit 16 marked for identification.)
17   BY MR. GOLDMAN:

18   Q.   This one is entitled "SECOND REPLY AFFIDAVIT OF

19        DR. HERBERT REBMANN."

20   A.   Yeah.

21   Q.   And this is also in the case Vernon Walden Inc. v.

22        Lipoid GmbH et al?

23   A.   Mm-hmm.

24   Q.   And it is one that is dated December 27, 2004, and it

25        has Dr. Rebmann's signature on it?
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 1                                  REBMANN
 2   A.   Yeah.

 3   Q.   Okay.    Do you recall this affidavit?

 4   A.   No.   No.
 5   Q.   Do you recall signing it?

 6   A.   No, but --

 7   Q.   That is your signature?
 8   A.   -- it seems -- it seems that I signed it, there is --

 9        there is no doubt.     But I don't remember anything.

10   Q.   I see.
11   A.   You can ask me whatever you want about this; I have no

12        idea.

13   Q.   Okay.    Do you want to take a quick look at that?
14        Because I have one or two questions about this one.

15   A.   If you want.

16   Q.   Well, we're here, so I might as well ask you some
17        questions, and --

18   A.   You are allowed to ask.

19   Q.   I'll try to get some --

20   MR. HAUSER:      Do you want him to read the whole thing?

21   A.   You told me that you are only --

22   MR. GOLDMAN:      I'll ask -- I'll ask a specific question;

23        I just wanted him to look at it so he could get himself

24        familiarized with it, because it is -- it has been a few

25        years.
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 187 of 353
                                                                           186


 1                                  REBMANN
 2   A.   Yeah.

 3   Q.   Let me ask you to look at number 7.

 4   A.   Yeah.
 5   Q.   Okay?

 6   A.   Mm-hmm.

 7   Q.   And I'll ask you to explain that one in the context of
 8        what was going on in this lawsuit.      Can you try to

 9        explain that to us?

10   MR. HAUSER:     I'm sorry, could I hear the question again.
11                              (Record read.)

12   A.   It's a flow sheet.

13   BY MR. GOLDMAN:
14   Q.   Number 7, paragraph.

15   A.   Yeah, 7; I see.    And I should compare it with what?

16   Q.   No, no.    I said can you explain that in the context of
17        what was going on here.

18   A.   "Finally, although Mr. Rohde refers to the operating

19        agreement and corporate by-laws as calling for 'joint

20        management' decision by both him and Mr. Schneider, he

21        fails to refute the economic reality that final say on

22        all management and policy decisions of ... was with

23        myself."

24   Q.   And you signed this, that the economic reality of all

25        management decisions in this joint venture was with you?
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                                                                           187


 1                                 REBMANN
 2   A.   We were the majority owner.

 3   Q.   Hmm?

 4   A.   Our company was the majority owner.
 5   Q.   Yeah.    Now, would you -- and let's read number 8 already

 6        too.    And you might read it for the record, and tell me

 7        if in fact what you stated there was true.
 8            Can you read it out loud, please.

 9   A.   I should -- I should read?

10   Q.   Yes.
11   A.   "Among other things ... I told Rohde to attend certain

12        trade shows and directed that various Lipoid personnel

13        would accompany him, ... directed Rohde to attend
14        planning meetings in Germany and provide a planning

15        schedule ... controlled the contents of press releases

16        or advertisements concerning Lipoid products ...
17        controlled-Lipoid California's expenses and budget ...

18        and unilaterally have decided to terminate the company

19        ... The above" --

20   Q.   All right, we can stop there.

21   A.   Mm-hmm.

22   Q.   But is it not true that the economic reality of what

23        I call the Lipoid group, and you can call the 20-or-so

24        companies that you had, was that you controlled them

25        all?
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 189 of 353
                                                                           188


 1                                 REBMANN
 2   MR. HAUSER:    Objection.

 3   BY MR. GOLDMAN:

 4   Q.   Now answer the question, please.
 5            Is the statement that you made in number 7 equally

 6        applicable to each and every other one of the Lipoid

 7        group companies?
 8   MR. HAUSER:    At what period of time?

 9   MR. GOLDMAN:     During the period of time from 2004 through

10        2015.
11   Q.   And if there is any exceptions to that, can you explain

12        the exceptions.

13            The economic reality is that you controlled all of
14        these companies, one after the other after the other; we

15        can skip all the other details.      I'm asking you that

16        question.    You said it here, and if it's different for
17        anything, I'd like you to explain it, if it doesn't

18        cover everything.

19   A.   I don't understand what you want.      This is an affidavit

20        for this case, for this company, and for nothing else.

21   Q.   Yeah, but you've spent lots and lots of time telling us

22        about all the different structures and everything else.

23   A.   Yeah.   Yeah.

24   Q.   And I'm asking you now a different question, which is

25        the economic reality.    And the economic reality is that
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 1                                   REBMANN
 2        you controlled all of the 20-or-so companies, however

 3        many there were, and that you told everybody else what

 4        to do?   And that's what you say here with regard to
 5        a company, California; I'm asking if that's true for all

 6        the others.

 7            And you're under oath, please.
 8   A.   I should be a very proud guy.        I should be a very proud

 9        guy, to --

10   Q.   Huh?
11   A.   -- to organize all companies myself and make all daily

12        decisions.    I am proud; thank you.

13   Q.   Sorry?
14   A.   I'm proud.    Thank you.

15   Q.   You're proud?

16   A.   Yeah.
17   Q.   I didn't ask you that question, though.       I didn't --

18        I take that as a "yes."

19   A.   No, you tell me -- do tell me that I controlled all

20        these companies, and I say this is -- I'm proud guy, so

21        I thank you for this compliment.

22   Q.   But I'm asking if that is the economic reality, that you

23        control all of these companies.       And if you have any

24        difference of opinion with that, I'd like you to tell me

25        when and which companies of the 20 you didn't control.
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 1                                  REBMANN
 2   A.   It is here defined, policy decisions of Lipoid

 3        California, and nothing else.       When you tell now that

 4        it's for other -- all other companies, you should change
 5        the text.    Here you should write, you should read.

 6   Q.   I'm asking --

 7   A.   Thanks to the few economic realities, the final say on
 8        all management and policy decision of Lipoid

 9        California --

10   Q.   Right.
11   A.   -- was with me -- with myself.

12   Q.   Right.

13   A.   So if -- if this is all companies are Lipoid California,
14        you are right.

15   Q.   Right.

16   A.   But now, you are wrong.
17   Q.   And you are --

18   A.   Completely wrong about this thing.

19   Q.   -- able to do that --

20   A.   No, but you are completely wrong.      The text is

21        completely clear, defined on Lipoid California.

22   MR. GOLDMAN:     Can you read back my question.

23   Q.   And Dr. Rebmann, I'm going to -- if you don't answer my

24        question, okay, I am going to have to go to the court

25        and get an order to compel to you answer my question.
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                                                                           191


 1                                  REBMANN
 2   A.   Yeah.

 3   Q.   You're not answering my question, and you know you're

 4        not answering my question.
 5   A.   What is your -- what is your question?

 6   MR. GOLDMAN:    Read back the question, for the third time,

 7        please.   I've said it several different times in several
 8        different ways, so ...

 9                              (Record read.)

10   MR. HAUSER:    Let me repeat my objection:      He hasn't talked
11        about 20 companies.

12   MR. GOLDMAN:    He mentioned --

13   A.   No.   He --
14   MR. GOLDMAN:    -- that there were 20 companies in his group,

15        although he --

16   A.   He didn't know --
17   MR. GOLDMAN:    -- objects to the use of the word "group"

18        until 2015.   That's my take on it; you may have

19        a different take on it.     You'll get a chance to explain

20        to the judge what the difference is.       But I'm finished

21        with -- you know semantic mumble-jumble.       I want a

22        straight answer here.

23   MR. HAUSER:    I'm going to insist on my objection that I

24        don't think he ever said anything about 20 companies.

25   MR. GOLDMAN:    He did.    It's in the transcript.
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                                                                           192


 1                                 REBMANN
 2   A.   Yeah, I --

 3   MR. GOLDMAN:   He said there were about 20-or-so companies in

 4        his --
 5   A.   But the point is --

 6   MR. GOLDMAN:   -- "not group."

 7   A.   The point is here that this is restricted to Lipoid
 8        California, and not to all others.

 9   BY MR. GOLDMAN:

10   Q.   Let me ask you this:    What was your relationship to
11        Lipoid California?

12   A.   What was my relationship?     I knew Mr. Rohde --

13   Q.   Huh?
14   A.   I knew Mr. Rohde --

15   Q.   I see.

16   A.   -- and I knew Mr. Schneider.
17   Q.   Right.

18   A.   And they ran this company.

19   Q.   And you told them both what to do?

20   A.   Not on a daily basis.    Again, I -- you see, what we see

21        under -- under 8, we see very clearly where the problem

22        is.

23   Q.   Where what?

24   A.   Where the problem is.

25   Q.   What's the problem?
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                                                                           193


 1                                   REBMANN
 2   A.   All these points were not respected.       This is where

 3        there is a problem.

 4   Q.   What do you mean, they weren't respected?
 5   A.   I asked that they do this, but they didn't:

 6            "Among other things, I ... told Rohde to attend

 7        certain trade shows and directed that various Lipoid
 8        personnel would accompany him ... directed Rohde to

 9        attend planning meetings in Germany and provide a

10        planning schedule ... controlled the to content of press
11        releases or advertisements concerning Lipoid products."

12            These were all points which were not respected by

13        him.    That's why they are mentioned here.
14   Q.   Okay.    But what gave you the right to tell Mr. Rohde to

15        do all of these things?

16   A.   Because obviously he did not respect the other people
17        who ask him to do it.

18   Q.   And where does it say that he didn't respect what you

19        said?    You just said that, but it's not in here,

20        and I want to be clear that it's not in here.

21   A.   It is that the -- the problem with Mr. Rohde to explain

22        this, and I think it's important.

23   Q.   Okay.

24   A.   We think we are a very serious company.

25   Q.   Okay.    But what was --
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                                                                           194


 1                                  REBMANN
 2   A.   And -- wait, let's wait.

 3            We are a very serious company, and we never --

 4        (German spoken.) --
 5   MR. ZAENKER:   Blame.

 6   A.   -- blame things which are not proven.

 7            So, for example, when we produced products, and we
 8        describe these products in the specification --

 9   BY MR. GOLDMAN:

10   Q.   You're not answering my question.
11   A.   This is --

12   Q.   And I -- I have to object now to the fact that you're

13        not answering my question.     You're talking about
14        products --

15   A.   I answer --

16   Q.   -- and specification.
17   A.   I answer your question.     No, I answer your question.

18        You've asked me to wait up to the point where I come.

19        I only tell you our philosophy.      That's easy said:     We

20        never -- we never claim things we cannot prove and which

21        are not really justified.     Whereas in this case with

22        Mr. Rohde, and also Mr. Schneider --

23   Q.   You're not even close to answering my question.        You've

24        gone in --

25   A.   I think so.
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                                                                            195


 1                                 REBMANN
 2   Q.   -- totally different places.       And let me -- because

 3        I'm -- I'm trying to help you, actually --

 4   A.   Mm-hmm?
 5   Q.   -- by taking you back to what the question is.

 6   A.   Mm-hmm.

 7   Q.   Okay?   Because I appreciate all the other information.
 8   A.   Mm-hmm.

 9   Q.   I value all the other information; I'd love to hear

10        about it sometime.    You know, maybe when we have the
11        discussion about me coming on the board of your

12        companies.

13            But right now, I just need to get answers to a few
14        questions.   And the question that I had asked you is, by

15        what authority did you tell Mr. Rohde all of these

16        things?
17   A.   Rohde, yeah.

18   Q.   Yeah.   And I think you gave the answer in number 7.        You

19         say:

20            "... the economic reality [was that I had] final say

21        in all management and policy decisions of Lipoid

22        California... "

23            Isn't that what you said?       That's the economic

24        reality; those are your words.      Correct?

25   A.   Yeah.
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 1                                 REBMANN
 2   Q.   So the economic reality was that you had final say on

 3        all decisions relating to Lipoid GmbH; correct?

 4   A.   No.   Lipoid California is here.
 5   Q.   I'm asking you about Lipoid GmbH now.

 6   A.   Yeah, yeah.   Good.

 7   Q.   Okay?
 8   A.   Yeah.

 9   Q.   And I'm asking you if the economic reality was that you

10        had final say on all issues relating to Lipoid GmbH?
11   A.   I would never make a decision against the opinion of

12        other people.   So far -- this is -- never happened in

13        the GmbH.
14   Q.   Sorry?

15   A.   This will never happen, that I have authority to decide

16        myself.
17   Q.   Only for Lipoid California?

18   A.   Yeah.

19   Q.   But not for Lipoid GmbH --

20   A.   No.

21   Q.   -- correct?

22   A.   I would never do.

23   Q.   You would never make a decision for Lipoid GmbH?

24   A.   Not myself.   Not me alone.

25   Q.   Only for Lipoid California, not for Lipoid GmbH?
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                                                                           197


 1                                   REBMANN
 2   A.   This is wholly here for California, because these are

 3        very difficult people who did not respect our

 4        philosophy.
 5   Q.   I see.   And you were going to explain the philosophy,

 6        but hold on, because we'll get back to that; I'll talk

 7        about philosophy in a second.
 8            How about Lipoid AG?      Was the economic reality that

 9        you made all the decisions, that you had final --

10   A.   We have a board.      We have a board.
11   Q.   Huh?

12   A.   We have a board.

13   Q.   You have a what?
14   A.   A board.

15   MR. HAUSER:     A board.

16   BY MR. GOLDMAN:
17   Q.   A board?

18   A.   Yeah.    And the board decides.

19   Q.   But the economic reality was that you owned 100 percent

20        of the company?

21   A.   I never decided something without the board.        There is

22        no doubt.    So you understand, not my -- my -- my -- way

23        to manage a company.

24   Q.   So the only company that you gave dictates to was Lipoid

25        California?
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                                                                           198


 1                                  REBMANN
 2   A.   Exactly.

 3   Q.   Because Rohde wouldn't respect --

 4   A.   These were specially owned by a special company, too, so
 5        this company, which was the owner of this company, had

 6        nothing to do with the rest of the companies.

 7   Q.   I see.
 8            Now, did you keep board minutes for Lipoid GmbH?

 9   A.   Yeah, sure.

10   Q.   You have board minutes?
11   A.   Not here.

12   Q.   Do you have -- do you have them someplace?

13   A.   Sure.
14   Q.   And they show how the decisions were made?

15   A.   They were signed, obviously.        I don't remember who --

16        who signs, yeah.
17            The board meeting is made by Mr. Zirkel, so -- we

18        must ask.    I don't know.

19   Q.   Could you try to find out for me and send me copies?

20   A.   I will look for -- I will look for.

21   Q.   Yeah.    Thank you very much.

22            Now, let me ask you -- we'll go to something

23        a little bit different, because I understand that --

24        what you're saying, and I just want to be clear that

25        I understand it accurately.
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 1                                 REBMANN
 2            So let me show you this document.       This is number --

 3        defendant's 16.

 4   MR. HAUSER:    No, 17.
 5   MR. GOLDMAN:     Is it 17?

 6   MR. HAUSER:    The reply affidavit is 16.

 7   MR. GOLDMAN:     Let's make sure; you may be right.
 8            Yeah, it is 16.     This is 17.

 9              (Exhibit 17 marked for identification.)

10   BY MR. GOLDMAN:
11   Q.   Do you recall this document?

12   A.   I don't remember, but I signed the document.

13   Q.   And you don't remember any of this?
14   A.   I know the story with Mr. Baretz.      You know, Dr. Baretz

15        is our best colleague we have in the United States.         And

16        he was engaged -- I don't know exactly; it was mentioned
17        here, until 2004 or 2005.

18            And he is a fantastic man.      He might be 55 years

19        old, has a lot of experience, and we learned everything

20        from him.    Because naturally, it's the beginning, this

21        was another country; we had problems --

22   Q.   Which question are you answering?

23   A.   The question here, the manager and the member were to

24        enact to install the remitter.

25            So I -- I speak about this one.      Yeah?    It said he
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 1                                 REBMANN
 2        is not allowed to -- to dismiss Mr. Baretz.

 3            And this is my point.      And this was very important,

 4        because Mr. Baretz is really the -- the man who --
 5        who -- who makes everything in this company.        Without

 6        him, we would be lost.

 7            And here, obviously, we -- (German spoken.) --
 8   MR. ZAENKER:    Were prohibiting.

 9   A.   We -- we prohibit whom the -- the -- Carsten Matthias

10        Rebmann assistant manager to suspend Mr. Baretz.
11   BY MR. GOLDMAN:

12   Q.   And who made that decree?

13   A.   Which decree?
14   Q.   It says that you made the decree.

15   MR. HAUSER:    Objection.   There's two signatures on it.

16   A.   We made a decree.
17   MR. GOLDMAN:    It has two signatures on it; I'm sorry.        Let's

18        -- I withdraw that question.

19            Let me ask you this, okay?      This agreement is signed

20        by you as the president of Lipoid Verwaltungs AG?

21   A.   Yeah.

22   Q.   And it's a decree?

23   A.   What's a decree?

24   MR. ZAENKER:    A ruling.

25   BY MR. GOLDMAN:
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                                                                           201


 1                                  REBMANN
 2   Q.   It says:    "The following remittalization decree" --

 3   A.   A ruling; a ruling.    Uh-huh.      Uh-huh.    Mm-hmm.

 4   Q.   And I'm trying to understand why you needed to issue
 5        a decree.

 6   A.   Because I told you, it was extremely important to be

 7        sure that Mr. Baretz will not leave.          And what -- what
 8        his -- his assistant manager made with him, naturally

 9        he -- (German spoken.) --

10   MR. ZAENKER:     He suspended him from work.
11   A.   He suspended him temporarily.        He didn't pay a salary.

12        He really had -- (German spoken.)

13   MR. ZAENKER:     He didn't treat him properly.
14   A.   Yeah.

15            And he was anxious.     He informed me, Mr. Baretz,

16        that he -- he -- he will dismissed.
17   MR. ZAENKER:     He was afraid he would be dismissed.

18   A.   It's long story here, so I have it here.

19   BY MR. GOLDMAN:

20   Q.   So you wrote it in writing?

21   A.   This one?

22   Q.   Yeah.

23   A.   This is in -- this is in writing or not.          This is in a

24        different form or not.

25   Q.   It's in writing, and it's signed; no?
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 1                                  REBMANN
 2   A.   Yeah.   It is signed, yeah.

 3   Q.   Yeah, okay.

 4   A.   And it is true, it's most important.       It's essential for
 5        our company.

 6   Q.   Okay.   And in the entire period since 2004, up until

 7        this period of time, do you recall if there were any
 8        other decrees or --

 9   A.   I don't think so, no.

10   Q.   No?
11   A.   No, I don't think so.     This was really an urgent

12        situation.

13   Q.   Okay.
14   A.   And this was advised by a -- by a consultant, actually,

15        that we do this.

16   Q.   Where was the consultant?
17   A.   I don't know who he was.

18   Q.   Okay.

19   A.   Because it says made by Dr. Rimmel, and he organized it.

20   Q.   Okay.   So Matthias -- I'll go back to where we were

21        before and I -- I do thank you for all the other

22        information.

23              Matthias was -- helped you with the lawsuit with

24        Vernon Walden; correct?

25   A.   Yeah.
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 1                                 REBMANN
 2   Q.   And I asked you how he helped you, and I'm not sure

 3        I had an answer to that question, but I'd ask you again,

 4        and if you already answered, forgive me.
 5   A.   No, no, no, we didn't speak about this, how did he help

 6        me.   So we -- we were discussing with a lawyer, he was

 7        looking for a lawyer, so he -- he helped a lot, but
 8        I told you already.

 9   Q.   Did he help you with putting together the case, dealing

10        with some of the issues in the case, explaining to you
11        the American legal principles?      I'm just curious if you

12        recall any of that.

13   A.   Well, we had a lawyer; if he -- if he had this
14        explication, the lawyer would have given us the

15        explication.   We both know lawyers in the United States,

16        so the case was surely -- (German spoken.) --
17   MR. ZAENKER:    Organized.

18   A.   By a lawyer, by a lawyer.

19   BY MR. GOLDMAN:

20   Q.   Okay.   So I guess I'm -- do you remember the specifics

21        of how he helped you?

22   A.   No.

23   Q.   But you do recall that he helped you?

24   A.   Nothing at all.   I know that he helped me, and -- but

25        how he organized his -- everything, I have no idea.
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 1                                 REBMANN
 2   Q.   And in the middle of this case, he also helped you find

 3        space in New Jersey?

 4   A.   It is in the middle of the case, or it is just before or
 5        after, you will see it from the date; it was in 2004.

 6        You said the case was in 2002.

 7   Q.   Right.
 8   A.   I don't know how -- the timing of --

 9   Q.   Did he help you find space in New Jersey?

10   A.   New Jersey, you saw this -- this information of our
11        colleagues.

12   Q.   I'm asking if you remember --

13   A.   I was not there.    I don't remember.    I can only tell you
14        what the other people tell me.      I was not there; I did

15        not decide anything.    But I know what they told me, and

16        they told me that he was helping them.        But not me.
17   Q.   Okay.

18            Did -- did he assume a position with the company?

19        Was he given a title by the company?

20   A.   Which company?

21   Q.   Lipoid LLC.

22   A.   Lipoid LLC, he was -- naturally, he was -- he has -- he

23        had -- he had an incumbency -- actually, it's

24        official -- I am the president; he is the secretary, and

25        so on.   We have it here.    Wait a moment.
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 1                                 REBMANN
 2   Q.   He was given a title at the company?

 3   A.   Yeah, he was -- he was secretary, and --

 4   Q.   Secretary?
 5   A.   Secretary, and what else; he was -- he had many titles.

 6        We have the official -- we have an official

 7        incumbency document on this.
 8   Q.   Was he given the title of vice-president?

 9   A.   Let's see what is written in this document, so we can

10        see exactly.   I must have it somewhere.
11                       (Discussion in German.)

12   BY MR. GOLDMAN:

13   Q.   Dr. Rebmann, let's answer the questions, and then we can
14        look for documents later.     These are all documents that

15        I -- I suspect you should have produced a while ago, and

16        then I would have them, and I could ask you questions
17        about them.

18            But we're taking a lot of time now going through

19        documents when I have not asked you a question that

20        requires going through documents.

21   MR. HAUSER:    I think this is something you've got, because

22        I'm pretty sure this one is --

23   MR. GOLDMAN:    I have one resolution, but I've got a half a

24        dozen other things, and each one says something entirely

25        different, and so I'm trying to ask what
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                                                                            206


 1                                 REBMANN
 2        Dr. Rebmann recollects --

 3   MR. HAUSER:     What he's -- what he's telling you is he needs

 4        to refer to the documents to --
 5   MR. GOLDMAN:     I understand, but I --

 6   MR. HAUSER:     -- refresh his recollection.

 7   A.   No, but it's completely clear:      I was the president at
 8        that time, you know?    So it's completely clear.      So

 9        where is the problem?    I don't see the problem.

10                        (Discussion in German.)
11   MR. HAUSER:     Why don't we go off the record for a moment and

12        try and get this cleared up.

13   (2:36 p.m.)
14                          (A break was taken.)

15   (2:41 p.m.)

16   BY MR. GOLDMAN:
17   Q.   Okay.    So after Matthias found the space in New Jersey;

18        right?

19   A.   Together with my colleagues.

20   Q.   With your colleagues.

21   A.   Yeah.

22   Q.   Okay.    Then what happened?   Did he start working for the

23        company?

24   A.   As it was mentioned here in this -- in this document you

25        have, he obviously looked from time to time there.          And
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 208 of 353
                                                                           207


 1                                 REBMANN
 2        Mr. Schubert organized this, and he described exactly

 3        what happened.   So I cannot tell you better than he did,

 4        because I was not involved.
 5   Q.   I see.   Let me ask you this:      Did you speak to Matthias

 6        on a regular basis?

 7   A.   We were --
 8                      (Reporter clarification.)

 9   WITNESS:     I think so.

10   A.   At that time, yeah, should be.      I'm not sure, but --
11        yeah.

12   BY MR. GOLDMAN:

13   Q.   Did you speak to him every day -- she can't write down
14        the expressions; you have to --

15   A.   Yeah it's difficult to --

16   Q.   -- try to say it in words.
17   A.   -- to write it, yeah.

18   Q.   It's hard to say it in words --

19   A.   It's -- right, yeah.

20   Q.   -- but we need words.

21   A.   So -- no, I cannot tell you how often and -- I don't

22        know.    We were in contact, anyway.

23   Q.   Maybe every day?

24   A.   I don't think so.

25   Q.   And you discussed the business of the company?
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                                                                           208


 1                                  REBMANN
 2   A.   At that time, surely the -- the -- the lawsuit.

 3   Q.   Regarding the lawsuit?

 4   A.   Yeah.    Because we had --
 5   Q.   How about the business of the company?

 6   A.   He had nothing to do with the business.       The business

 7        was made by -- by the -- by the Swiss people.
 8                       (Reporter clarification.)

 9   WITNESS:     "Swiss -- Swiss people."

10   A.   Only when he was engaged, surely he -- he took over, but
11        not through me.

12   BY MR. GOLDMAN:

13   Q.   He took over, but not through you?
14   A.   I say "surely," I don't know.       I don't know anything

15        about this whole story.      You should rely on this -- on

16        this information my colleagues get you, and this is what
17        I know.

18   Q.   So you spoke to him on -- you don't recall if it was

19        every day; do you recall speaking to him about the

20        Lipoid LLC business or the US markets?

21   A.   When he was engaged as a -- as a secretary -- after he

22        was engaged, surely; but not before.

23   Q.   Okay.    Do you recall whether he had any other titles,

24        aside from secretary?

25   A.   Yeah, I -- you saw it in the paper.      Three titles; he
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                                                                           209


 1                                  REBMANN
 2        had three titles in this --

 3   Q.   What were the three titles?

 4   A.   You exactly saw it now; you say you have it.        I can tell
 5        you again.

 6   Q.   Was he the -- the -- I know what you're going to show

 7        me, which is the one --
 8   A.   Yeah, but this what you asked me.      You should be ask

 9        other things if you don't want it.      Here --

10   Q.   I should what?
11   A.   -- president is Dr. Herbert Rebmann; vice-president is

12        C. Matthias Rebmann; treasurer is C. Matthias Rebmann;

13        secretary is C. Matthias Rebmann.      And this is signed
14        on November 22 in 2005 by C. Matthias Rebmann,

15        secretary.

16   Q.   Okay.
17   A.   This is what you have here.

18   Q.   Do you have any other papers that show that C. Matthias

19        Rebmann had a different title with the company?

20   A.   This is all fixed in these bylaws, which you have too.

21   Q.   Okay.

22   A.   Here.   All mentioned here.

23   Q.   Was Matthias ever appointed the president of the

24        company?

25   A.   Not by me.
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                                                                           210


 1                                 REBMANN
 2   Q.   Not by you?    Who would have appointed him president, if

 3        not you?

 4   A.   I don't know.
 5   Q.   Was he ever appointed a managing director of the

 6        company?

 7   A.   I think this is written there, and he can use this -- he
 8        can use different titles.       So obviously this is

 9        relatively -- not clearly --

10   Q.   And who -- who appointed him to that position?
11   A.   He, himself.

12   Q.   He appointed himself?

13   A.   Yeah, not me.    I never did.
14   Q.   And was he paid by the company?

15   A.   Sure.

16   Q.   And did you approve the payments?
17   A.   Sure.

18   Q.   You did?

19   A.   Sure.

20   Q.   And was he working for the company?

21   A.   When he was -- when he was engaged there, true.

22   Q.   And when was he engaged there?

23   A.   I -- you saw it.    I think it was in October or September

24        2005.

25   Q.   2005, or 2004?
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                                                                            211


 1                                   REBMANN
 2   A.   It was in 2005, isn't it?

 3   Q.   Okay.   Let me -- let me ask --

 4   A.   I don't know.
 5   Q.   Okay.

 6   A.   I don't know.

 7   Q.   All right.    Whatever it is, we'll check the papers --
 8   A.   Yeah.   I don't know it.

 9   Q.   -- and we can see that.

10            Do you recall who set up Lipoid LLC?
11   A.   The documents for the -- (German spoken.) --

12   MR. ZAENKER:   Foundation.

13   A.   -- foundation are not there anymore.       We have no
14        documents.    I know that I signed them, but there are no

15        documents now of ...

16   BY MR. GOLDMAN:
17   Q.   Do you recall who filed the formation documents for

18        Lipoid LLC?

19   A.   Which information?

20   MR. ZAENKER:   No, "formation."

21   BY MR. GOLDMAN:

22   Q.   Formation documents.

23   A.   I signed it.

24   Q.   You recall that?

25   A.   I recall this.    But we don't find any paper anymore.       We
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 213 of 353
                                                                           212


 1                                 REBMANN
 2        find no papers in our office.

 3   Q.   Do you recall who prepared the operating agreement of

 4        Lipoid LLC?
 5   A.   This was sent to me by -- by your client.

 6   Q.   Why was it he who sent it to you?

 7   A.   Because I don't have the American formalities, and the
 8        American --

 9   Q.   Mm-hmm.

10   A.   -- documents, and so on.
11   Q.   I see.

12   A.   We don't know how this is done in the United States, in

13        Germany, or in Switzerland.
14   Q.   So you relied on him to do that?

15   A.   Sure, I think so.

16            And he naturally cared for all these registrations
17        and these things.

18   Q.   So he took care of the registrations?

19   A.   Yeah, sure.   He surely -- he surely cared for the

20        company.

21   Q.   Okay.

22   A.   Yeah.

23   Q.   And he did that as part of his job with the company?

24   A.   I think so.   I think, yes, he does his job.

25   Q.   I'm sorry?
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                                                                           213


 1                                 REBMANN
 2   A.   This is his job.    He does his job.

 3   Q.   That was part of his job?

 4   A.   I think so.    So he was really looking with other
 5        consultants what he has to do, and how, and so on.         So

 6        he was really organizing this.

 7   Q.   I see.   So he organized Lipoid LLC?
 8   A.   He -- he organized the documents, but if he was the

 9        founder, okay.

10   Q.   So he organized the documents for Lipoid LLC?
11   A.   The formalities and all these things we needed, we -- he

12        cared for.

13   Q.   I'm sorry?
14   A.   All the formalities, these things, he cared for.

15   Q.   I see.

16            Now let me show you -- and just because I did not
17        want to carry too many papers, I have copies of what are

18        exhibits B and C to the original operating agreement of

19        Lipoid LLC.

20   MR. GOLDMAN:    And maybe we can mark these two exhibits, as

21        well, as defendant's 18 and 19.

22         (Exhibits 18 and 19 marked for identification.)

23                      (Discussion off the record.)

24   BY MR. GOLDMAN:

25   Q.   And I'm asking if you are familiar with these two
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                                                                           214


 1                                 REBMANN
 2        documents.

 3   A.   No, I don't think so, that I saw.

 4            You have also exhibit B -- A?      You have also
 5        exhibit A?

 6   Q.   Well, I don't have exhibit A.

 7   A.   This is public.     This could be in my documentation.
 8   Q.   Unless it's the certificate from the Secretary of State,

 9        which it may be, and I have your signature on the entire

10        document, so that's what I've got.
11   A.   Because I'm missing the exhibit, so that's very nice,

12        because I never got them.

13                        (Discussion in German.)
14   MR. HAUSER:    His -- his copy of the agreement doesn't have

15        any exhibits.

16   A.   Yeah.
17   MR. GOLDMAN:     I think we got these from you.

18   MR. HAUSER:    I think you're right, from the production

19        number.

20   MR. GOLDMAN:     Yeah.   I think we got these -- and I -- I

21        guess one of my questions is, where are the other

22        exhibits?

23   MR. HAUSER:    If -- you got whatever I have, whatever our

24        office has.

25   MR. GOLDMAN:     I'd like to get the other exhibits, and I'd
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 216 of 353
                                                                           215


 1                                 REBMANN
 2        like to ask Dr. Rebmann --

 3   MR. HAUSER:    What other exhibits are there?

 4   MR. GOLDMAN:    -- to try to find them.
 5            There's a table of exhibits --

 6   MR. HAUSER:    Yeah.

 7   MR. GOLDMAN:    -- A, B, and C.    A is the articles of
 8        organization --

 9   MR. HAUSER:    Yeah.

10   MR. GOLDMAN:    -- which is not that significant, but the
11        exhibit D is the member's guarantee of LLC obligations;

12        and exhibit E is a member's salary for services to the

13        LLC, and I'd like to see those.
14   A.   Yeah.   Me too.

15   MR. HAUSER:    Well, here's -- here's the issue:       I don't

16        know -- I mean, as things stand, from what I know, my
17        office has more than Dr. Rebmann has, because you

18        obviously got exhibit B and C from my office.        He

19        doesn't have even exhibits B and C, much less any of the

20        others.

21   MR. GOLDMAN:    Well, he should ask Mr. Von Fluhe, or some of

22        these other people that do all the work in his company,

23        and somebody should have this, I would think.

24   MR. HAUSER:    You would think they'd be in the records of

25        Lipoid LLC.
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                                                                           216


 1                                   REBMANN
 2   WITNESS:     Yeah, sure.    They should be there.

 3   MR. HAUSER:    But if they are, I believe my office would have

 4        them.    I think the place to start would be with
 5        Dr. Baretz, but all we can do is find out.

 6   WITNESS:     No, we don't have it.

 7   BY MR. GOLDMAN:
 8   Q.   You may not have?

 9   A.   We don't touch -- why should you have it?        From whom

10        should you have it?
11   Q.   From Dr. Baretz.

12   A.   We haven't.    We haven't.    No, we have no documents at

13        all, in our -- in our company.
14   Q.   Uh-huh.

15   A.   So all these things are missing.

16   Q.   But these were signed by --
17   A.   I never saw.

18   Q.   These are signed -- the document itself is signed by

19        Herbert Rebmann on behalf of REFU Verwaltungs.

20   A.   Mm-hmm.

21   Q.   So to me, it would seem REFU Verwaltungs, which became

22        R&R Verwaltungs, I think --

23   A.   No, no.

24   Q.   -- should have copies --

25   A.   No, no, no, no.       Separate companies.   Separate
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                                                                           217


 1                                 REBMANN
 2        companies.

 3   Q.   Yeah, but they should have copies.

 4   A.   No.    We never had.
 5   Q.   Okay.

 6   A.   We never got it.    All I have -- you see, I got this as

 7        a -- as a fax from -- from LLC on November 21st,
 8        in September 2005.     This is all I have.    The fax number

 9        is 19737352698.

10   Q.   You see a fax number?
11   A.   Yeah.

12   Q.   On which?

13   MR. HAUSER:    That's his copy of the operating agreement.
14   A.   Yeah.

15   MR. GOLDMAN:     Well, I have two operating agreements from

16        that period, so -- and I got them both from you, so --
17        I -- I don't know what to make of that.

18   A.   It's --

19                       (Reporter clarification.)

20   MR. HAUSER:    That's okay.

21   BY MR. GOLDMAN:

22   Q.   All I can do is ask if you have them.

23   A.   Yes.    You should ask the signers.    This is C. Matthias

24        Rebmann who signed all these exhibits; he might have a

25        document.
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                                                                           218


 1                                  REBMANN
 2   BY MR. GOLDMAN:

 3   Q.   Well, I have these; I don't have the other ones.

 4            But -- so I guess what you're also telling me is
 5        that Matthias Rebmann was involved -- and you said this

 6        already --

 7   A.   Yeah.
 8   Q.   -- so I don't want to go backwards --

 9   A.   Yeah.    Yeah.

10   Q.   -- he was involved in --
11   A.   Yeah.    Yeah.

12   Q.   -- the organization of the company --

13   A.   Yeah.    Yeah.
14   Q.   -- correct?

15   A.   Yeah.

16   Q.   Okay.
17   MR. GOLDMAN:     Let's mark this one, I think, as number 20.

18                (Exhibit 20 marked for identification.)

19   MR. HAUSER:     This is exhibit 20, you said; right?

20   MR. CARSTEN REBMANN:      They should be in the corporate

21        binders.

22                         (Reporter clarification.)

23   MR. CARSTEN REBMANN:      They should be --

24   MR. HAUSER:     My client says --

25   MR. CARSTEN REBMANN:       -- in the corporate binders.
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                                                                           219


 1                                 REBMANN
 2   MR. HAUSER:     -- all of these are in the corporate binders

 3        for these companies.

 4   A.   I tell you again, we didn't find anything, US document
 5        in our office when I -- when we left.       This is the

 6        point.    We were asked for the -- for the -- from the tax

 7        people, we've sent some information off, this and that;
 8        we heard nothing about it.

 9   BY MR. GOLDMAN:

10   Q.   But I got these from you, so that doesn't sound so
11        accurate.

12   A.   Not from me, but from somebody else, might be.

13   Q.   Okay.    But -- you know, when I say "from you," I mean
14        you or --

15   A.   Yeah.

16   Q.   -- anyone who works for you.
17   A.   Yeah.    I even look for this too; I would be very happy

18        to ask them.

19   Q.   Yeah.

20            So we've established that Matthias worked for the

21        company?

22   A.   Yeah.

23   Q.   We've established he was paid by the company?

24   A.   Mm-hmm.

25   Q.   We've established that he helped organize the company?
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                                                                           220


 1                                  REBMANN
 2   A.   Exactly.

 3   Q.   We've established that he helped you with the

 4        litigation?
 5   A.   Yeah.

 6   Q.   Right?

 7   A.   Yeah.
 8   Q.   And all this time you were telling him that he had to

 9        get out and go do something else?

10   A.   Exactly.   You know, this is -- he studied for more than
11        10 years, 11 years.    So with this study in the

12        background, philosophy and so on, to do this trading

13        business is ridiculous.
14   Q.   What's ridiculous?

15   A.   It is ridiculous as shock, this -- what you can do with

16        this company, you do now, everybody can do without
17        education.    He studies 11 years, and then he should

18        continue to -- he should work with this, for him,

19        without any experience, he had no idea about the

20        products, about the market; nothing.       But he's an

21        expert; he studied economy, he studied philosophy and --

22        and sociology and journalistic and whatever he did, and

23        how he should run the company, which is ridiculously

24        small?

25            I would not do.    And this was my -- this was also my
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                                                                           221


 1                                  REBMANN
 2        idea.    And he tried to find other things, I am sure.

 3        I have no proof of this.

 4   Q.   Okay.    So he ran the company --
 5   A.   I got --

 6   Q.   -- between 2004 --

 7   A.   He got this job --
 8   Q.   -- and 2011?

 9   A.   He got his job because he needed a green card.        And this

10        green card he organized in a way -- I don't know how.
11            And then it was agreed that he will look for a real

12        job, and I asked him this several times.

13   Q.   Did you at any point in time write to him and say, "Find
14        another job"?

15   A.   Yeah.

16   Q.   This is between 2004 and 2010.
17   A.   Yeah.

18   Q.   You did?

19   A.   Yeah.

20   Q.   Can you give me copies of those letters?

21   A.   I will do.   I will do.    I will do.

22   Q.   Can I --

23   A.   I don't have it here, but I will do.       On my computer,

24        I saw.

25   Q.   Okay.    I need every document --
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                                                                           222


 1                                  REBMANN
 2   A.   Exactly.   You will -- you will receive them.

 3   Q.   -- that you have relating to --

 4   A.   Yeah.
 5   Q.   -- Matthias's employment by the company, and I need them

 6        in a hurry.    When do you think you can get them to me?

 7   A.   Yeah, I must look.
 8              Anyway -- anyway, he was interested in making a

 9        Ph.D., and later big -- big position here in the

10        American industry, and not run this company.
11   Q.   And he continued to be interested in making the Ph.D.?

12   A.   I don't know.   You must ask him.     I don't know why he

13        didn't do with this Ph.D.     I was surprised, because he
14        told it to everybody.     He surely knows why he didn't do

15        it.

16              He even told that -- you saw it; it said he starts
17        Ph.D. without having a final examination.       And I think

18        this is not possible.     Maybe the United States, but not

19        in our country.

20   Q.   All right.    So --

21   A.   So you -- first you need the final examination, and then

22        you can start the Ph.D.     At least in our country,

23        situation -- I don't know how it is here.

24   MR. GOLDMAN:    What was my last question?

25   Q.   I really -- you're getting a chance to talk, and I'm
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                                                                           223


 1                                   REBMANN
 2        trying not to stop you, but I want as part of your talk

 3        for you to answer my questions, because --

 4   A.   I try.   I try.
 5   Q.   -- the answers are important.

 6   A.   I try to do so, no doubt.      I understood what you told

 7        me.
 8   REPORTER:     Last question?

 9   MR. GOLDMAN:    Yeah.

10                              (Record read.)
11   MR. GOLDMAN:    And go back one before that.

12                              (Record read.)

13   BY MR. GOLDMAN:
14   Q.   Okay.    So we'll -- we'll get that --

15   A.   We will do.    We will do.

16   Q.   -- from you.    Now --
17   A.   Yeah.

18   Q.   During this period, 2004 to 2010, okay, you spoke to

19        Matthias on a regular basis?

20   A.   Sure.

21   Q.   Okay.    Did you discuss the business of Lipoid LLC?

22   A.   He -- he was the -- he had no idea about the products;

23        he had no idea about the market.       He -- somebody had to

24        tell him how to do.       And therefore, you saw it also,

25        Mr. Schubert came here and went with him -- went on
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 1                                 REBMANN
 2        trips to customers, and everybody tried to educate him.

 3        And this is a special field.

 4   Q.   Did you try to educate him?
 5   A.   Sure, I told him --

 6   Q.   You did?

 7   A.   Yeah, sure.
 8   Q.   Were you able to educate him?

 9            She can't write down that you just --

10   A.   I cannot say --
11   Q.   -- delivered that expression.

12   A.   -- that I am a good --

13   Q.   So you have to try to express the words.
14   A.   I cannot say that I'm a good -- I cannot say that I'm a

15        good teacher, so I cannot -- (German spoken.) --

16   MR. ZAENKER:     Judge.
17   A.   I cannot judge.

18   BY MR. GOLDMAN:

19   Q.   You can't what?

20   A.   Judge it.

21   Q.   But you tried?

22   A.   Hard.

23   Q.   Hmm?

24   A.   Hard.

25   Q.   You tried hard?
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                                                                           225


 1                                 REBMANN
 2   A.   Yeah.

 3   Q.   And you can't say whether you were successful?

 4   A.   Yes.
 5   Q.   And when --

 6   A.   Many people tried; not only me.      So I cannot not say

 7        I was responsible.    Many people told him this and that.
 8   Q.   Okay.   And you can't say whether you were successful?

 9   A.   It's difficult to define "successful."

10   Q.   What were the company's sales in the United States?         By
11        "the company," I mean Lipoid GmbH, Lipoid --

12   A.   You have -- you have the list there.

13   Q.   -- AG -- no, but I'm going to ask you what it was in
14        2004.

15   A.   It is there, on the list.     It is on the list.

16   Q.   2004 is here?
17   A.   You have the list there.     For each company.

18   Q.   So is it correct to say that in 2004, the sales were

19        about €1 million?

20   A.   The figures you have there.     I don't know.

21   Q.   You don't know?

22   A.   These are the figures.

23   Q.   Okay.   And in looking at these figures, in eight years,

24        the sales went up four, five hundred percent?

25   A.   No, you cannot -- you cannot -- have no idea about the
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 227 of 353
                                                                           226


 1                                 REBMANN
 2        market.   We have products which cost some thousands.

 3   Q.   What?

 4   A.   We have products which cost some thousand dollars per
 5        kilo.   Yeah?   And sometimes a company buys; sometimes it

 6        doesn't buy.    When the company buys, let's say,

 7        100 kilo, we have a turnover of 200,000.       But the
 8        customer may buy this year or not, so you cannot say

 9        "I try now to increase my turnover" --

10   Q.   But during -- during the period --
11   A.   Yeah.

12   Q.   -- that Matthias was doing a terrible job --

13   A.   Yeah.
14   Q.   -- didn't know anything --

15   A.   Yeah.

16   Q.   -- the sales went up 500 percent?
17   A.   No, sorry, sorry, it is not true.      And you must see the

18        product develops.

19   Q.   I'm just going at the numbers, looking at the numbers.

20   A.   But you must explain the reason why.

21   Q.   Why?

22   A.   So when -- when you start the product now, you are

23        pharmaceutical company, and you start production, so you

24        start with 10 kilos; and after five years, you may come

25        to 500 kilos, and we sell it, but without any merit from
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                                                                            227


 1                                 REBMANN
 2        our side, we simply produce it, because --

 3   Q.   But somebody has to sell it in the United States.

 4   A.   No, it's the question -- it's the question if the
 5        customer you have is successful or not, and most of our

 6        customers, like I told you, are not successful.        So far,

 7        the -- the numbers to tell people you have now to
 8        increase the turnover from this and that is completely

 9        ridiculous; it's not our interest.

10   Q.   But I don't understand what you're saying; I really
11        don't.   I'm usually pretty good at understanding people.

12        So could you try to explain it to me better?

13   A.   Yeah.    I don't know, if you can't understand or not.       We
14        have a customer, let's say, who has a turnover of

15        2 million, and the -- the customer stops from one year

16        to the next, so you lose 2 million.
17   Q.   But you were selling to the US -- the business that was

18        being generated by the US entity went up 500 percent?

19   MR. HAUSER:    Objection.

20   A.   500 percent?

21   MR. HAUSER:    That's -- that's not what this says.

22   A.   What is 500 percent?

23   MR. GOLDMAN:    I'm trying to understand this.

24                       (Reporter clarification.)

25   MR. GOLDMAN:    He's not arguing with the fact; he's arguing
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 229 of 353
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 1                                 REBMANN
 2        with what it means, and I'm trying to ask him if he

 3        disagrees with the fact or not.

 4   MR. HAUSER:    I object to your characterization of the
 5        exhibit and the use of the percent.      The total sales to

 6        the US went up less than 100 percent.

 7   MR. GOLDMAN:     I'm talking about Lipoid GmbH --
 8   A.   Yeah.   Yeah.

 9   MR. GOLDMAN:     -- as a separate entity.

10   MR. HAUSER:    Okay.
11   A.   Yeah, but 500 percent from one German market is 500 --

12        it is a --10, and 500 percent would be 5,000.        So he --

13        ridiculous.
14                        (Reporter clarification.)

15   BY MR. GOLDMAN:

16   Q.   I can't hear that, and I don't know if the reporter can
17        hear it either.     So could you say it again, what you

18        just said?

19   A.   No, I think what you calculate is of no -- of no

20        importance.     It's really not at all reasonable.

21   Q.   Okay.   I have your answer to a question I didn't ask,

22        which is:    Is it important?   Okay?   And you have already

23        answered the question I didn't ask, saying it's not

24        important, but you're not denying the fact that Lipoid

25        GmbH, the sales went up 500 percent during this period?
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                                                                           229


 1                                  REBMANN
 2   A.   How do you -- 100 -- what is 100 percent?       100 percent

 3        is -- is hundred times the same, or what is 100 percent?

 4   Q.   100 percent mean's it's doubled.
 5   A.   It's doubled; yeah.

 6   Q.   500 percent means it went up five times.

 7            Let me move on.    Who organized the purchase of
 8        American Lecithin Company?

 9   A.   The next joke.   This is Mr. Wendel.     Mr. Wendel.

10   Q.   Mr. --
11   A.   W-E-N-D-E-L.

12   Q.   Okay.

13   A.   Yeah.    He organized this.   He made the -- the
14        discussion, he made everything.      He signed all the

15        contracts.

16   Q.   And --
17   A.   Mr. Wendel is from Phospholipid, in Koln.

18   Q.   And who found American Lecithin Company?

19   A.   Again, if you take the time, I will tell you.        The

20        American Lecithin Company was an American company which

21        was sold to Nattermann.     Nattermann was a German

22        affiliate of Rhone Poulenc Rorer.

23                       (Reporter clarification.)

24   A.   Rhone Poulenc Rorer -- no, not Rhone Poulenc, there's

25        another company, an American company which is R&R --
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                                                                           230


 1                                 REBMANN
 2        anyway, Rorer, Rorer -- yeah, Rorer, this is a

 3        pharmaceutical company in the United States.

 4   MR. HAUSER:    Hold on, she's got a question.
 5                      (Reporter clarification.)

 6   WITNESS:   N-A-T-T-E-R-M-A-N-N.

 7                      (Reporter clarification.)
 8   WITNESS:   Rorer, Rorer, R-O-R-E-R.

 9   A.   This is a pharmaceutical company in the United States.

10        And they were -- they had this company, I think, and
11        then they sold American Lecithin to Mr. Zigmont.

12        "Zigmont" is Z-I-G-M-O-N-T.

13            And Mr. Zigmont was the owner of American Lecithin,
14        and -- for two or three years, and then he sold his

15        company to us.

16   Q.   Was Matthias at all involved in that?
17   A.   Basically not.   This was all done -- it is a personal

18        story, because -- you know, Mr. Wendel sold American

19        Lecithin to Mr. Zigmont three years before, and then he

20        had to buy it back, because in the meantime we bought

21        Phospholipid, and so now he was a member of the group --

22        you say group.

23            And so he was personally good friend of Mr. Zigmont,

24        and he sold it, and then he had to sell it -- to buy it

25        again.   And they made this complete discussion, and
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                                                                           231


 1                                 REBMANN
 2        Mr. Zigmont was in Germany for several days, and they

 3        were discussing here and that -- and it was Mr. Wendel

 4        who made everything.    And he signed also with Zigmont.
 5   Q.   So you are saying that Matthias had nothing to do with

 6        that?

 7   A.   He had nothing to do with this, up to this moment.
 8        Then --

 9   Q.   Up to this moment?

10   A.   Yeah.
11   Q.   And did he become the president of this company after it

12        was acquired?

13   A.   He made himself president.     I don't know how.     I was
14        just really surprised to see that's he president.

15        I never knew that.

16            So we started as director; he was director and I was
17        a director of American Lecithin.      And he finally became

18        president by his own decision.

19   Q.   So from 2004 through 2010 -- one more question -- you

20        said he -- and you know, I can -- I might as well show

21        you the document.

22   MR. GOLDMAN:     Let's mark this one number 21, I think.

23                (Exhibit 21 marked for identification.)

24   A.   Yeah.

25   BY MR. GOLDMAN:
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                                                                           232


 1                                  REBMANN
 2   Q.   You recall this letter?

 3   A.   Yeah.   Yeah.

 4   Q.   Okay.   And you said that it was based on his
 5        "unwillingness to work with the parent company and

 6        others within our group."

 7            Okay?    Are those your words?
 8   A.   Yeah.   I read it.

 9   Q.   Okay.   Now, what did you mean when you wrote the

10        sentence:
11            "... it is based on your unwillingness to work with

12        the parent company and others within our group"?

13            And I'll take a moment to break it down into several
14        questions; okay?     We'll try to break it down into a few

15        questions.

16            Who is the parent company that you're talking about
17        here?

18   A.   This is naturally the -- the Lipoid Verwaltungs AG,

19        there's no doubt.

20   Q.   It's obviously that?

21   A.   Yeah.

22   Q.   And who was he unwilling to work with?

23   A.   It was eternal struggle.     When I was in the Swiss

24        company, Cosmetochem, and I told you I was there holding

25        the product for the company for one year.       At least two,
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 1                                  REBMANN
 2        three times, twice or three times per -- per week,

 3        people were -- were -- were crying on me, "These

 4        Americans, these Americans, they want this, they want
 5        that, they do this, they do that, they don't pay" -- it

 6        was eternal struggle between the people in Cosmetochem

 7        and Lipoid LLC.
 8              And Lipoid LLC always wanted an answer immediately,

 9        but they never replied.     So it was an eternal struggle,

10        and it was terrible.    And this was in Switzerland.
11   Q.   What year -- what year was this?

12   A.   When I was -- 2007, 2008, I was there, yeah, at that

13        time.   And I naturally was not so often there, so
14        I don't know how it continued.

15              It was the same thing in Germany:     "The Americans

16        want this, the Americans want that."       And this is as
17        though the Americans were the ugly people, the most ugly

18        people we know.

19              But since he left, the Americans are all our

20        friends.   We are all, really, happy and --

21   Q.   So he -- he was the American?

22   A.   He was the American, yeah.     He was the American.

23   Q.   He was the American?

24   A.   Yeah, Americans, the Americans.

25   Q.   Ah.   He was all of the Americans?
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 1                                 REBMANN
 2   A.   He -- yeah, he was the -- naturally, he -- he

 3        represented the Americans.     The Americans -- as the

 4        company was run by him, naturally the Americans had --
 5        personally fight him.    And this --

 6   Q.   Do you have any documents relating to what you just

 7        said?   I'm not sure I understand it, but I would ask if
 8        you have any documents --

 9   A.   This is --

10   Q.   -- that support what you just said.
11   A.   Everybody can confirm this.     He was terrible.

12   Q.   Huh?

13   A.   Everybody can confirm in our company --
14   Q.   I'm asking if there are any documents that confirm that

15        -- what you just said, which is he was terrible.

16   A.   I don't know.   I don't know.      But everybody can -- can
17        confirm this.

18   Q.   I need whatever documents you have that confirm that he

19        was terrible.

20   A.   We will -- people will confirm.      I will ask them to

21        confirm.

22   Q.   I'm not asking you to confirm.      If I need somebody to

23        confirm, I will take their deposition, and I will ask

24        them.   I don't need you to ask them --

25   A.   Mm-hmm.
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                                                                           235


 1                                  REBMANN
 2   Q.   -- because they will say anything you tell them to say.

 3        And you know --

 4   MR. HAUSER:    Objection.     At this point you are arguing with
 5        the witness.      That's inappropriate.

 6   MR. GOLDMAN:    I'm -- I'm responding to the witness's

 7        statement that he is going to ask people what -- what
 8        they're going to say, and that is really --

 9   A.   I did not --

10   BY MR. GOLDMAN:
11   Q.   That's what you told me.

12   A.   -- say this.      You should not tell stories.    I did not

13        say that -- that I will tell them what they --
14   Q.   I withdraw my question, and I'll let your answer stay.

15   A.   Yeah.

16   Q.   I'm not going to ask you to withdraw it, and we'll see
17        what it looks like when we have the transcript.

18            Let's go back to where -- where we were; okay?

19            So you were saying he was terrible, and I need

20        documents that say that he was terrible, if you have

21        any.    Okay?    From all these people that were saying the

22        Americans were terrible.

23   A.   Okay.    Okay.

24   Q.   And I want documents that say the Americans were

25        terrible, and then I want documents that show that
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                                                                           236


 1                                 REBMANN
 2        Matthias was an American, and that that's who they were

 3        referring to -- if you have such documents.        And if I'm

 4        misquoting you, you can explain how I'm misquoting you.
 5        But that's what I heard you say just a short while ago,

 6        and it says his "unwillingness to work with the parent

 7        company."
 8            Was he unwilling to work with the parent company?

 9   A.   We ask, for example, for tax returns since -- since

10        2006, we ask for tax returns.      In 2007, 2008, 2009,
11        2010, we didn't get any.     I have a -- I have a full file

12        on this.

13            And this is a very important point, because there,
14        naturally, we risk the criminal things.       The same is

15        true with -- with -- with foreign accounts, which you

16        should have registered, every year.      He never did.
17            And these are really our main problems we had here.

18   Q.   I thought --

19   A.   Yeah.    Since 2006, we had no tax returns.

20   Q.   Okay.

21   A.   Yeah.

22   Q.   I -- I don't understand, and I'll ask you to explain it

23        to me.

24            You said that starting in 2004, he kind of went into

25        the company on his own, and you were telling him to go
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                                                                           237


 1                                   REBMANN
 2        find another job -- and correct me if I'm wrong here; he

 3        wasn't really doing anything, is what I got out of what

 4        you were saying, and now you're saying he was
 5        responsible for tax returns and foreign accounts and so

 6        on.   How could that be?

 7   A.   He is the president.     He -- he calls himself president
 8        of the company.      It is formal.   He make himself the

 9        president.   So as the president of a company, you are

10        responsible for that.
11   Q.   Did you ever tell him he's not the president of the

12        company?

13   A.   No.
14   Q.   Did you ever tell him, "Get out, you're not the

15        president," between 2004 and 2010?

16   A.   We ask him to -- to file the tax returns, not to -- if
17        he's president or not.

18   Q.   Do you have the documents where you were asking him to

19        file the tax returns --

20   A.   Oh, yeah.    Here.

21   Q.   -- if he's president or not.

22   A.   They're as big as this.     Yeah.

23   Q.   So can you send me all of that, every single part of

24        that file?

25   A.   What -- what file?
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                                                                           238


 1                                   REBMANN
 2   Q.   The file that you just pointed to, with an inch thick or

 3        two inches thick, saying "This is the file I have on the

 4        tax returns."
 5   A.   These are hundreds of papers.

 6   Q.   I understand.     I like to read lots and lots of papers,

 7        especially in German.      So --
 8   A.   I will send you a summary which I made.

 9   Q.   I don't want a summary.     I want every document.     I -- I

10        will get an order from the US court --
11   A.   Do so.   Do so.

12   Q.   -- that you have to give me every single document.

13   A.   Do so.
14   Q.   And we -- I will ask for sanctions --

15   A.   Okay.

16   Q.   -- when you don't provide them.
17   A.   Do so.

18   Q.   I'm just telling you what you can expect.

19   A.   Do so.   Do so.

20   MR. HAUSER:    You can ask for all of that.      Whether or not

21        you get it is up to somebody else.

22   MR. GOLDMAN:    I understand.    I understand.    But a major --

23        I'm not going to debate this with you on the record.

24        I think Dr. Rebmann has already explained himself, and

25        you will be able to say whatever you want, and we will
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                                                                           239


 1                                 REBMANN
 2        see where we go; okay.

 3            I also want you to produce -- and I realize it's

 4        going to be a lot of documents -- all of the documents
 5        relating to your communications with the German tax

 6        authorities regarding any of these companies that we've

 7        been discussing here, any of the 20 companies.
 8   MR. HAUSER:    I'm sorry?    Could I hear that again?

 9   MR. GOLDMAN:    His communications, all documents he has

10        relating to any issues that he had with the German tax
11        authorities for any of these companies.

12   A.   I had no -- it's very simple.       I had no personal tax

13        problems at all.
14   BY MR. GOLDMAN:

15   Q.   I said any of the companies.       Did the companies ever

16        have tax problems with the German authorities?
17   MR. HAUSER:    You'll address that request to me, and I'll

18        respond in good time.    But you're going to be met with

19        a wholesale objection.

20   MR. GOLDMAN:    It's a critical issue in this case.

21   MR. HAUSER:    How so?

22   MR. GOLDMAN:    It's a critical issue in this case.       I'm not

23        going to debate it with you now --

24   MR. HAUSER:    Okay.

25   MR. GOLDMAN:    -- but I'll just -- I'll just summarize the
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                                                                           240


 1                                  REBMANN
 2       argument; okay?

 3   MR. HAUSER:    Mm-hmm.

 4   MR. GOLDMAN:    And you asked me for this, and I've already
 5       given it to you.     Mr. Rebmann refused to file tax

 6       returns that he thought would get him and the company

 7       into trouble with the US authorities.
 8   MR. HAUSER:    Mm-hmm.

 9   MR. GOLDMAN:    Okay?    We believe -- and we believe we'll be

10       able to show that that is consistent with positions
11       Dr. Rebmann took and issues that he had to address with

12       other tax authorities.

13           And so I think it is very, very relevant in terms of
14       the issue of why these tax returns didn't get filed, and

15       whether the termination for not filing tax returns was

16       lawful under US law.
17           The fact that Dr. Rebmann has a very long history of

18       issues with tax authorities I think is very relevant to

19       that.   And you will be able to tell the court why it's

20       not relevant, and we will be able to address that issue

21       with the court in the United States.

22   MR. HAUSER:    We can deal with this off the record.

23   MR. GOLDMAN:    You want to deal with it off the record?

24   MR. HAUSER:    Yeah.    You and I -- it's a discovery dispute,

25       and you and I will deal with it off the record, like
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 1                                  REBMANN
 2        we're supposed to deal with it.      It's supposed to be

 3        consultations between counsel.

 4   MR. GOLDMAN:   Okay.    That's good.     I like that.
 5   Q.   Now, let me ask you this:     I want to continue on with

 6        this document that you have here that's marked

 7        number 21; okay?    It says "unwillingness to work with
 8        the parent company."

 9            And I want to know, in what way was Mr. Rebmann

10        unwilling to work with the parent company?
11   A.   I told you, tax return.

12   Q.   That doesn't mean unwilling to work; it means he may not

13        have done --
14   A.   Sure.

15   Q.   -- something.

16   A.   The company -- the owner of this company needed this tax
17        return to make the consolidated balance, and they could

18        not do.

19   Q.   Okay.   Are there any other instances where he was

20        unwilling to work with the parent company?

21   A.   We can come back on this.

22   Q.   When are we going to come back on it?

23   A.   Hmm?

24   Q.   You said we can come back on this.

25   A.   Yeah.
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 1                                  REBMANN
 2   Q.   What does that mean?

 3   A.   That I must check.

 4   Q.   You must check?
 5   A.   Yeah.

 6   Q.   As you sit here today, you don't remember anything else?

 7   A.   I will check this point.
 8   Q.   Okay.   You check, and if you find any documents relating

 9        to this, you'll -- you'll also provide those, assuming

10        your counsel doesn't have an objection.
11            Now, let me ask you this:       It says he was also

12        unwilling to work with "others within our group."

13            Now, who is "our group" here?
14   A.   Where does it say this?

15   Q.   It's in the same sentence.

16            Who is "our group"?
17   A.   I don't see "our group" -- ah, here.

18            Yes, this is what I -- what I told you.

19   Q.   What do you mean, that's what you told me?        You told me

20        there was no such thing as a group.

21   MR. HAUSER:   Well, he just testified -- I object to what you

22        just told him, because he just testified at some length

23        about issues that Lipoid LLC, while it was run by the

24        defendant, had difficulties in relations with both the

25        Swiss and the German suppliers.
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 1                                 REBMANN
 2   MR. GOLDMAN:     Thank you for that answer, but I'm asking the

 3        witness what he meant by "others within our group."         Not

 4        the parent company, but "others within our group."         Who
 5        is the group?

 6            I -- I understand that, and it will be clear in the

 7        transcript that Mr. Hauser answered the question.
 8   A.   I told you already, this is other companies, other

 9        companies who -- who sold products in the United States,

10        and which were in relation to the company here.
11   BY MR. GOLDMAN:

12   Q.   So which -- which are the other companies in the group

13        that you're referring to?
14   A.   I told you, this is Cosmetochem.

15   Q.   Huh?

16   A.   Cosmetochem.
17   Q.   Cosmetochem?

18   A.   That was one company, and the other one, it was surely

19        Phospholipid.

20   Q.   Phospholipid?

21   A.   Yeah.

22   Q.   Okay.

23   A.   And partly Complector and Lipoid Verwaltungs AG.

24                       (Reporter clarification.)

25   WITNESS:     It was -- one is Cosmetochem; and the other is
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 1                                 REBMANN
 2        Phospholipid, in Koln; and Lipoid GmbH, in Germany.

 3   BY MR. GOLDMAN:

 4   Q.   And in what respects was Matthias unwilling to work with
 5        those other companies in the group?

 6   A.   We will tell you.    We will give some documents.

 7   Q.   You cannot say at the moment?      You don't recall?
 8   A.   You will not believe it.     It makes no sense.

 9   Q.   Huh?

10   A.   You will not believe it.
11   Q.   But I'm asking you to tell me what you know today on

12        these issues.

13   A.   Yeah.   I will -- whatever I tell you, I will prove by
14        a paper.   And --

15   Q.   Tell me now, and prove it later.

16   A.   Yeah, but in this -- in the case, completely clear,
17        I told you, you already -- he was asking things

18        immediately which could not be done in the -- in the

19        short time, and we ask him, and he -- he never

20        responded.   This is the point.

21            So it was the unwillingness to work with the

22        company, because we -- we got no -- whatever you see, we

23        got no -- no forecast, we got not this, we got not that;

24        we got no results.    It was completely clear, if you ask

25        him something, you get no answer.      This is the point.
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 1                                 REBMANN
 2   Q.   So if you asked him something, you get no answer?

 3   A.   Yeah.   Or you get an answer might be after three

 4        reminders, in two -- in two or three months.
 5   Q.   Okay.   And -- and were any of these in writing, the

 6        reminders?

 7   A.   Surely some are in writing, I think -- I'm sure.
 8   Q.   Okay.   So any of these reminders, anything in writing

 9        that shows that Mr. Rebmann was unwilling to work with

10        any of these other companies in the group, I would like
11        them.   But it sounds to me like there certainly should

12        have been a file that you were keeping on all of this;

13        correct?
14   A.   We don't have nothing else to do than to make a file of

15        the -- of the things he doesn't do.      So we are -- we are

16        no lawyer and no -- and no bookkeeper, for everybody,
17        so -- and you think I make a list now for each of our

18        employees what he's not doing?      So today he did this,

19        today he did that -- you must see the reality.

20   Q.   Okay, but I had asked you before for all of the

21        documents relating to this; now you're telling me you

22        have a lot of documents.     I'll ask you once again to

23        produce --

24   A.   We will --

25   Q.   -- the documents.
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 1                                  REBMANN
 2   A.   We will see what we have, and this, we will look at.

 3   Q.   I understand.    But I asked you for this a long time ago.

 4        I'll ask you again.     I need this as quickly as you can
 5        find it.   Okay?

 6            Now, this was signed by you, and on Lipoid

 7        stationery, Lipoid LLC stationery, and I want to ask if
 8        there were any other documents that you ever signed on

 9        Lipoid LLC stationery.

10   A.   I'm sure, when I worked there, I'm sure.
11   Q.   When you worked there?

12   A.   Yeah.

13   Q.   When did you work there?
14   A.   I was in -- here in -- when he left, I was here for

15        several weeks.     And if not, I -- I made my

16        correspondence by email or fax.
17   Q.   Where -- do you recall exactly when you were in the

18        United States after he left?

19   A.   Immediately when he left -- he left when, in August

20        somewhere?

21   Q.   Yeah.

22   A.   '12?

23            And I stayed there for two or three weeks, and I had

24        to bring my wife with me to -- (German spoken.) --

25   MR. ZAENKER:    To sort out.
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 1                                   REBMANN
 2   A.   -- to sort out all the piles of paper he left

 3        everywhere.   So we worked a week to -- to sort out all

 4        the papers we found.      And at the end, we had a -- a case
 5        of 1 meter size, 1 meter high, full of paper, which was

 6        everywhere in the -- in the office.       So we had enough to

 7        do.
 8   BY MR. GOLDMAN:

 9   Q.   So you came in and you sorted the papers?

10   A.   With -- I -- I asked my wife to do it, because it was
11        too much.    You could not imagine.

12   Q.   Let me -- let me ask you this:       Do you recall sending

13        Mr. Rebmann -- Matthias, the defendant -- do you recall
14        sending him an email or a letter saying that you would

15        no longer read his emails?

16   A.   I don't -- no, I don't remember.
17   Q.   Okay.

18   A.   Do you have it here?

19   Q.   I need for you to produce all communications via email,

20        letter, fax, telex, whatever is -- Western Union,

21        delivery, whatever -- beginning in the summer of 2010

22        until August 25th, 2011.

23   A.   To whom?    From where?

24   Q.   Between you and Matthias.      And also anything with any

25        third party relating to Matthias.
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 249 of 353
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 1                                  REBMANN
 2   A.   What is that, "third party related to Matthias"?

 3   Q.   Any other person -- if it relates in any way to

 4        Matthias, I need the document.
 5   MR. HAUSER:    We'll take your request under advisement.

 6   WITNESS:     I don't understand what he meant.

 7   MR. HAUSER:    Don't worry.
 8   BY MR. GOLDMAN:

 9   Q.   I'll explain it, and I thank you for asking.

10            You have to go through -- I'm asking that you go
11        through all of your emails, all of your correspondence.

12        It could be you personally; it could be one of the

13        companies that you're involved with.       And if it's with
14        Matthias, I want it.     If it relates in any way to

15        Matthias, I want that as well.      And -- and that's what

16        I'm asking for -- again, because I've asked for that
17        before -- and I think -- do you understand what I'm

18        asking for?

19   A.   Not really, no.

20   Q.   Did you have emails with Matthias during the period,

21        let's say, July 1, 2010, until this date, August 25,

22        2011?

23   A.   Sure.

24   Q.   Okay.    I want you to produce those.

25   A.   Okay.    I understand.
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 1                                 REBMANN
 2   Q.   Did you have any emails with anybody else about Matthias

 3        during that period?    Like with Mr. Baretz, or any other

 4        employees of any of these companies?
 5   A.   I can look.    I don't know.

 6   Q.   Okay.    So I'm asking that you look, and I'm asking that

 7        you make an effort to find, and I'm also asking that you
 8        try very hard to find those emails, because you're

 9        telling me various facts, and I want to see the

10        documents relating to that, so we'll try to make sure we
11        get the most complete and accurate picture of what the

12        facts were at the time, or at least -- you know, your

13        attorney should want that as well, and -- you know,
14        we'll have the documents, and we'll be able to go with

15        it, and we'll be able to use it when we get to the trial

16        of the case.
17            Now --

18   MR. GOLDMAN:     Why don't we take a short break right now.

19        Five minutes.

20   (3:42 p.m.)

21                         (A break was taken.)

22   (3:55 p.m.)

23                (Exhibit 22 marked for identification.)

24   BY MR. GOLDMAN:

25   Q.   So, Dr. Rebmann, let me ask you if you are familiar with
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 1                                   REBMANN
 2        a gentleman by the name of Stefan Schmidt.

 3   A.   Yeah.

 4   Q.   Can you tell me who he is?
 5   A.   He is working, as you see here, for R&R Extractors in

 6        Koln.

 7   Q.   What is his title at R&R Extractors?
 8   A.   This is a company.

 9   Q.   Hmm?

10   A.   This is a company.
11   Q.   No, no, but what is his title with the company?        What

12        does he do?

13   A.   He is now, I think, he is now also general manager, one
14        of -- one of     general manager.

15   Q.   So he's    general manager at the company?

16   A.   I think so, yeah.    Now, anyway.    He was -- in 2010, he
17        was responsible for production.

18   Q.   Okay.    And I'm just wondering, is this one of the emails

19        relating to Mr. Rebmann's performance?

20   A.   No.    No, no.   No, no.

21   Q.   Can you --

22   A.   It has nothing to do with this.

23   Q.   No?    What does it relate to?

24   A.   Obviously, he -- he had a speech, now a meeting, if

25        I understand it.    And Mr. Schmidt finds his speech good,
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 1                                 REBMANN
 2        because he -- naturally he has no idea about sales and

 3        so on, so for him, it was obviously interesting.        That's

 4        it.
 5   Q.   I see.

 6   A.   That's it.

 7   Q.   Okay, so -- but he was one of the people who was with
 8        the other companies in the group; correct?

 9   A.   Yeah.    Yeah.

10   Q.   He didn't complain about --
11   A.   He has nothing to do with him.

12   Q.   He had nothing to do with him?

13   A.   No.
14   Q.   I see.   Okay.

15   A.   This is obviously a reaction on a meeting heard where

16        your client made a speech or a presentation.
17   Q.   Do you know that meeting?     Were you there?

18   A.   I don't know.    2010, I don't know.    Normally I should

19        have been there, but I don't know.

20   Q.   You don't know?

21   A.   No.   I don't know very well if it was truly in

22        Ludwigshafen; it's not mentioned.      It doesn't matter.

23        Anyway, this is clear; this is his opinion.

24   Q.   And let me -- let me ask you this:      In 2010, you had

25        a birthday party for yourself at a hotel in Bavaria?
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 1                                 REBMANN
 2   A.   I think it's my personal thing.      It has nothing to do

 3        with you.    Maybe somebody else.    When I have my personal

 4        birthday, this is my -- not yours.
 5   Q.   My question is:    Did you have a birthday party for

 6        yourself --

 7   A.   For whom else?
 8   Q.   -- in a hotel in Bavaria?

 9   A.   I had.   By -- by the -- what is the -- where is the

10        question?
11   Q.   Hmm?

12   A.   What is the question?

13   Q.   The question is:    Did you have a birthday party --
14   A.   Yeah, but what is this here of interest?

15   Q.   I was just going to ask you another question.

16   A.   Yeah, please.    Continue.
17   Q.   All right.    And this was for your 70th birthday?

18   A.   Might be.

19   Q.   Okay.    And do you recall if you asked Matthias to speak

20        at the birthday?

21   A.   Yeah.

22   Q.   You did?

23   A.   Yeah.

24   Q.   And did you congratulate him afterwards --

25   A.   Sure.
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                                                                           253


 1                                  REBMANN
 2   Q.   -- after the speech?

 3   A.   Sure.    I always do.    Not you, but the others I would

 4        congratulate too.
 5   Q.   So your relationship with Matthias in -- how many people

 6        were at this party?

 7   A.   Not many.    I don't know.
 8   Q.   But there were other --

 9   A.   15.

10   Q.   -- people that --
11   A.   15.

12   Q.   -- you could have asked to -- to speak at your birthday

13        party; correct?
14   A.   I don't know who had the idea that he speaks.        Maybe he,

15        only.    I don't know.   Anyway, he had -- he made

16        a speech.
17   Q.   You just said that you asked him to speak, and you

18        congratulated him afterwards.

19              So your relationship with him at that point in time

20        was pretty good?

21   A.   Our relation was never good.

22   Q.   Never?

23   A.   Since he is 15 years old, our relation was always very

24        difficult.   I helped him a lot of things, and he was not

25        really responsive, but ...
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 1                                   REBMANN
 2   Q.   Did you tell Matthias that he could work at Lipoid LLC

 3        as long as he wished?

 4   A.   This is what he told already earlier.       It's nonsense.
 5        He should work in Lipoid LLC and look for another job.

 6        This is what we said.

 7   Q.   And for six years or seven years, you told him, "Work at
 8        the company" --

 9   A.   No.

10   Q.   -- "and look for another job"?
11   A.   No.    No, no.   It was -- it was too late.    He's a old

12        guy.    He has --

13   Q.   Huh?
14   A.   He has no -- he has no experience.      He's old.    What can

15        he do now?

16              But he has -- he has no option.    This is the
17        problem.   He had -- might use the option when he was --

18        when he had finished the studies, it might be that he

19        had here in the United States an option.       Here in

20        Germany, it would have been very difficult, because

21        after 11 years of study, nobody will engage you.

22              And therefore I asked him to look for another job,

23        United States.      And I helped him to get his green card

24        so that he could find a job.

25              But it was never intended to -- to engage him
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 1                                  REBMANN
 2        with -- you know, Lipoid, when we look for new

 3        employees, the first thing -- this is different from

 4        United States; when you -- when you ask for a job here,
 5        you have to send all documents.      So curriculum vitae,

 6        also certificates of the school, and so on and so on.

 7              With the certificate of the school of his quality,
 8        they would never regard somebody.      So this is

 9        completely, completely out of any consideration, that we

10        would engage somebody with -- with the quality of his
11        certification.

12   Q.   So you were his father?

13   A.   Yeah.
14   Q.   And you would have never hired him?

15   A.   No.   No.   I cannot.

16   Q.   Because he had a bad résumé?
17   A.   I have the responsibility; you say -- I cannot say

18        I engage 40 people and look for -- for the

19        qualification, and then I take my son.       He is stupid,

20        but it doesn't matter.

21              This is not -- this is not possible.     You have to

22        have one -- one sustainable line.

23   Q.   I see.   And --

24   A.   So I would never engage somebody with the -- with the

25        qualification -- and 10 years, 11 years of study.         If
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 1                                 REBMANN
 2        you have 5 years of -- of study in Germany, it's okay;

 3        then you have 7 years, it is too late.       Even with

 4        a Ph.D., you must finish in 8 to 9 years, with a Ph.D.,
 5        which takes normally 3 years.

 6   Q.   Okay.    Now, let me ask you this:    You have another son

 7        who is working in the business?
 8   A.   Yeah.    Yeah.   Yeah.

 9   Q.   Which son is that?

10   A.   This is Helge.
11   Q.   Helge?   And --

12   A.   Yes.

13   Q.   -- what degrees does Helge have?
14   A.   He has -- he's engineer.

15   Q.   He has what?

16   A.   Engineer.
17   Q.   Engineer?    And what is his specialty in engineering?

18   A.   General engineering.

19   Q.   General engineering?

20   A.   I think so.

21   Q.   Does he have an expertise in -- in food science?

22   A.   No.

23   Q.   No?

24   A.   Machinery --

25   Q.   Biochem?
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 1                                     REBMANN
 2   A.   It was -- how was it called --

 3   MR. ZAENKER:    Mechanical engineering?

 4   A.   No, it is more --
 5   MR. ZAENKER:    (German spoken.)

 6   A.   (German spoken.)

 7   BY MR. GOLDMAN:
 8   Q.   And what kind of degree does he have?       Does he have

 9        a doctorate in --

10   A.   No, no.   No, no.   As an engineer, normally you have your
11        engineer degree, which is a diploma.

12   Q.   Undergraduate diploma?

13   MR. ZAENKER:    No.
14   A.   No.   Diploma.    Diploma.

15   MR. ZAENKER:    Diploma is more than undergraduate.

16   MR. HAUSER:    Yeah.    Their system's -- it's hard to --
17   MR. ZAENKER:    An MSC, probably.

18   MR. HAUSER:    Yeah.    Roughly the equivalent of a master's in

19        engineering.     But it's hard to compare the two systems.

20   MR. GOLDMAN:    Yeah, that's -- that's fine; I'm just trying

21        to understand.

22   Q.   And you hired him after he finished his engineering?

23   A.   Yeah.

24   Q.   And what job did he have in the company?

25   A.   Now he's engineer.
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 1                                 REBMANN
 2   Q.   He's an engineer --

 3   A.   Yeah.

 4   Q.   -- for the company?
 5   A.   Yeah.

 6   Q.   And who does he report to?

 7   A.   Oh, to somebody else.    He has no special position there.
 8   Q.   Now, let me ask you this:     Did you ever ask Helge to

 9        find another job?

10   A.   No.    It was the situation at that time when he came to
11        us that he was also looking for -- for jobs.        But

12        finally he said that this is the best he can do.

13   Q.   So he couldn't find a job elsewhere?
14   A.   He could find -- oh, yeah; as engineer, you can find

15        jobs everywhere.

16   Q.   But he didn't find a job elsewhere?
17   A.   No, he didn't accept the job; understand?

18   Q.   Huh?

19   A.   He didn't -- he didn't take this job, because they were

20        not as good.

21   Q.   You said this is as best as he could do; what -- what do

22        you mean?

23   A.   In our company, for him, it's the best he could do.

24   Q.   It was the best job he could find?

25   A.   Yeah.
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 1                                   REBMANN
 2   Q.   I see.   And did he apply to you for a job?

 3   A.   What does this mean?

 4   Q.   Who did he apply to for a job?        To you --
 5   MR. ZAENKER:     (German spoken.)

 6   BY MR. GOLDMAN:

 7   Q.   -- or to somebody else?
 8   A.   I don't know.

 9   Q.   You don't know?

10   A.   Other companies.      I don't know.
11   Q.   Did he give you a résumé?

12   A.   No.

13   Q.   Who interviewed him for the job?
14   A.   For ... ?

15   Q.   Who else interviewed him for the job?

16   A.   In our company --
17   Q.   Yeah.

18   A.   -- or where?

19              I don't know.    There is somebody responsible for

20        technics, but --

21   Q.   No, no, but I don't want you to speculate; I want you to

22        tell me --

23   A.   I don't know.   I don't know.

24   Q.   Okay.    Do you keep files on each employee?

25   A.   The company -- not really.
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                                                                           260


 1                                   REBMANN
 2   Q.   Not really?

 3   A.   Not really.

 4   Q.   Is there any file on Matthias during the period that he
 5        was employed?

 6   A.   Surely not.    He was the president; he should have made

 7        the file.
 8   Q.   Yeah, but -- he's the president, but he's the president

 9        of a subsidiary --

10   A.   No.
11   Q.   -- and somebody should keep a file.

12   A.   No, no.    We don't do that.

13   Q.   There's no file?
14   A.   We are very simple company.

15   Q.   Huh?

16   A.   We are very simple company.     We are not --
17   Q.   Simple company; no files?      Okay.

18   A.   No.    Not really.

19   Q.   All right.    I understand.

20              And when you decided to terminate Matthias, did you

21        start keeping a file then?

22   A.   Which file?    For what?

23   Q.   Of issues that you had with Matthias.

24   A.   No.    We have no files, you see.      We work together, and

25        there is no control in the way that you may have a --
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 1                                   REBMANN
 2        a control if he works this and that.

 3   Q.   Did -- did you ever discuss with Matthias taking on

 4        a board position for the entire --
 5   A.   He wanted --

 6   Q.   -- group?

 7   A.   He -- he wanted to do it.      (German spoken.)
 8   MR. ZAENKER:     We did without.

 9   A.   Yeah.   So it is -- it's written; I can send you the --

10        the message.     There is a report where he offers that he
11        will become a member of the board of the Swiss company,

12        and we altogether --

13   MR. ZAENKER:     Renounced.
14                        (Reporter clarification.)

15   MR. ZAENKER:     "Renounced."

16   A.   Yeah.   Yeah.
17   MR. HAUSER:    Declined?

18   MR. ZAENKER:     Okay.

19   A.   Yeah.

20                     (Discussion off the record.)

21   BY MR. GOLDMAN:

22   Q.   Do you recall a conversation with Matthias regarding

23        your plans for forming a foundation -- did you

24        discuss --

25   A.   I often discussed this with many people.       Surely also
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 1                                  REBMANN
 2        with him.

 3   Q.   Did you discuss it with Matthias?

 4   A.   Surely also with him, yeah, surely.
 5   Q.   All right.

 6   A.   I don't know.   I discussed this with many people.

 7   Q.   Do you -- do you recall telling Matthias that he would
 8        own 1 percent of the whole group when he --

 9   A.   Never.    Never, never, never.      There was never an idea to

10        do this.    There was no reason for.
11              And, you see, the idea is that the foundation is the

12        owner, and not the -- not the private person.

13   Q.   But you have 9 or 10 percent that is owned by private
14        people?

15   A.   This is true.

16   Q.   Including Helge --
17   A.   This is true.

18   Q.   -- has 1 percent; is that correct?

19   A.   It is not correct, no.

20   Q.   No?

21   A.   No.

22   Q.   Okay.    All right.   I mean, I'm going to ask you again

23        who owns the 9 percent in -- in Beteiligungs.

24   A.   I think this is not important, in this case.

25   Q.   Okay.    And you're saying you never promised Matthias
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 1                                 REBMANN
 2        1 percent?

 3   A.   Was never the idea, to -- we are always afraid about, to

 4        make him a partner.
 5   Q.   Did you discuss with Matthias that the foundation --

 6        when you created the foundation, you'd be separating

 7        ownership from control of the group?
 8   A.   No.   I don't know how I should do this.      The -- the

 9        foundation naturally controls the whole -- the whole --

10   Q.   You're saying you -- you didn't discuss that with him?
11   A.   No, I have no idea how -- how I should do it.        There

12        is -- no.    How can you separate the ownership and the

13        responsibility?   I don't know how you could do it.
14   Q.   So the ownership has the responsibility?

15   A.   Sure.

16   Q.   I see.   And -- okay.
17   A.   So the foundation is responsible for the total -- the

18        foundation basically has --

19   Q.   Right.

20   A.   -- has two parties.

21   Q.   Right.

22   A.   One is the social side, because it is supporting

23        social -- social projects all over the world.

24   Q.   Yeah.

25   A.   And the other side is running the company -- or
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 1                                  REBMANN
 2        controlling; not running.     Controlling the company.

 3   Q.   Right.    And that's -- that's you and Birgit and two

 4        other people?
 5   A.   Exactly.

 6   Q.   Who control the company?

 7   A.   We control -- not the company; we can only control their
 8        -- their reports.    So the -- the general manager of

 9        Beteiligungs GmbH has naturally responsibility to report

10        to the board.   To the -- to the -- to the foundation.
11   Q.   I understand.

12   A.   This is us.    And then actually we could tell him, "We

13        fire you."
14   Q.   Right.

15   A.   This is all you can do.

16   Q.   Okay.    That's called economic reality?
17   A.   Exactly.    You have to ask the way to --

18   Q.   Yeah, yeah, yeah.    No, I understand.     You tell him what

19        you want him to do, and if he doesn't do it --

20   A.   No, no.

21   Q.   -- you fire him?

22   A.   We don't -- we don't tell him; he -- we can't -- we are

23        not allowed to tell him what he should do.        He will

24        report, and then we say, "Okay, this is not good; you

25        should -- you might be better -- or you should leave."
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 1                                 REBMANN
 2            This is the reality.     You cannot tell him, "You do

 3        now this, you do now that."     Not allowed.

 4   Q.   Who was in charge of the marketing materials for the
 5        group?

 6   A.   There is now a special department with basically one --

 7        one colleague from us.
 8   Q.   One colleague?

 9   A.   Mm-hmm.

10   Q.   Who was responsible for the marketing materials before
11        this one colleague took over?

12   A.   Yeah, so what -- what you want to ask is -- we have an

13        institution which controls all documents; everything.
14        If they are correct, if they don't tell too nice

15        stories, and so whatever you do, we have an institution

16        which controls the documents and says "No, we don't want
17        to say this or that."    And if you make a --

18   Q.   All right.

19   A.   -- a home page, whatever you do, it's always controlled

20        by this.

21   Q.   Did Birgit ever --

22   A.   In the past.

23   Q.   In the past, she was in charge of the marketing?

24   A.   No, no, no, no.   She was only responsible -- it was

25        called -- (German spoken.)
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 1                                  REBMANN
 2   Q.   Was she part of that institution?      Is that what you're

 3        saying?

 4   A.   No, no, no, no, no, no.     It's another thing.     (German
 5        spoken.)

 6   MR. ZAENKER:    Information commissioner.

 7   A.   Yeah.
 8            So this is a special thing, which is -- which is

 9        relate to quality assurance.

10   BY MR. GOLDMAN:
11   Q.   She was the information commissioner?

12   A.   She cared for this, yeah.

13   Q.   Until when?   Do you recall?
14   A.   I think it would be up to last year.

15   Q.   Up to last year?

16   A.   I think so.
17   Q.   Okay.   And did Matthias ever have an opportunity to

18        discuss these issues with Birgit, do you know?

19   A.   Oh, I'm sure.    Sure, he was living in our house for

20        20 years, you know, and she was caring for him for

21        everything.

22   Q.   What about when he was living in New York:        Did he have

23        an opportunity to discuss these issues with Birgit?

24   A.   He surely had.    He had to; he had -- he could not take

25        papers or publish papers without her control.
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 1                                 REBMANN
 2   Q.   Okay.   Do you recall a meeting at your home in September

 3        2006 -- I'm sorry, I said "2006"; I meant 2010 -- where

 4        the issue of marketing for the companies was being
 5        discussed by Matthias and Birgit?

 6   A.   As I tell you, she was responsible as his -- is

 7        responsible for information, and if he wanted to change
 8        something, he had to -- you had to discuss this with

 9        her.

10   Q.   Okay.   Do you recall being present --
11   A.   No.

12   Q.   -- at a conversation?

13   A.   I don't think so.
14   Q.   You don't think so?

15   A.   No.

16   Q.   Okay.   Do you recall any time where you told Matthias
17        and/or Birgit that they shouldn't be discussing

18        marketing issues together?

19   A.   No.

20   Q.   Do you recall any time a conversation where you

21        belittled Matthias for discussing marketing issues with

22        Birgit?

23   A.   No.

24   Q.   Do you, sir, grow pumpkins in your yard?

25   A.   Not in New York, no.
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 1                                   REBMANN
 2   Q.   Huh?

 3   A.   Not in New York.

 4   Q.   Not in New York.    How about in --
 5   MR. CARSTEN MATTHIAS REBMANN:       "Garden."    Say "garden."

 6   MR. GOLDMAN:    Huh?

 7   MR. CARSTEN MATTHIAS REBMANN:       Say "garden," instead of
 8        "yard."

 9   BY MR. GOLDMAN:

10   Q.   In your garden.    I said "yard"; "garden," it's the same
11        -- what did you say?

12   MR. ZAENKER:    He says he's fine.        (German spoken.)

13   A.   In New York.    In New York.
14   MR. ZAENKER:    (German spoken.)

15   A.   In his -- in his rabbit house.

16   BY MR. GOLDMAN:
17   Q.   How about Ludwigshafen?

18   A.   Yeah, we had some one year.

19                       (Reporter clarification.)

20   MR. HAUSER:    "How about in Ludwigshafen."

21   MR. GOLDMAN:    Ludwigshafen.

22   A.   Ludwigshafen, yeah.

23   BY MR. GOLDMAN:

24   Q.   Yeah?

25   A.   What has it to do with the questioning?
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 1                                 REBMANN
 2   Q.   I'm just trying to understand.

 3            So you grew them in your garden --

 4   A.   Yeah.
 5   Q.   -- pumpkins?

 6   A.   Yeah.

 7   MR. HAUSER:    He said "one year."
 8   A.   No, no, several years, actually, because it was --

 9   MR. HAUSER:    Okay.

10   BY MR. GOLDMAN:
11   Q.   No, no, I -- any question I ask matters.

12   A.   Yeah.

13   Q.   And you have an obligation to answer the question.
14   A.   Yeah.   Yeah.

15   Q.   So it matters to you that you answer my question.

16        Whether you're happy with my question or not, your job
17        is to answer it.

18   A.   Okay, okay.

19   Q.   So you -- you did grow pumpkins in your garden --

20   A.   Yeah.

21   Q.   -- in Ludwigshafen; not in New York, in the rabbit

22        warren?

23   A.    No, it is not just in Ludwigshafen, but mainly in

24        Neustadt.

25   Q.   Neustadt?
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 1                                 REBMANN
 2   A.   In Neustadt.    But also Ludwigshafen; we had also a --

 3        sometimes in Ludwigshafen too.

 4   Q.   A garden?
 5   A.   No, in -- this is a field; this is a field which was --

 6        which was bought by -- by one of our companies.

 7   Q.   A field?
 8   A.   Yeah.

 9   Q.   Yeah.    And did there -- do you recall ever asking

10        Matthias to help you pick the pumpkins?
11   A.   No, he -- he -- he bought -- he bought seeds for me.         He

12        bought the pumpkin seeds.

13   Q.   He bought the pumpkin seeds?
14   A.   Pumpkin seeds -- they come from -- from Newfoundland.

15        You had to go there.    So they make now pumpkins (German

16        spoken.)
17   MR. ZAENKER:     Seeds.

18   A.   Seed.

19   BY MR. GOLDMAN:

20   Q.   Seeds?

21   A.   Seeds.

22   Q.   So who -- who bought the seeds?      Matthias?

23   A.   He ordered some, yeah.

24   Q.   So he bought the seeds for you?

25   A.   No, he ordered, and I paid it.
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 1                                    REBMANN
 2   Q.   To make big -- the big pumpkins?

 3   A.   Yeah.    Yeah.    Yeah.   I think it was the first time he

 4        did it.
 5   Q.   Uh-huh.

 6   A.   Yeah.

 7   Q.   And that was in 2010?
 8   A.   No, no, no.      Much earlier.

 9   Q.   Much earlier; so he --

10   A.   Much earlier.
11   Q.   -- bought seeds for you?

12   A.   Yeah.

13   Q.   And you made the pumpkins.
14   A.   Exactly.

15   Q.   And do you recall, in 2010, asking him to help you pick

16        the pumpkins?
17   A.   In 2010, I think we had no pumpkins anymore.        This was

18        earlier.

19   Q.   Do you recall ever having an argument with Matthias

20        about picking pumpkins?

21   A.   No.    I didn't need him.

22   Q.   Huh?

23   A.   I didn't need him to -- to -- for my pumpkins; that's

24        all.    There were enough people interested in doing it.

25              If this had been done, it would have been rather
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 1                                  REBMANN
 2        a favor for him than an obligation.

 3   Q.   I understand that, but --

 4   A.   Yeah.   No -- no doubt.    And you see anyway these
 5        pumpkins, they weighted about 200 kilo.        So he could

 6        not -- he could not bear them somewhere.

 7   Q.   So who -- who picks the pumpkins that are 200 kilos?
 8   A.   No, you have different -- different helps me, so we --

 9        I can tell you how we do it.        We put it on a pallet, and

10        then we transport it on a pallet.       So we need at least
11        four people, or five.

12   Q.   I understand.

13   A.   Especially here.
14   Q.   Did -- when you visited Matthias, you -- first, you said

15        he lived in a different apartment, before the --

16   A.   Yeah.
17   Q.   -- rabbit warren?

18   A.   I saw him, yeah.

19   Q.   And this was worse?

20   A.   This was terrible, really.

21   Q.   Terrible; do you recall where it was?

22   A.   No.   Not too far away.

23              But the bicycle hang I think over his bed, or over

24        the -- over the -- over -- anyway, it was just terrible.

25   Q.   Mm-hmm.
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 1                                  REBMANN
 2   A.   In the 4th floor, or 5th floor; I don't know.

 3   Q.   And did you tell him to get a nicer apartment then?

 4   A.   I asked him, said, "This is not acceptable, you know.
 5        In Germany, you would be -- this apartment would be

 6        closed.   This is -- impossible situation, for all

 7        aspects, for fire and for everything."
 8   Q.   So you told him to get a better apartment?

 9   A.   I told him to -- he should look for a better -- better

10        living.   I told you he should look somewhere in Newark.
11   Q.   In Newark?

12   A.   Newark.

13   Q.   Newark?
14   A.   Newark.

15                     (Discussion off the record.)

16   MR. HAUSER:    Newark.   N-E-W-A-R-K.    Newark.
17              Everybody I know pronounces it differently.

18   BY MR. GOLDMAN:

19   Q.   Do you know if he ever looked for an apartment in

20        Newark?

21   A.   I have no idea.     No.

22   Q.   Have you ever seen apartments in Newark?

23   A.   No.

24   Q.   But suffice it to say he did find an apartment in

25        Manhattan?
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 1                                 REBMANN
 2   A.   Yeah.

 3   Q.   And you helped him pay for that apartment?

 4   MR. HAUSER:     Objection -- "you"?
 5   MR. GOLDMAN:     "You," the company.

 6   Q.   I mean you, through the various companies that you

 7        control, helped him pay for that apartment?
 8   A.   Yeah, we had to do, because he could not pay, obviously.

 9        I don't know.    I told you already earlier what I think

10        about this apartment.
11   Q.   Yeah, and you --

12   A.   You should not repeat it.

13   Q.   I know, but you also used the apartment when you came
14        into New York?

15   A.   I used it.    I was there, I think, two nights; that's

16        all.
17   Q.   And you worked from the apartment?

18   A.   No.    You could not work in this -- in this rabbit house.

19        This is impossible.     That I work -- what should I work

20        in New York?    I have no business there.     Never had.    And

21        I became there in the evening and then back in the

22        morning.

23   Q.   Have you ever met with people on business there?

24   A.   No.

25   Q.   Have you ever had any parties in New York?
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 1                                   REBMANN
 2              And by the way, I'm just --

 3   A.   Yeah, yeah, yeah, yeah, I remember, you mentioned these

 4        --
 5   Q.   Yeah.

 6   A.   -- this Christmas party, which was organized not by me;

 7        I was invited by -- by -- by the employees of ALC and
 8        LLC.    But I was not organizing it; I was invited, as

 9        a guest.

10   Q.   I see.   Did you ever have any business meetings?
11   A.   No.

12   Q.   You never had any business meetings in New York?

13   A.   No.    He speak about Deckelbaum, this office of
14        Deckelbaum.    He --

15   Q.   Deckelbaum?

16   A.   This is a terrible story.
17   Q.   It's a terrible story?

18   A.   A terrible story.      Because this Mr. Deckelbaum is a very

19        old professor, and -- which seems to be very famous.

20        But he, your client, he thought this is a good idea to

21        work with him.    And I had the problem to find a way to

22        get -- (German spoken.) --

23   MR. ZAENKER:     Get rid of him.

24   A.   Get rid of him.     He was a terrible guy, you know;

25        impossible.    And your client thought this is a very good
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 1                                  REBMANN
 2        idea, because he was in a famous university --

 3   WITNESS:     What is the name of the university, very famous

 4        university?
 5   MR. HAUSER:    Columbia?

 6   A.   Columbia University.

 7            But -- really odd.     Everything.
 8   BY MR. GOLDMAN:

 9   Q.   What?

10   A.   Everything was terrible.     So we --
11   BY MR. GOLDMAN:

12   Q.   Everything?

13   A.   So I tried to get rid of him.
14   Q.   I see.

15   A.   In a -- in a friendly way.

16   Q.   So you met with him to get rid of him?
17   A.   Yeah.

18   Q.   I see.

19   A.   And I was very -- he was a nice man, so I had to be

20        friendly with him.

21   Q.   Did you get rid of him?

22   A.   Yeah.

23   Q.   I see.   Why did you need to get rid of him?       What was he

24        doing that he needed to be gotten rid of?

25   A.   He was -- he was -- by your -- by your client, he was
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 1                                     REBMANN
 2        more or less engaged; or he was -- anyway, he got

 3        interested in working with us.

 4            So what we did, what we did in reality, is our --
 5        our Phospholipid Research Center, they signed an

 6        agreement with him, and then they canceled it with

 7        mutual --
 8                         (Reporter clarification.)

 9   MR. ZAENKER:     "Then they canceled it."

10   A.   Canceled it, in mutual -- in mutual -- side -- way.
11   MR. HAUSER:    Mutual termination?          (German spoken.)

12   WITNESS:     (German spoken.)

13   A.   So we didn't -- we didn't fight; we -- we finished it in
14        a mutual understanding.

15   MR. HAUSER:    Uh-huh.    Okay.

16   MR. GOLDMAN:     Okay.
17   Q.   So you mentioned the Phospholipid Research Center.

18   A.   Yeah.    Yeah.

19   Q.   Yeah.    When was that set up?

20   A.   I don't know.     2005 or '6 or '7.        I don't know.

21   Q.   And do you recall who set that up?

22   A.   The company Lipoid GmbH and Phospholipid GmbH.

23   Q.   I'm sorry?

24   A.   Phospholipid GmbH and Lipoid GmbH, they started this --

25        this -- (German spoken.) --
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 1                                  REBMANN
 2   MR. ZAENKER:    Registered association, or association.

 3   A.   Yeah.    Yeah.

 4   BY MR. GOLDMAN:
 5   Q.   I see.   And did Matthias have anything to do with it?

 6   A.   He tried to find people in the United States who -- who

 7        could become members of this association.
 8   MR. ZAENKER:    Association.

 9   A.   Association.

10   BY MR. GOLDMAN:
11   Q.   I see.   And was he involved in the -- in the founding of

12        the --

13   A.   No.
14   Q.   No?

15   A.   No.   Not at all.

16   Q.   So whose idea was it to set that up?
17   A.   The idea was really mine, because -- but we -- I told

18        you earlier what our intention is.      He said he increase

19        the knowledge about these products in general, the

20        scientifical area, and we don't want to make now the --

21        (German spoken.) --

22   MR. HAUSER:    Advertising.

23   MR. ZAENKER:    Advertising.

24   A.   -- advertising for Lipoid, for the company, we're going

25        to do it in a neutral way.     Therefore we called it
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 1                                   REBMANN
 2        Phospholipid Research Center.

 3   BY MR. GOLDMAN:

 4   Q.   Now, was Matthias ever a member of the Phospholipid
 5        Research Center?

 6   A.   He was a member of the Phospholipid Research Center.

 7        But this was basically a mistake, because this is a
 8        scientifical organization, and all people are

 9        scientists.      And so -- you know, the whole thing what we

10        do is science, and not business.      So it was a mistake to
11        take him into the association.

12            And in the meantime, we change all the -- the

13        statutes, so this will not come back.
14   Q.   I see.   So who basically -- did Matthias ever attend

15        meetings of the association?

16   A.   Yeah.    Yeah.
17   Q.   Okay.    And after you terminated his employment with

18        Lipoid LLC, you also terminated his membership in the

19        association?

20   A.   This had nothing to do with his -- this had to do

21        with -- in an association like this, naturally you have

22        members.    As a member, you have to pay a certain

23        annual --

24   MR. ZAENKER:     Dues.

25   A.   -- amount.    Not much, but a certain thing.      And some of
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 1                                 REBMANN
 2        them don't pay, so you remind them.      And if they are

 3        not -- if they don't pay this -- this amount, they are

 4        -- (German spoken.) -- excluded.
 5   MR. ZAENKER:    Yes.

 6   A.   They are excluded by the board.

 7   BY MR. GOLDMAN:
 8   Q.   I see.   So did you remind Matthias to pay the fee?

 9   A.   No me, no.   There is another organization.

10   Q.   There is another organization?
11   A.   Yeah.    This Phospholipid Research Center --

12   Q.   Who is the organization?

13   A.   The Phospholipid Research Center is its own
14        organization.

15   Q.   Right.

16   A.   Yeah.
17   Q.   But you control that?

18   A.   No.

19   Q.   You don't?

20   A.   No.   I am -- I am still the president, because -- you

21        must see, this is a very scientifical thing, and the --

22        the board we have are all professors.

23   Q.   I see.

24   A.   And I --

25   Q.   But you --
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 1                                  REBMANN
 2   A.   Wait.    Please, wait.

 3            I unfortunately have a very good name on this field,

 4        and so this Phospholipid Research Center uses my name to
 5        communicate.     You see, often I meet with people who

 6        understand something about this project, with these

 7        phospholipids, so it's -- "Oh, I'm happy to see you in
 8        person; I heard so much about you," and so on.

 9            And when, for example, for this research center, two

10        years ago I wanted to resign, so all professors said,
11        "Okay, then we resign too."

12            This was the situation.     So I have to be still

13        there.   I have no function.    I am still president, but
14        the work is done by -- (German spoken.) --

15   MR. ZAENKER:    A secretary.

16   A.   Yeah.    Yeah.
17   BY MR. GOLDMAN:

18   Q.   So Matthias was terminated?

19   A.   Yeah.

20   Q.   And you're the president?

21   A.   Yeah.

22   Q.   And you had nothing to do with terminating him?

23   A.   Yeah, I -- I surely signed the -- the paper.        But that's

24        all.

25   Q.   I see.
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 1                                  REBMANN
 2   A.   That's all.

 3   MR. HAUSER:     Which termination are you talking about here?

 4   MR. GOLDMAN:     From the Phospholipid Research Center.
 5   A.   Research Center.

 6   MR. HAUSER:     Okay.

 7   A.   Yeah.   Yeah.
 8   BY MR. GOLDMAN:

 9   Q.   But you signed the paper?

10   A.   Yeah.   I think so.   I --
11   Q.   And that's the only thing you did?

12   A.   Exactly.

13   Q.   Nothing else?
14              And do you know if the Phospholipid Research Center,

15        of which are you are president, ever sent Matthias

16        a statement regarding his dues?
17   A.   No, I don't know.

18   Q.   You don't know?

19   A.   No.

20   Q.   I'm going to ask you --

21   A.   That's not my obligation.     This is -- you see --

22   Q.   Yeah, but I'm -- I'm going to ask you --

23   A.   Yeah?

24   Q.   -- to check the documents of the Center, or have

25        somebody else check it, and send me whatever reminders
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 1                                  REBMANN
 2        were sent to Matthias regarding his dues for the Center.

 3   A.   Mm-hmm.    Mm-hmm.

 4   MR. HAUSER:     We'll take the request under advisement, but --
 5        we'll see.

 6   MR. GOLDMAN:     Okay.    So I -- I would like that.

 7   Q.   Now, who -- if you didn't make the decision to kick him
 8        out of the Center, who did?

 9   A.   The board.   I told you, when there -- a certain time

10        when -- when some duties are not followed up, the board
11        decides to -- to exclude this.      This happens every

12        second year.

13   Q.   I see.    All right.   So I will need whatever papers there
14        are relating to those board deliberations, too, where

15        they decided to exclude Matthias.

16   A.   I think there are no -- there are no -- no papers about
17        this.

18   Q.   There's no papers?

19   A.   I don't think so.

20   Q.   So memberships get revoked without any papers?

21   A.   Yes.    I told you, this is the board who decided

22        something.

23   Q.   But you're the president?

24   A.   Yeah, but again --

25   Q.   You wouldn't --
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 1                                 REBMANN
 2   A.   What?

 3   Q.   -- have a -- a -- it's a nonprofit?

 4   A.   Yeah.
 5   Q.   You wouldn't have a nonprofit association without

 6        papers?

 7   A.   I tell you, I don't know.     We will look.    If there is --
 8        if there is a report of -- of a meeting -- yeah? -- then

 9        we will get this -- this report.      This is no problem.

10   Q.   The company itself -- strike that.
11              The Phospholipid Research Center has bylaws?

12   A.   Sure.

13   Q.   Are you familiar with them?
14   A.   Not really.

15   Q.   Were you involved in preparing them?

16   A.   I think so.   I don't know -- I don't know.       I think so.
17   Q.   Do you know there's a procedure in there for --

18   A.   Should be.

19   Q.   -- terminating --

20   A.   I don't know.   I don't know.

21   Q.   You don't know?

22   A.   No.

23   Q.   Do you know that Matthias registered for the conference

24        of the Phospholipid Research Center this year?

25   A.   I heard about this.
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 1                                 REBMANN
 2   Q.   You heard about it?

 3   A.   Yeah.

 4   Q.   Okay.   And do you know that he was then sent a letter by
 5        someone at your factory saying he could not attend the

 6        meeting, that it was a mistake, his registration was

 7        a mistake?
 8   A.   So this is not done by me.     I'm -- I'm not involved with

 9        this.

10   Q.   You were not involved?
11   A.   No.

12   Q.   But do you know about it?

13   A.   I heard that he's registered.
14   Q.   So you heard that he was --

15   A.   And there was a problem; there was a problem.        But how

16        they resolved the problem, I don't know.
17   Q.   And you had nothing to do with that?

18   A.   No.   I had nothing to do with it.

19   Q.   Okay.   I -- if he wanted to reapply, or come to the next

20        meeting, is that something he could do?

21   A.   I told you, we will change the bylaws here and say that

22        in the future, only scientists can be -- can be member.

23        And I don't know when we can change this.

24   Q.   Okay.

25   A.   But it might be within the next month.       And if -- you
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 1                                 REBMANN
 2        know, if you make a -- a meeting, it is up to us to

 3        decide who can -- who can join us and who not.        This is

 4        normal.
 5   Q.   And who makes that decision?

 6   A.   Not me.

 7   Q.   Not you.
 8   A.   Not me.

 9   Q.   I see.

10   A.   The whole organization, you have no idea about; we are
11        supporting many scientifical work all over the world by

12        this organization, and they do a lot of work, so it is

13        a real organization.    And I'm completely out.
14   Q.   You're just the president?

15   A.   I am just the honorary president, yeah.

16   Q.   Now, you are the honorary president?
17   A.   Yeah.

18   Q.   Yeah.

19   A.   The honorary -- and I would -- I would resign, if

20        I could.

21   Q.   You would resign if you could?

22   A.   I told you, because our professors would -- would leave

23        too.    Then we have a problem.

24   Q.   I see.    I see.

25   A.   Because it's -- it's his debt.
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 1                                 REBMANN
 2   MR. GOLDMAN:    I thought I had more copies of the amended

 3        complaint.   Let me make a few copies, and we'll deal

 4        with that.   So I'll keep going while he's making the
 5        copies.

 6   Q.   The phospholipids:    You said there were certain kinds

 7        that only you make?
 8   A.   Not only me.   No, no.   We started -- it started 35 years

 9        ago; but in the meantime, there were many people who --

10        who tried to compete and make similar products.        But
11        what we did -- and this is our -- really, what we

12        really -- what I think I'm proud on, we -- we really

13        established strong specifications for these products.
14        And these are accepted now everywhere.       So we were

15        really the starter of this special thing.

16   Q.   Do you have any patents?
17   A.   No.   You don't need patents.

18   Q.   No?

19   A.   No.

20   Q.   So you have competitors now in this business?

21   A.   Sure, we have -- early, we had -- we had always

22        competitors.

23   Q.   Uh-huh.   What percentage of the market do you control

24        for phospholipids?

25   A.   Oh, you know, this is -- you cannot say.       The market of
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 1                                   REBMANN
 2        lecithin, surely 700,000 tons or something.

 3        700,000 tons.   And we make some, so ...

 4   Q.   You make how much?
 5   A.   I never asked how much, in relation to this 700,000.

 6        We -- we make some tons.

 7   Q.   How about the egg-derived phospholipids?
 8   A.   Yeah.

 9   Q.   What percentage of that market do you have?

10   A.   I don't tell you.
11   Q.   Huh?

12   A.   I don't tell you.    Because he --

13   Q.   You're not going to tell me?
14   A.   He wants to compete us -- with us; it's clear.        So --

15        it's completely clear.

16   Q.   Okay.    So what -- I understand that you would like to
17        keep him out of the business; correct?

18   A.   No.    He can do what he wants.      There are 700,000 tons;

19        everybody -- we don't care for these 700,000 tons.

20   Q.   I'm not talking about --

21   A.   Yes, but --

22   Q.   The 700,000 tons.

23   A.   But he does.    He does.

24   Q.   I'm talking -- he's not even in the room now.

25   A.   Yeah, but he --
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 1                                  REBMANN
 2   Q.   So you keep pointing --

 3   A.   He does, he does.     I know.

 4   Q.   You keep pointing at him, but he's not in the room.
 5   A.   Yeah, but he knows.     I know he does -- he cares for --

 6   Q.   You know he knows --

 7   A.   -- the 700,000.     You know, he -- he cares for the
 8        700,000.   We don't do.    We have our specialties, these

 9        people use our subs.

10   Q.   But in your specialties, you dominate the market?
11   A.   No.

12   Q.   You don't?   Who is -- who is the biggest company in --

13        in the world, in egg-based phospholipids?
14   A.   I don't know.

15   Q.   You don't know?

16   A.   No.
17   Q.   Were you ...

18              Phospholipid GmbH, okay, what do they manufacture?

19   A.   Phospholipids.

20   Q.   From what?

21   A.   From -- from soya, mainly.

22   Q.   Mainly from soya?

23   A.   Or from other vegetables too.       All kind of vegetables.

24   Q.   Okay.   And insofar as the soya or the --

25   A.   Others?
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 1                                  REBMANN
 2   Q.   -- yeah, others -- what percentage of the market do you

 3        have?

 4   A.   This is again the question of -- of the product, you
 5        see.    Again, the market is 700,000 tons.

 6   Q.   But that's -- that's if you're talking about all the --

 7   A.   Yeah.    We sell --
 8   Q.   -- lecithin, including all the stuff you're not

 9        interested in.

10   A.   We sell -- we sell some tons in relation to this.
11   Q.   Hmm?    What?

12   A.   We sell -- we sell some tons in relation to this.         So

13        you cannot say --
14   Q.   Yeah.

15   A.   -- we dominate the market.     This is not possible.

16            We make special products.
17   Q.   Yeah.

18   A.   Yeah.    Sure.    But we also make -- make other products.

19   Q.   Yeah, I know, but the special --

20                         (Reporter clarification.)

21   WITNESS:     Sorry.

22   A.   I say we make special products, and other people make

23        other products.

24   BY MR. GOLDMAN:

25   Q.   Right.
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 1                                     REBMANN
 2   A.   So you cannot say "He's dominating; he's" -- it's not

 3        possible.

 4   Q.   Yeah, but let me -- you've already faced one antitrust
 5        suit in the United States?

 6   A.   Hmm?

 7   Q.   You have already been sued in the United States for
 8        antitrust violations?

 9   A.   Hmm?    Who's "you"?   We?

10   Q.   Your companies, yeah.
11                        (Discussion in German.)

12   BY MR. GOLDMAN:

13   Q.   Sherman Act?    Sherman Act violations?
14   A.   I don't know the name.

15   Q.   You don't know the name?

16   A.   Even the name, not.
17   Q.   No?    Robinson-Patman Act?      Do you know what that is?

18   A.   Yeah, but this does in relation to Vernon Walden.

19   Q.   Huh?

20   A.   This does in relation to Vernon Walden.

21   Q.   I see.   But he sued you for that; correct?

22   A.   Yeah.    It is a very special thing; we should -- we

23        should -- we can discuss sometime.

24   Q.   What's that?    I'm sorry?

25   A.   We can discuss this -- we can discuss this long time on
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 293 of 353
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 1                                 REBMANN
 2        this.

 3   Q.   So the answer is you were sued for antitrust violations

 4        in the United States?
 5   A.   It's his case; he can do what --

 6   Q.   Think about it, and then --

 7   A.   Mm.
 8   Q.   -- give me an answer.

 9   A.   Yeah, it's true.    Yeah, it's -- yeah.

10   Q.   Yes.
11   A.   It's curious, yeah.

12   Q.   Yes.    And they claimed that you dominated the market --

13   A.   No.
14   Q.   -- in certain specialties?

15   A.   No, no, no, no.

16   Q.   And what did they claim?
17   A.   No, no, no, no.

18   Q.   What did they claim?

19   A.   It wasn't --

20                       (Reporter clarification.)

21   BY MR. GOLDMAN:

22   Q.   What did they claim?

23   A.   I think the question was that we sold the same product

24        to two -- two different people for different prices.

25        This was the rationale, I think.
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 1                                  REBMANN
 2   Q.   I see.

 3   A.   Yeah.

 4   Q.   And that's something you've continued to do?
 5   A.   No, no, no, no, no, no, no.     You -- you always think --

 6        you -- you -- you always think --

 7   Q.   No, I'm just asking questions.
 8   A.   You always think you -- you can make a bad man for me.

 9        This is not --

10   Q.   I can do what?
11   A.   You can make a bad man for me -- for me.

12   Q.   I'm not going to make --

13   A.   This is not true.
14   Q.   -- you a bad man.

15   A.   This is really not true.

16                        (Reporter clarification.)
17   MR. GOLDMAN:    Sorry.

18   WITNESS:     Yeah.   Sorry.

19   A.   So if I remember well, we sold the same product to

20        two -- to two companies.     I think one was our agent; the

21        other was another one.

22            And then the point was the price was not the same.

23        So this -- this was everything.      This was all, I think.

24            Yeah; what else?     We dominate the market or

25        something; completely impossible.
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 1                                  REBMANN
 2   BY MR. GOLDMAN:

 3   Q.   Let me ask you this:    In -- from -- who determined the

 4        prices that the manufactured products, manufactured by
 5        the group, were sold to American Lecithin or to

 6        Lipoid LLC?

 7   A.   It is very easy.    We have a -- we have a simple policy
 8        that we charge everywhere, everybody, for the same

 9        price.

10   Q.   I see.
11   A.   Yeah?    So whoever orders a product from here, from

12        where, they get the same price.      This was in the past;

13        now it is not allowed -- to fix resale prices, for
14        example, for companies.

15            And therefore we sell the products to companies in

16        the United States for a certain reduced price, and at
17        the end, we hope they will have the same price as a

18        seller of the goods.

19   Q.   So you just hope that --

20   A.   Yeah.

21   Q.   -- the US companies --

22   A.   Yeah.

23   Q.   -- are going to have the same price?

24   A.   Yeah.    We have no control.

25   Q.   You have no control?
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 1                                    REBMANN
 2   A.   I only found out --

 3   Q.   You don't have economic control?

 4   A.   No, wait.   Wait.   Wait.    Wait.
 5            And I find out -- it is the answer; it's my answer.

 6            And I find out when I followed him, in the -- in the

 7        Lipoid LLC, that the prices were much too high they
 8        charged here.   So in relation to the buying price, the

 9        selling price was much too high.

10            So we -- we organized a new system.       It is worse at
11        the end, that the prices became lower than they were

12        before.

13   Q.   When did you do this?
14   A.   After he left, so '11, '12 -- yeah, 2012.

15   Q.   So after he left, you reduced the prices?

16   A.   Sure.   Dramatically.   I can show you figures, if you
17        want.

18   Q.   Oh, sure.

19   A.   Here.   I know you want to take them.

20   Q.   Yeah.

21   A.   I have them here.

22            So the price is -- I told you already earlier, we

23        are not interested in profit; we are interested in

24        developing the market.

25   Q.   Mm-hmm?
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                                                                           296


 1                                 REBMANN
 2   A.   That means we never charge too high prices.

 3   Q.   Sounds pretty communist, if you're asking me.

 4   A.   Yeah, yeah.   Yeah, yeah.    Yeah, yeah.
 5   MR. HAUSER:    Objection, argumentative.

 6   A.   Yeah, yeah.

 7   MR. GOLDMAN:     It's a joke, my friend.
 8   WITNESS:   Come on.    Come on.

 9   MR. GOLDMAN:     It's -- it's a joke.

10   A.   No, no --
11   MR. GOLDMAN:     We're joking with each other.

12   A.   You are completely -- no, you are completely right.         We

13        really try --
14   MR. GOLDMAN:     Just a --

15   A.   We really try to do something for everybody, for --

16        really, for high quality and low prices.       This is really
17        the intention of the company, which started in -- you'll

18        see, in -- in 1980 or something.

19   BY MR. GOLDMAN:

20   Q.   Right.

21   A.   And this -- the intention was always to make best

22        product for the lowest possible price.

23            And now I brought here a list, because I thought

24        that you -- that you come with this -- this is the

25        question of our prices, from Germany to United States,
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 1                                   REBMANN
 2        in 2006, 2007, and 2008.

 3            And best they make copies of this.         If you -- no, we

 4        should not -- it's a competing thing.
 5            No.   2008, he will compete with us.        Difficult.

 6   Q.   But you said you dropped the prices significantly after

 7        Matthias left.
 8   A.   Yeah.    Yeah.    Yeah.

 9   Q.   So I need these lists also.

10   A.   The lists -- no.     No, no.
11            Now, we understand wrong.         So this list here is from

12        2006 to 2008, and you speak now about 2011 and 2012,

13        because this I have no list.         I must see if I find
14        something for you.

15            No, no, no, it's not correct.        No, no, for this

16        I have no paper yet.      You speak now about 2011, 2012 --
17   Q.   Yeah.

18   A.   -- and 2013.      I have nothing here.

19   Q.   All right, let me ask you this:        The papers that you

20        just looked at --

21   A.   Yeah.

22   Q.   -- okay, I'll take the copies of those, and I'll ask you

23        to get these subsequent years later.

24   A.   Yes.    The point is that we reduce our prices, basically,

25        every year.      And you will see it is true, in these
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 1                                  REBMANN
 2        documents.

 3            But you must see one point, naturally, that you are

 4        charged here in dollars, and we're charged in Europe in
 5        euro.    That means the exchange rate is important.

 6   Q.   Sure.

 7   A.   Yeah?    Now, for example, products are very cheap here.
 8   Q.   Right.

 9   A.   Extremely cheap.    So anyway it's cheap because we -- we

10        compensate the exchange rate.
11   Q.   Yeah.

12   A.   And therefore --

13   WITNESS:     You want to make copies, or not?
14   MR. HAUSER:    Is this okay?

15                        (Discussion in German.)

16   A.   And therefore you must compare the -- the euro prices.
17   MR. GOLDMAN:     Yeah.   Let him do it, by the way.

18                     (Discussion off the record.)

19   A.   You must compare to euro prices.

20   BY MR. GOLDMAN:

21   Q.   Yeah.    I have to wait till your attorney --

22   A.   Yeah.

23   Q.   -- comes back --

24   A.   Yeah.

25   Q.   -- into the room.
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 1                                    REBMANN
 2   A.   We will do so.

 3   MR. CARSTEN MATTHIAS REBMANN:        I can state for the record --

 4                       (Reporter clarification.)
 5   MR. GOLDMAN:     I understand.

 6   MR. CARSTEN MATTHIAS REBMANN:        I can state for the record

 7        that when I was told that -- I was telling Sam
 8        something, that I tried to clarify a misunderstanding,

 9        because Sam used the word "yard," and I think my father

10        understood it as "York" and thought it was "New York."
11        And I told Sam too about the use of the word -- the word

12        "garden."

13   MR. GOLDMAN:     Yeah, I didn't know.
14   MR. CARSTEN MATTHIAS REBMANN:        So there would not be an

15        ambiguity.

16   MR. GOLDMAN:     I didn't know.    I didn't know till you
17        explained it to me now what -- I mean, I understood,

18        maybe, that "yard" is not a word that's used in Germany.

19   MR. HAUSER:    By and large, they don't.     Although,

20        ironically, the word "yard" and "garden" come from the

21        same place; they come from -- both come from the same

22        source word.    So ...

23   A.   I don't understand; of what are you speaking now?

24   MR. HAUSER:    (German spoken.)      Yeah.

25                        (Discussion in German.)
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 1                                 REBMANN
 2   MR. HAUSER:     So they would -- I mean, lawns don't really

 3        exist over here; people don't waste the space with grass

 4        like that.
 5   MR. GOLDMAN:     Yeah.

 6   MR. HAUSER:     It's a -- it's a -- only in the United States

 7        do they do that.    But to the extent you're talking about
 8        a planted area near a house, they generally use the term

 9        "garden."

10   MR. GOLDMAN:     I understand; I -- no, I get it.
11            I just -- I'm going to try, because we only have

12        about a half-hour left, I'm going to see if I can at

13        least finish some of what I have here.
14   Q.   So you're saying that it was a coincidence that you

15        lowered the price after Matthias left; is that --

16   MR. HAUSER:     Objection.
17   A.   No, I --

18   MR. GOLDMAN:     I thought that's what I heard him say.

19   MR. HAUSER:     No.

20   A.   No, no.    I realized that the prices were too high.       This

21        is what is --

22   BY MR. GOLDMAN:

23   Q.   After he left?

24   A.   Yeah.

25   Q.   I see.
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 1                                  REBMANN
 2   A.   Because I didn't know which price he's at, the trust --

 3   Q.   Did he ask you to lower the prices before he left?

 4   A.   He didn't know -- I didn't know the price.        So I saw the
 5        price only when I was here, and I saw the price.        Then

 6        I said, "Okay, this is too -- too high."

 7   Q.   Did Matthias ever ask you to lower the prices while he
 8        was there?

 9   A.   This is not the problem.     He increased the price too

10        high.   It's not the question that he lower the price; he
11        ask for too much of it.     This is the point.

12   MR. HAUSER:     These numbers are subject to the same

13        restriction on confidentiality as the other financial
14        numbers.

15   MR. GOLDMAN:     Yeah.

16   Q.   So I'll just ask you the question --
17   MR. HAUSER:     You agree -- that's agreed; right?

18   MR. GOLDMAN:     Yes.

19   MR. HAUSER:     Okay.

20   BY MR. GOLDMAN:

21   Q.   I'll ask you the question for a third time --

22   A.   Mm-hmm.

23   Q.   -- which is:    Did Matthias ever ask you to lower the

24        prices that were being charged to the American

25        companies --
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 1                                  REBMANN
 2   A.   No.

 3   Q.   -- for the product?

 4   A.   No, no.
 5   Q.   He never --

 6   A.   He was not --

 7   Q.   -- asked you that?
 8   A.   -- interested in lower prices.

 9   Q.   Never asked you that?

10   A.   It -- there were surely some, let's say there could be,
11        in some cases, that for a certain customer, there was

12        a certain discussion; but in general, not.        But if he

13        had this discussion for a single customer, which is
14        possible here, United States, it was not made by -- not

15        made by me, and I don't know it.

16              So the daily work was not at all in my competence.
17   Q.   Did you cut -- I know we don't have the papers here, and

18        you --

19   A.   Yeah.

20   Q.   -- said you'll give us the papers:      Did you cut the

21        prices by 50 percent?

22   A.   I don't think so.     We should look.

23   Q.   We should look?

24   A.   We will send you -- I will send you the list --

25   Q.   Okay.
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 1                                  REBMANN
 2   A.   -- so we can see.

 3              50 percent, I don't think so.

 4   Q.   Okay.
 5   A.   But anyway, we lowered the prices because the profit was

 6        -- he made here was too high.

 7   Q.   I see.
 8   A.   From my understanding.

 9   Q.   And this happened right after you found out that he

10        was --
11   A.   Yeah.    Yeah.

12   Q.   -- trying to go --

13   A.   Yeah.    Yeah.
14   Q.   -- into the --

15   A.   Yeah.    I had found --

16   Q.   -- phospholipid business.
17   A.   I had found --

18                         (Reporter clarification.)

19   BY MR. GOLDMAN:

20   Q.   My question -- you're answering before I ask the

21        question --

22   A.   No.

23   Q.   -- and that's going to get you into trouble --

24   A.   Okay, so --

25   Q.   -- because you're going to answer something different
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 1                                 REBMANN
 2        than what I'm asking you.

 3   A.   So, ask again.

 4   Q.   I'm saying you lowered the prices after you found out
 5        that he was trying to go into the phospholipid business?

 6   A.   No.   No.

 7   Q.   But you did find out?
 8   A.   No.

 9   Q.   You didn't find out?

10   A.   This is not the point.     The point is that we, with our
11        social communist situation, say that the prices are too

12        high, independent of everybody.

13   Q.   But your -- right.
14   A.   Yeah.

15   Q.   The prices are too high?

16   A.   Yeah.
17   Q.   And you did this, you figured out the prices were too

18        high, after you found out that Matthias --

19   A.   No.   No.   You -- you think I -- you know, we never

20        looked for our competitor, nor for the product, nor for

21        something else.    So we have our own philosophy, and

22        these prices he charged were too high, here, '96.

23   Q.   I see.

24   A.   And then I said -- now I calculate; I have a holds to

25        see these prices, all this file, I make here, for the
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 1                                 REBMANN
 2        prices, for new prices, because these are not justified.

 3        And based on this consideration, we fix new prices.

 4   Q.   I see.
 5   A.   Has nothing to do with any competition.        Really.

 6   Q.   I see.

 7              So the prices are not determined by competitive
 8        prices?

 9   A.   No.   No.   These prices, for these products, not at all.

10   Q.   Not at all; okay.
11              Yeah, when you say "these products," what are you

12        referring to?

13   A.   We have here the list.
14   Q.   This list?

15              What is -- what's written on here?      76?

16   A.   Yeah.    You see, when we start -- when we say -- you see,
17        always -- 2006, '7, '8, and you see the prices in euros

18        and in dollar, and you see the exchange rate too.

19   Q.   Okay.

20   A.   Yeah?    But exchange rate has changed from 1.26 to 1.47,

21        and naturally the price in dollar became more expensive,

22        in this case.

23   Q.   Do you -- okay, so you're going to give me the ones for

24        later, and I'd ask you also to give me the price list

25        for this period for Lipoid GmbH.      Okay?
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 307 of 353
                                                                           306


 1                                   REBMANN
 2   MR. HAUSER:    That one --

 3   BY MR. GOLDMAN:

 4   Q.   The ones they charged.
 5   MR. HAUSER:    -- for certain, you're not getting --

 6   A.   No, no.

 7   MR. HAUSER:    -- until we have a protective order --
 8   A.   We will not give you --

 9   MR. HAUSER:    -- that restricts your client --

10   A.   No, no.
11   MR. HAUSER:    -- from seeing them.

12   A.   No, no.   We will not --

13                      (Reporter clarification.)
14   A.   No, no, it is clear.      We will not give him actual price

15        list.   This is not possible.

16   MR. GOLDMAN:     If you want him not to see the numbers that
17        were in effect after he left, I can think about that.

18        Obviously, while he was still in charge of the company,

19        he should be able to see those prices.

20   MR. HAUSER:    You've got those in front of you.

21   MR. GOLDMAN:     This was just Phospholipid; I'm asking for

22        Lipoid.   This is just a very small percentage of the

23        products.    So it's --

24   MR. HAUSER:    Let's make -- give me an email --

25   MR. GOLDMAN:     What's -- what's --
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 308 of 353
                                                                           307


 1                                  REBMANN
 2   MR. HAUSER:    -- of your question; we'll deal with it one at

 3        a time.   We'll deal with it.

 4   MR. GOLDMAN:    Well, I'm -- I'm asking Dr. Rebmann, who
 5        certainly knows how many products he has, because he

 6        testified -- he mentioned it before, to --

 7   MR. HAUSER:    You don't ask him to produce documents; you ask
 8        me.   You can ask him if they exist, but a production

 9        request goes from you to me, and you know it.

10   MR. GOLDMAN:    Well, he said they exist; I assume he has
11        price lists.     Okay?   I don't need to ask him that

12        question; it would be kind of silly.

13   A.   We cannot give you --
14   MR. GOLDMAN:    Let's mark this --

15   A.   We cannot give you actual price --

16   MR. GOLDMAN:    -- as an exhibit --
17                        (Reporter clarification.)

18   WITNESS:    Sorry.    Yeah.

19   MR. GOLDMAN:    Mark this as exhibit -- defendant's

20        exhibit 23.     And those are price lists for a handful --

21        price lists for a handful of products that are provided

22        by Dr. Rebmann a short while ago.

23               (Exhibit 23 marked for identification.)

24   MR. HAUSER:    So we're clear on the record, it's price lists,

25        plural; there's --
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 309 of 353
                                                                           308


 1                                 REBMANN
 2   MR. GOLDMAN:    Yeah.

 3   MR. HAUSER:    -- four years' -- or three years' worth of them

 4        there.
 5   MR. GOLDMAN:    Okay.

 6   Q.   And you did know that Matthias was going into the

 7        business, or trying to go into the business?
 8   A.   He has a -- he has a -- (German spoken.) --

 9   MR. HAUSER:    Non-compete.

10   A.   -- non-compete clause.     He has a non-compete clause for
11        two years.

12   BY MR. GOLDMAN:

13   Q.   Really?
14   A.   Yeah.    He has.

15   Q.   Where is that written?

16   A.   It's in our bylaw from Grundstucks GmbH.       Everybody who
17        is engaged in this company has a -- has a --

18   WITNESS:     Again?

19   MR. HAUSER:    Non-compete.

20   MR. ZAENKER:    A two-year non-compete.

21   A.   Non-compete clause for two years.

22            So you can think about that.

23   BY MR. GOLDMAN:

24   Q.   Did you ever tell him --

25   A.   Yeah, we told -- immediately I told that he has a -- a
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 310 of 353
                                                                           309


 1                                 REBMANN
 2        non-compete clause.

 3   Q.   Okay.

 4   A.   Simply, he said he -- "I don't have."
 5            From the beginning, I told him that he has it.

 6   Q.   Then I'd like for you to show me --

 7   A.   Yeah.
 8   Q.   -- in bylaws where that is.     Okay?

 9   A.   Yeah.    We will do.   But he has them too.

10   Q.   Did you tell him in writing, or verbally?
11   A.   It's difficult to say.     Anyway, it's -- since the

12        beginning, it was clear that he has this non-compete

13        clause.
14   Q.   I see.

15   A.   Yeah?    So it's completely clear.

16   Q.   So you don't recall if you told him verbally or in
17        writing?

18   A.   He has -- he has the bylaw -- he has the bylaw, himself,

19        where it is written.    He can read it himself.

20   Q.   I'm not asking you that question.       I'm asking you if you

21        told him --

22   A.   I don't know.

23   Q.   -- that --

24   A.   Surely I did.   Surely I did.

25   Q.   Surely you did?
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 311 of 353
                                                                           310


 1                                 REBMANN
 2   A.   Yeah.

 3   Q.   Do you remember, or you --

 4   A.   No, I -- I think that I did.
 5   Q.   You think you did?

 6   A.   Yeah.

 7   Q.   And do you think you did it in writing, or --
 8   A.   Surely not.

 9   Q.   -- verbally?

10   A.   Surely not.
11   Q.   Surely not; okay.

12   MR. GOLDMAN:     Here is another document, that I think I'd

13        like to have marked as defendant's 24.
14                (Exhibit 24 marked for identification.)

15                      (Discussion off the record.)

16   BY MR. GOLDMAN:
17   Q.   And are you familiar with this document?

18   A.   Yeah.

19   Q.   And this document, which -- the amended complaint by

20        American Lecithin Company, Lipoid GmbH, Lipoid LLC, and

21        Phospholipid GmbH, against Carsten Matthias Rebmann;

22        correct?

23   A.   Yeah.

24   Q.   Okay.    And did you authorize the filing of this lawsuit?

25   A.   It was decided.     By whom, I don't know.
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 312 of 353
                                                                           311


 1                                  REBMANN
 2   Q.   And let's look at paragraph 8.

 3   A.   Yeah.

 4   Q.   It says:
 5            "Plaintiffs are a group of affiliated companies that

 6        manufacture and sell lecithin phospholipid products for

 7        use in the pharmaceutical, cosmetic and dietetic
 8        industries."

 9            And that is correct?

10   A.   I think so.
11   Q.   And the "Plaintiffs are a group of affiliated companies"

12        is correct?

13   A.   This is the wording of our -- of our lawyer.        Yeah.
14   Q.   Okay.   And in paragraph number 10, it says that the

15        "Defendant became an officer and employee of Lipoid,

16        LLC, in 2004, and an officer of American Lecithin
17        Company in 2007."

18            That's correct too?

19   A.   Yeah, I think so, again.

20   Q.   You think that's correct, or --

21   A.   Yeah, yeah, I think so.

22   Q.   Let's look at -- did -- did you answer the question, or

23        do you -- you're still thinking about it?

24   A.   I -- no, no, I said "I think so."

25   Q.   You think so?
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 313 of 353
                                                                           312


 1                                 REBMANN
 2   A.   Point 10.

 3   Q.   Let's look at paragraph number 11.      And it says that:

 4              "... [the] Defendant registered under his own name,
 5        or transferred to his own name, as 'owner' the following

 6        domain names: alcolec.com; americanlecithin.com;

 7        cerasome.com; lipoidllc.com; nanosolve.com; phosal.com;
 8        phospholipon.com; and phytosolve.com..."

 9              Okay.   Were you aware that he did this, when he did

10        it, at the time that he did these registrations?
11   A.   No.

12   Q.   Did he discuss this with you at the time that he did it?

13   A.   You see, this total -- questions of these domains and
14        all these things was never treated by me.

15   Q.   Never what?

16   A.   Was never treated by me.
17              We have a -- we have a colleague in Lipoid GmbH who

18        cares for this:    Registration and all these things.

19        This is Mr. Kolodziej.     "Kolodziej"; that is K- --

20   MR. HAUSER:    K-O-L-O-D-Z-I-E-J.

21   A.   Yeah.    Yeah.

22              And he was always in contact with your client --

23   BY MR. GOLDMAN:

24   Q.   Mm-hmm?

25   A.   -- concerning this.    I understand nothing.
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 314 of 353
                                                                           313


 1                                    REBMANN
 2   Q.   I see.    So in number -- let's look at number 13.

 3   A.   Mm-hmm.

 4   Q.   It says that:
 5            "... Defendant's ... registration or transfer to

 6        himself of the various Domain Names ... was wrongful and

 7        in bad faith... "
 8            Do you believe that is correct?

 9   A.   You see, you see, at the beginning of his work, I was

10        really very confident that he -- he works correctly, and
11        there was no control.       In the meantime, when I see what

12        he did, I'm not as sure anymore.

13   Q.   But here you're stating that he registered these in his
14        own name, and it was wrongful and in bad faith; and now

15        you're saying you're not sure.        And I'm asking if you

16        believe that what he did was wrongful and in bad faith.
17   A.   If any way --

18   MR. HAUSER:     Objection as to form.

19   A.   If in any way he is now -- he tries to -- (German

20        spoken.) --

21   MR. ZAENKER:     To negotiate.

22   A.   -- to negotiate with this --

23   BY MR. GOLDMAN:

24   Q.   You're -- you're not answering my question, sir.

25   A.   Sorry?
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 315 of 353
                                                                           314


 1                                 REBMANN
 2   Q.   You have to listen to the question --

 3   A.   Yeah.

 4   Q.   -- and answer the question.
 5   A.   Yeah.

 6   Q.   And just so you understand, when you don't answer the

 7        question, it actually hurts you.
 8   A.   Mm-hmm?

 9   Q.   Okay?    It makes it look like you're --

10   MR. HAUSER:     Objection.
11   MR. GOLDMAN:     I'm trying to explain to him that he -- he

12        should be answering the question.

13   MR. HAUSER:     You're giving him legal advice.     That's
14        inappropriate.

15   MR. GOLDMAN:     No, I am entitled to explain to him that it's

16        important for him to actually --
17   A.   Okay.

18   MR. GOLDMAN:     -- answer the questions.

19   A.   Now --

20   MR. GOLDMAN:     That it's not a free-for-all where I put

21        a topic on, and he talks about whatever he wants to talk

22        about.    Because at the end of the day, what I was trying

23        to explain to him is -- is it's not going to be good for

24        him that he's not answering the questions, especially

25        when they're asked several times.
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 316 of 353
                                                                           315


 1                                  REBMANN
 2              Now, I withdraw anything that suggests that I was

 3        giving him legal advice; I was not intending to.        I was

 4        trying to be helpful to him, to organize his responses.
 5   Q.   Now, let's go to -- we're looking at the same question

 6        I keep asking you, and I'll ask you one more time:         Was

 7        it -- do you believe that when he registered those --
 8        which goes back to -- when, 2004?      2005?   Whenever it

 9        was -- that it was wrongful and in bad faith?

10   A.   I answered that I'm not sure.       And I told you also that
11        in the beginning, I had another feeling than I have

12        today.

13   Q.   Do you know why he registered them in his own name?
14   A.   No.

15   Q.   Did you ever discuss that with him?

16   A.   He might have mentioned sometime something, but we not
17        discussed -- I don't understand the whole question; you

18        know?    This domain, this whole story, I don't

19        understand.   He has specialists on this, and they have

20        to -- to care for this.

21   Q.   Do you know if he ever used any of these domain names

22        for his own purposes?

23   A.   I don't know.

24   Q.   Do you know if they were used for company purposes?

25   A.   Again, I don't know.
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 317 of 353
                                                                           316


 1                                  REBMANN
 2   Q.   How about number 15?     It says:   "Plaintiffs" -- it says:

 3        "Plaintiffs operate two websites ... americanlecithin

 4        ... and lipoid.com," and all these URLs redirect to the
 5        two websites that you operate.

 6   A.   Mm-hmm.

 7   Q.   Correct?
 8              Okay.

 9   A.   It's the -- I don't know.

10   MR. HAUSER:     Are you asking --
11   A.   I don't know.

12   MR. HAUSER:     -- if it's correct that it says that?      Or is it

13        towards --
14   MR. GOLDMAN:       If he -- if he knows if this is true or not.

15   A.   No, I don't know.     I tell you, I have no idea about the

16        whole project concerning these home pages and domains as
17        well.    I was never involved with it.

18   BY MR. GOLDMAN:

19   Q.   So you never discussed that these names redirect to the

20        company websites?

21   A.   No.

22   Q.   Now, it says here that on August 11th -- this is

23        number 17.

24   A.   Yeah.

25   Q.   It says that you terminated all of defendant's positions
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 318 of 353
                                                                           317


 1                                 REBMANN
 2        with American Lecithin and Lipoid.      It says you

 3        terminated all of those positions, and you sent a letter

 4        two weeks later.
 5            Do you recall how you terminated the positions in --

 6        on August 11th, 2011?

 7   A.   I sent him several emails, and also a letter.
 8   Q.   Okay.    I'd ask you to produce all of those.

 9   MR. HAUSER:    I'm pretty sure you have all that.

10   WITNESS:     Mm-hmm.   He has it.
11   MR. HAUSER:    Whatever exists, I believe we've already

12        produced.

13   WITNESS:     Mm-hmm.
14   MR. GOLDMAN:     I haven't seen a complete set that is

15        consistent with this, so if -- if you've done it

16        already, fine; and if not, then I'd ask you to produce
17        anything else that you have.

18   MR. HAUSER:    You have the letter.     You have the letter.

19   MR. GOLDMAN:     I have the letter, sure.

20   MR. HAUSER:    You marked it today.

21   MR. GOLDMAN:     But I don't have the August 11th materials.

22            I mean, I have a bunch of things, and I don't want

23        to go through it now, because we don't have the time.

24   MR. HAUSER:    I'm 99 percent certain that everything with

25        regard to his termination was produced.
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 319 of 353
                                                                           318


 1                                  REBMANN
 2   MR. GOLDMAN:     But the August 11th, he said there was an

 3        email --

 4   A.   Could be -- should be like this.
 5   MR. GOLDMAN:     Is that it?

 6   MR. HAUSER:     No.   No, that's not it.

 7            There were emails.     I don't know that any is
 8        dated August 11th, but you have whatever exists, I'm

 9        pretty sure.

10   BY MR. GOLDMAN:
11   Q.   Let me just continue on and ask if you have any facts --

12        let me ask you to look at paragraph 23, and ask if you

13        know if this is true or not.
14   A.   Yeah, I think so.

15   Q.   What do you think is true?

16   A.   What is mentioned here in 23.
17   Q.   Yeah.   Do you have any facts -- are you familiar with

18        any facts that support the statements?

19   A.   I tell you again, I had never anything to do with this

20        question.

21   Q.   Mm-hmm?

22   A.   And I'm the wrong -- I'm the wrong guy you ask.

23   Q.   Do you know if Matthias ever used any of these domain

24        names for his personal use?

25   A.   I know nothing about these --
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 320 of 353
                                                                           319


 1                                    REBMANN
 2   Q.   You know nothing?

 3   A.   -- domain names.

 4   Q.   Okay.    Who --
 5   A.   Really, nothing.

 6   Q.   Who would know?     Just Kolodziej?

 7   A.   Difficult.
 8            I don't know.

 9   Q.   Who was involved in -- let's go back to paragraph 9.

10            And I see there's a typo here, but who was involved
11        in registering all these tradenames in the United

12        States -- the trademarks, I should say.

13   A.   I don't know.     I tell you, I have nothing to do with
14        this.

15   Q.   Do you know if it was Matthias?

16   A.   No idea.    I've no idea.
17            Whatever you will ask me, I have no idea.

18   Q.   Was -- do you know if Matthias was an officer or

19        employee of Phospholipid GmbH?

20   A.   Never.   He was never -- how --

21   Q.   Do you know if he was an officer or employee of

22        Lipoid GmbH?

23   A.   Surely not.

24   Q.   Can you explain why he was registering trademarks for

25        those companies?
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 321 of 353
                                                                           320


 1                                   REBMANN
 2   A.   I don't know.

 3   Q.   Did you ever ask him to do that?

 4   A.   No.
 5   Q.   Do you know if any employees of any of the Lipoid

 6        companies ever asked him to do that?

 7   A.   Again, I don't know.    This is a -- a question which is
 8        completely out of my view.

 9   Q.   Did he register the trademarks in the names of the

10        companies, or in his own name?       Do you know that?
11   A.   Nothing.    I know nothing about this.

12   Q.   You know nothing; okay.

13   A.   And don't ask me thousand times.       I -- I know nothing.
14   Q.   All right.   How about in number 28 --

15   MR. HAUSER:     Just for a moment, let's go off the record.

16        The translators have to go.      They have to catch their
17        train.

18   MR. ZAENKER:     I'm afraid so.

19   MR. GOLDMAN:     Two minutes?     Or no good?

20   MR. ZAENKER:     Okay, two minutes.

21   MR. GOLDMAN:     Two minutes, and I'll just ask a couple of

22        questions, and then we'll wrap it up.       And I thank you

23        for staying.

24   Q.   It says in 28 and further, that the plaintiffs have

25        sustained irreparable injury.
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                                                                           321


 1                                   REBMANN
 2                           (Document translated.)

 3   BY MR. GOLDMAN:

 4   Q.   Do you know --
 5   A.   Thank you.

 6   BY MR. GOLDMAN:

 7   Q.   Do you know what the irreparable injuries were?
 8   A.   I have no idea.

 9   Q.   Do you know of any damages that were sustained by the

10        plaintiffs as a result of what you say the defendant
11        did?

12   A.   I don't know.

13   Q.   Did you offer the defendant any kind of severance
14        package when he was terminated?

15                           (Question translated.)

16   A.   No.    No.   No.
17   BY MR. GOLDMAN:

18   Q.   Okay.    Did you ever, as a father of the defendant, try

19        to help him in any way?     Talking about from 2010

20        forward.

21   A.   Sure.

22   Q.   Can I ask how?

23   A.   No.    I would -- I would have to look on my files and so

24        on.    I have no idea.

25   Q.   So you can't remember at this point?
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                                                                           322


 1                                 REBMANN
 2   A.   No.   No.   No.

 3   MR. GOLDMAN:     I think we should wrap it up.     I think -- you

 4        folks have to go, and I thank you for coming today.
 5               (Whereupon the deposition concluded.)

 6   (5:35 p.m.)

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Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 Page 324 of 353
                                                                           323


 1                       A C K N O W L E D G M E N T
 2

 3   STATE OF                  )

 4                             ) ss.:
 5   COUNTY OF                 )

 6

 7   I, DR. HERBERT REBMANN, hereby certify that I have read the
 8   transcript of my testimony taken under oath in my

 9   deposition; that the transcript is a true, complete and

10   correct record of my testimony, and that the answers on the
11   record as given by me are true and correct.

12

13
14

15                        ______________________________

16                                 DR. HERBERT REBMANN
17

18   Signed and subscribed to before

19   me, this _______ day of ________________, 20__.

20

21   ____________________________________

22   Notary Public, State of ____________

23

24

25
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                                                                           324


 1                         C E R T I F I C A T E
 2

 3   I, FIONA FARSON, with Ellen Grauer Court Reporting, hereby

 4   certify that the testimony of the witness HERBERT REBMANN in
 5   the foregoing transcript, taken on Wednesday, April 29,

 6   2015, was recorded by me in machine shorthand and was

 7   thereafter transcribed by me; and that the foregoing
 8   transcript is a true and accurate verbatim record of the

 9   said testimony.

10
11   I further certify that I am not a relative, employee,

12   counsel or financially involved with any of the parties to

13   the within cause, nor am I an employee or relative of any
14   counsel for the parties, nor am I in any way interested in

15   the outcome of the within cause.

16
17   Dated:     Monday, May 11, 2015

18

19

20

21

22

23

24   -----------------

25   FIONA FARSON
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                                                                           325


 1                              ***ERRATA***
 2                 ELLEN GRAUER COURT REPORTING CO. LLC
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 3                       New York, New York 10022
                               212-750-6434
 4
 5   NAME OF CASE: AMERICAN LECITHIN COMPANY LIPOID GmbH vs. REBMANN
     DATE OF DEPOSITION: APRIL 29, 2015
 6   NAME OF WITNESS: DR. HERBERT REBMANN

 7   PAGE   LINE   FROM        TO           REASON
 8    ____|___|_________|_________|_________________

 9    ____|___|_________|_________|_________________

10    ____|___|_________|_________|_________________
11    ____|___|_________|_________|_________________

12    ____|___|_________|_________|_________________

13    ____|___|_________|_________|_________________
14    ____|___|_________|_________|_________________

15    ____|___|_________|_________|_________________

16    ____|___|_________|_________|_________________
17    ____|___|_________|_________|_________________

18    ____|___|_________|_________|_________________

19    ____|___|_________|_________|_________________

20    ____|___|_________|_________|_________________

21                         ___________________________

22    Subscribed and sworn before me

23    this_____day of __________, 20__.

24    ____________________          ______________________

25    (Notary Public)               My Commission Expires:
Case 1:12-cv-00929-VSB-KNF Document 207-1 Filed 10/09/15 PageDR.
AMERICAN LECITHIN COMPANY LIPOID GmbH VS.
                                                              327 of 353
                                                                 HERBERT REBMANN
CARSTEN MATTHIAS REBMANN                                                                                       April 29, 2015

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